       Case 1:24-cv-00648-AA               Document 20-1               Filed 05/28/24         Page 1 of 290




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3
4                            IN THE CIRCUIT COURT FOR THE STATE OF OREGON
5                                          FOR THE COUNTY OF JACKSON
6    IN THE MATTER OF:                                      )
                                                            )                  22DR17285
7    HEIDI MARIE BROWN,                                         CASE NO.
                                                            )
8                            PETITIONER,                    )   TEMPORARY PROTECTIVE ORDER OF
                                                            )   RESTRAINT
9          and                                              )   (Pre-Judgment Status Quo – ORS 107.097)
10                                                          )
     ARNAUD PARIS,
                                                            )
11                           RESPONDENT.                    )
12          This matter came before the court on Petitioner's ex parte motion for a temporary pro-
13   tective order of restraint. Based upon Petitioner's declaration and the other documents on file




                                                                                               --
14   herein, the court hereby finds the following:
15          1.        The parties’ minor children are E         L      P     (7) and J        M     P    (7).
16          2.
                                                            ■--
                      Their children's usual place of residence is with Petitioner at 665 Leonard St., in
17   Ashland, Oregon.
18          3.        Their children are currently enrolled and attend school at Bellview Elementary
19   School in Ashland, Oregon.
20          4.        Both parties exercise parenting time with their children on a roughly equal basis.
21          THEREFORE, IT IS HEREBY ORDERED that Petitioner and Respondent are restrained from
22   the following:
23          1.        Changing their children's usual place of residence at 665 Leonard St., in Ashland,
24   Oregon;
25          2.        Interfering with the present placement and daily schedule of their children, which
26   includes attending school at Bellview Elementary School in Ashland, Oregon;
     TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo – ORS 107.097)
     Page 1 of 3

                                                     CARTY LAW, P.C.
                                              P.O. Box 4628, Salem, Oregon 97302
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                                                                                                     EXHIBIT 1
                                                                                                    Page 1 of 3
     Case 1:24-cv-00648-AA               Document 20-1                  Filed 05/28/24       Page 2 of 290




1           3.      Hiding or secreting their children from the other party;

2           4.      Interfering with the other party's usual contact and parenting time with their

3    children which is on a roughly equal basis;

4           5.      Leaving the state with their children without the written permission of the other

5    party or the permission of the court; and

6           6.      In any manner disturbing the current schedule and daily routine of the child until

7    custody or parenting time has been determined or the parties otherwise agree in writing.

8

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                                                                  10/1112022 4:16:55 PM
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12                                                                 d)~~.A
13                                                                            Circuit~=:::David J. Orr

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     TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo- ORS 107.097)
     Page 2 of 3

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                                                                                                    EXHIBIT 1
                                                                                                   Page 2 of 3
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1                                   UTCR 5.100 Certificate of Readiness
             This proposed order is ready for judicial signature because service is not required by stat-
2    ure, rule, or otherwise.
3
            DATED: 10/07/2022
4                                                                CARTY LAW, P.C.

5

6

7                                                                Sarah Bain, OSB No. 202594
                                                                 Email: sarah@cartylawpc.com
8                                                                Attorney for Petitioner
9
                              *********************
10                                               NOTICE
11   You may request a hearing on this order as long as it remains in effect by filing with the court a
     request for a hearing. In the request you must tell the court and the other party that you object
12   to the order and specifically why you disagree with the representation of the status quo de-
     scribed in the order. In the request you must also inform the court of your telephone number or
13
     contact number and your current residence, mailing, or contact address.
14
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     TEMPORARY PROTECTIVE ORDER OF RESTRAINT {Pre-Judgment Status Quo - ORS 107.097)
     Page 3 of 3

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                                                                                                   EXHIBIT 1
                                                                                                  Page 3 of 3
      Case 1:24-cv-00648-AA          Document 20-1       Filed 05/28/24      Page 4 of 290

         Case 1:22-cv-01593-MC        Document 35      Filed 12/07/22     Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

In re the Matter of J.P. and E.P.:
ARNAUD PARIS,




               Plaintiff,                                  Civ. No. 1:22-cv-01593-MC


               v.                                          JUDGMENT

HEIDI MARIE BROWN,


            Defendant.
_____________________________

MCSHANE, Judge:

       Based on the Court’s Findings of Fact and Conclusions of Law, the Petition for Return of

Children under the Hauge Convention is DENIED. The children will remain in Ashland, Oregon

for the 2022-2023 school year. No further Opinion will be filed. Judgment for Respondent.

IT IS SO ORDERED.

       DATED this 7th day of December, 2022.

                                            _______/s/ Michael J. McShane________
                                                    Michael McShane
                                                United States District Judge




1 –JUDGEMENT

                                                                                     EXHIBIT 2
                                                                                    Page 1 of 1
 Case 1:24-cv-00648-AA         Document 20-1           Filed 05/28/24          Page 5 of 290




              IN THE SUPREME COURT OF THE STATE OF OREGON

                                   HEIDI MARIE BROWN,
                                   Petitioner-Adverse Party,

                                              V.


                                      ARNAUD PARIS,
                                     Respondent-Relator.

                              Jackson County Circuit Court
                                      22DR17285

                                           S070246

     ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
                      DENYING MOTION TO VACATE

Upon consideration by the court.

The petition for peremptory writ of mandamus is denied without prejudice.

The emergency motion to vacate the trial court's October 11, 2022, status quo order is
denied as moot.




                                                                      MEAGAN A. FLYNN
                                                               CHIEF JUSTICE, SUPREME COURT
                                                                     7 11 2023 4:28 PM




             DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
Prevailing party: Adverse Party.                                      [ X] No costs allowed.


c: George W Kelly
   Arnuad Paris
   Hon. David J Orr

ur




ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
DENYING MOTION TO VACATE
        REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
              Supreme Court Building, 1163 State Street, Salem, OR 97301-2563
                                         Page 1 of 1




                                                                                          EXHIBIT 3
                                                                                         Page 1 of 3
 Case 1:24-cv-00648-AA         Document 20-1         Filed 05/28/24              Page 6 of 290




              IN THE SUPREME COURT OF THE STATE OF OREGON

                               HEIDI MARIE BROWN,
                               Petitioner-Adverse Party,

                                            V.


                                    ARNAUD PARIS,
                                   Respondent-Relator.

                             Jackson County Circuit Court
                                     22DR17285

                                        S070246

               ORDER DENYING MOTION FOR RECONSIDERATION

Upon consideration by the court.

The motion for reconsideration is denied.




                                                         MEAGAN A. FLYNN
                                                  CHIEF JUSTICE, SUPREME COURT
                                                       10 24 2023 3:47 PM




c: George W Kelly
   Arnaud Paris
jjr




ORDER DENYING MOTION FOR RECONSIDERATION
        REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
              Supreme Court Building, 1163 State Street, Salem, OR 97301-2563
                                         Page 1 of 1




                                                                                        EXHIBIT 3
                                                                                       Page 2 of 3
Case 1:24-cv-00648-AA        Document 20-1      Filed 05/28/24     Page 7 of 290




            IN THE SUPREME COURT OF THE STATE OF OREGON

                               HEIDI MARIE BROWN,
                               Petitioner-Adverse Party,

                                           v.

                                  ARNAUD PARIS,
                                 Respondent-Relator.

                             Jackson County Circuit Court
                                    22DR17285

                                       S070246

                              APPELLATE JUDGMENT

Upon consideration of the court.

The petition for peremptory writ of mandamus is denied without prejudice.

The emergency motion to vacate the trial court's October 11, 2022, status quo order is
denied as moot.


             July 11, 2023                                  /s/ Meagan Flynn
                 DATE                                 Chief Justice, Supreme Court


             DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
Prevailing party: Adverse Party.                       No costs allowed.

Oregon Supreme Court:
     Appellate Judgment Effective Date: February 01, 2024

NOTE: This is the appellate judgment of the Oregon Supreme Court and should
be entered pursuant to ORS 19.450


APPELLATE JUDGMENT
              Appellate Court Administrator, Appellate Court Records Section
                      1163 State Street, Salem, Oregon 97301-2563
                                       Page 1 of 1
                                                                            EXHIBIT 3
                                                                           Page 3 of 3
      Case 1:24-cv-00648-AA              Document 20-1       Filed 05/28/24          Page 8 of 290

                                              23DR08269




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 3

 4                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

 5                               FOR THE COU TY OF JACKSON

 6                                        Family Law Department

 7 In the Matter of:
                                                )
 8 Arnaud Paris,                                )    Case No.: 23DR08269
                                                )    Related Care No.: 22DR17285
 9
                           Petitioner,          )
10              and                             )    LIMITED JUDGMENT RE:
                                                )    REGISTRAT ON
11   Heidi Brown,                                )
                                                 )
12                         Respondent.           )
13

14
            THIS MATTER came before the Court for hearing on July 12, 13, an<l 18, and
15
     August 3 and 4, 2023. Respondent Heidi Brown, hereinafter Mother, appeared in person
16
17   with Taylor L. M. Murdoch, of her attorneys Buckley Law P.C. Petitioner Arnaud Paris,

18   hereinafter Father, appeared in person on July 12, 13 and 18, and failed to appear on August

19   3 and 4, 2023.      By the stipulation of the parties, the evidentiary hearing occurred
20   simultaneously with the evidentiary hearing on Father's Motion to Dismiss far Lack ef Subject
21
     lvlatter juri-srlidion in Jackson County Circuit Court case no. 22DR17285, until said motion was
22
     granted by the Court on August 3, 2023. Father was represented by counsel, Thomas A.
23
24   Bittner, of his attorneys, Schulte Anderson, in that matter, and had his French counsel

25   Terrence Richoux, available by phone during these proceedings on July 12, 13 and 18.
                                                                               Buckley Law PC
     Page 1 - LIMITED JUDGMENT RE: REGISTRATION                        5300 SW Meadows Rd., See. 200
                                                                            Lake Oswego, OR 97035
                                                                     Tel: 503-620-8900 Fax: 503-620-4878
                                                                            tlm@buckley-law.com



                                                                                               EXH IBIT 4
                                                                                             Page 1 of 27
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           The Court, having received argument and evidence from counsel and the parties, and

 2   Mr. Paris having received specific notice of the hearing continuation on August 3rd , and
 3
     having failed to appear, and his request to appear remotely from France at the continuation
 4
     of the hearing on August 3rd having been denied on the record, and Mr. Paris and his counsel
 5
     having been permitted to attend the hearing, but not having been permitted to present further
 6

 7   argument or evidence after his failure to appear on August 3rd , and the Court being fully

 8   advised in the premises, makes the following

 9                                        FINDINGS OF FACT
10          1.    Mother and Father are the unmarried parents of two minor children, E[J and
11
                         :, age 8.
12
           2.     The children were born in Ashland, Oregon, at Ashland Community Hospital.
13
                  They are United States citizens. During the first months of their lives, the
14

15                children lived in Oregon. They later acquired citizenship of France during the

16                 time they were living in California when they were two years old.

17         3.     The Court received evidence about the children's extensive contacts and
18
                  connections with Oregon. Significant evidence exists concerning the children's
19
                  contacts with Oregon, including evidence concerning the children's care,
20
                  protection, training and personal relationships.
21
                  The maximum contacts and evidence about the children are m one state:
22

23                Oregon.

24

25
                                                                                 Buckle y Law PC
     Page 2 - LIMITED JUDGMENT RE: REGISTRATION                         5300 SW Meadows Rd., Ste. 200
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                                                                             tl rn@buckky-law.com


                                                                                                EXHIBIT 4
                                                                                              Page 2 of 27
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l              The children have a large network of extended family, including young cousins

2              ranging from age 2-15, in the Rogue Valley, Oregon area with whom they are
3              closely bonded and with whom they have spent significant time throughout
4
               their lives. Multiple witnesses, including Mother's stepbrother Shaun Olson,
5
               testified about the extensive family connections with the children that have
6
               been fostered over the years. Mr. Olson also testified about a sleep-over at his
7

 8             house with the children on October 4, 2022.

 9             a. The children were still enrolled in school in early October, 2022 at Bellevue

10                 E lementary School in Ashland. J___   .
                                                    .. 's teacher Ellen Gayton testified that
11
                          fit in right away in the class. Mother testified that the children had
12
                   many friends when they began school there in August, 2022 because of
13
                   their relationships with friends in the Rogue Valley. The children
]4
                   participated in the school run fundraiser. Ms. Gayton testified that she had
15

16                 regular interactions with Father at drop-offs, and that she had further

17                 observations of Mother, Father and the children that she could share at a

18                 subsequent custody proceeding in Oregon.
19
                b. The Court received into evidence copies of the children's medical records
20
                   with D r. Jani Rollins, where they have been cared for since birth. Mother
21
                   testified that Dr. Rollins would be available to testify in a further custody
22

23                 hearing in Oregon.

24

25
                                                                           Buckley Law PC
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                                                                                         EXHIBIT 4
                                                                                       Page 3 of 27
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                c. The Court received into evidence copies of the children's orthodontia

 2                 records from their orthodontist in Ashland, where they had been treated
 3
                   since 2021, when they were six years old.
 4
                d. The Court received into evidence tes timony from the children's dance
 5
                   teacher Cassandra Preskenis, who has taught them at numerous times
 6
 7                 throughout their lives. She had observations about the parents and children

 8                 that she could share at a later custody hearing in Oregon.

 9              e. The Court received testimony from tbc children's maternal grandmother
10                 Margaret Olson, who lives in Ashland, about her involvement with the
11
                   children throughout their lives. This involvement included being present
12
                   for their birth, for annual time in Ashland during holidays, staying with the
13
                   children and the parties in California, traveling to France with the family,
14
                   and other information about the children.            She indicated she had

16                 observations about the parents and children that she could share at a later

17                 custody hearing in Oregon.
18
                f. The Court received testimony from the children's maternal grandfather,
19
                   Mother's stepfather, who lives in Ashland, about his involvement in the
20
                   children's lives throughout their lives.    This involvement included being
21
                   present at their bfrth, for annual time in Ashland during holidays, traveling
22

23                 to France with the family, teaching them how to fish in the summer of

24                 2021, teaching them rudimentary wood-working, and other information

25
                                                                           Buckley Law PC
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                                                                                            EXH IBIT 4
                                                                                          Page 4 of 27
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 1                 about the children. He indicated he had further observations about the

 2                 parents and children that he could share at a later custody hearing in
 3
                   Oregon.
 4
                g. The Court received testimony from other friends, namely Mary Chapman,
 5
                   Noah Treiger, and Jay Treiger, all of whom are located in the Rogue Valley,
 6
 7                 who testified about contact with the children over the years since their

 8                 birth. Ms. Chapman and Messrs. Treiger testified that they had additional

 9                 observations of Mother, Father, and of the children that they could share at
10                 a later cll.stody hearing in Oregon.
11
                h. In the summer of 2022, Mother testified that Father placed an air tag in her
12
                   vehicle which she used to drive the children, and Mother reported the
13
                   incident to the Ashland Police. Mother testified that the Ashland Police
14

15                 officer who took her report would be available to testify later in a custody

16                 proceeding in Oregon.

17              i. Mother testified that in the summer of 2022, Father accessed her computer
18
                   in Ashland without her consent to read her private communications with
19
                   her French lawyer, and when Mother discovered this she reported it to the
20
                   police. There is a criminal case pending in Jackson County Circuit Court
21
                   case no. 22CR59524. The officer and any witnesses who appear in that
22

23                 proceeding could appear in a later custody proceeding in Oregon.

24

25
                                                                         Buckl<:y Law PC
     Page 5 - LIMITED JUDGMENT RE: REGISTRATION                   5300 S\XI Meadows Rd., , re. 200
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                                                                        1lm@bud ley -law.com



                                                                                           EXH IBIT 4
                                                                                         Page 5 of 27
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                )·   Mother testified that the parties hired an au pair to live with the family in

 2                   Ashland, who then lived in the household with the children from August,
 3
                     2022 until    ovember 2022. Mother testified that the au pair would be
 4
                     available to testify in a later custody proceeding in Oregon about her
 s
                     observations of the parties and the children.
 6

 7              k. Mother and Father and the children were all living in Ashland, Oregon in

 8                   October 2022.

 9              L AJl parenting time from the date of the girls' move to Oregon in July 2022
10                   through October, 2022 was exercised in Oregon.
11
                m. On October 6 and 7, 2022, Father lived in Oregon and did not remain in
12
                     France.
13
          4.    Significant evidence does not exist for the children's connections with any
14
                other jurisdiction.

16              a. Father's presentation of evidence in his declarations filed with the court

17                   focused on him, and not the children, living in France. Father's testimony
18
                     was stricken when be refused to appear in person for his cross-examination.
19
                     Father's statements in his declaration were not credible.
20
                b. Father's apartment in France is not a family home. He did not live there on
21
                     October 6 or 7, 2022. The family only stayed there briefly when they went
22

23                   to France as it is not suitable for a family.        Mother testified that the

24

25
                                                                               Buckley Law PC
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                                                                                              EXH IBIT 4
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 1                 apartment is not legally possible to use as a family home because it is too

 2                 small for the four of them to reside there for Paris residency requirements.
 3
                c. Mother testified that the parties not only intended to be in France for a
 4
                   short period of time for pre-school in 2019-20, they lived like it. They lived
 5
                   in a furnished apartment. They focused their efforts on developing a family
 6

 7                 home first in California and then, beginning in 2021, in Ashland. Mother

 8                 testified that for much of the time during their stay in Paris from August

 9                 2019-July 2022, French rules, uncertainty over the COVID-19 pandemic,
10                 and the parties' own concern for their and the children's health limited their
11
                   interactions with the world around them. When the parties moved back to
12
                   the United States in 2022, they sold all their limited furnishings, said
13
                   goodbyes, and unenrolled the children from school in France.
14

15              d. Although the parties through counsel signed an agreement on July 19, 2022

16                 (Exhibit 18) for the family to alternate years between France and Oregon,

17                 this agreement was both 1) based on the assumption that the parties would
18
                   stay together as a couple and family, and 2) included language that the
19
                   agreed alternation was dependent on the children's best interests.              The
20
                   parents are no longer a couple. Mother made clear that she did not believe
21
                   it was in the children's best interests to leave Oregon.
22

23              e. At a hearing in US District Court in December, 2022, the Honorable Judge

24                 Michael McShane found that the parties had stipulated to the children's
25
                                                                             B1,1cklcy Law PC
     Page 7 - LIMITED JUDGMENT RE: REGISTRATION                      5300 SW Meadows llJ., Sec. 200
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                                                                                             EXH IBIT 4
                                                                                           Page 7 of 27
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                      move to Oregon in 2022, and that there was no wrongful removal or

 2                    wrongful retention of the children.
 3
                 f. The only information about the children's lives in France besides from
 4
                      Mother was presented by Sebastian Natal, who had little information about
 5
                      the children and testified he had not talked to them since Father and
 6

 7                    Mother moved to Oregon in 2022. Mr. Natal was able to testify remotely

 8                    from France in this heating, and likely could appear remotely at a later

 9                    hearing if called to testify.
10
                 g. Mother testified that there is limited family in France, and the children are
11
                      not as bonded to paternal cousins as they arc to the maternal cousins
12
                      because of a significant age gap between paternal relatives and the children.
1.1
                 h. To the extent that there is evidence in France, subject to the court's
14

15                    discretion, under Oregon law a party such as Mother or Father can call the

16                    witnesses remotely to testify in a custody proceeding in Oregon.

17               i.   Mother testified that the French court did not allow witnesses to be called
18
                      remotely, or for witnesses to testify meaningfully at all in that proceeding.

           5.    lo late August, 2022, until at least October 7, 2022, Father, Mo ther, and the
20
                 children were living together in the marital residence on Leonard Street in

                 Ashland, Oregon.
22

23         6.    Father did not live in France- or anywhere else besides Ashland - in early

24               October 2022. He had moved to Ashland to be with Mother and the children
25
                                                                                 Buckley Law PC
      Page 8 - LIMITED JUDGMENT RE: REGISTRATION                       5300 W Mcidows Rel ., Ste. 200
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                                                                              rlrn@bu,klcy -I~w.con1


                                                                                                   EXH IBIT 4
                                                                                                 Page 8 of 27
     Case 1:24-cv-00648-AA        Document 20-1           Filed 05/28/24          Page 16 of 290




 1              fo August, 2022. He had moved his permanent belongings from storage in

 2              California to Ashland in late August, 2022.          His credit card and bank
 3
                statements for September-October 2022 (Exhibits 79 & 80) show him buying
 4
                groceries for the family in Ashland and Medford, going out to eat in Ashland,
 5
                and living in Oregon with his children.
 6

 7
          7.    The children were born in Ashland, Oregon and are United States citizens.

 8              They later acquired citizenship of France while living in Topanga, California.

 9        8.    The proceedings in this matter have demonstrated that a Court of the State of
10
                Oregon may and can take extensive testimony and evidence via remote means
11
                from witnesses located abroad. All of the witnesses necessary to resolve the
12
                parties' custody dispute can likely participate in this proceeding, even remotely
13

14              if necessary.

15        9.    Substantial evidence does not exist in France.

16
                a. The children were in France from mid-2019 to mid-2022 on a temporary
17
                   basis.
18
                b. They had been to visit France before, but only stayed briefly to visit family.
19

20              c. The parties moved to France from Los Angeles in 2019 to take advantage

21                 of free pre-kindergarten for the twins. They intended to return to California
22
                   initially, and then to Oregon.
23
                d. While in France, the family stayed in a furnished apartment.
24

25
                                                                             Buckley Law PC
     Page 9 - LIMITED JUDGMENT RE: REGISTRATION                     5300 SW Meadow~ Rd., Sre. 200
                                                                        L.'lkc Oswego, OR 97035
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                                                                                             EXH IBIT 4
                                                                                           Page 9 of 27
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 1              e. The family's stay was extended against their wishes due to the unforeseen
 2
                     effects of the COVID-19 pandemic.
 3
                f.   During the parties' stay in France, they returned with the children to see
 4
                     family in Oregon for over three months, to build the family home in
 5

 6                   Ashland, and attended orthodontia appointments in Oregon.

 7              g. The children had been unenrolled in French schooling by their parents
 8                   consent in the summer of 2022.
 9
                h. Father apparently filed taxes claiming he was a residen t of California during
10
                     the years the parties were in France.
11

12              i.   On October 5, 2022 Father acknowledged the children lived in Oregon and

13                   promised that he would never kidnap them to France.

14
                J·   The parties had said their goodbyes and departed from France to Oregon as
15
                     family in July and Augus t, 2022.
16
                k. There is no evidence that the French court would consider extensive
17

18                   evidence from outside France about the children.

19        10. Under the totality of the circumstances, the parties' move from France to Oregon

20           was not a temporary absence from France.
21
                a. The children lived in Oregon on October 7, 2022.
22
                b. Father lived in Oregon on October 7, 2022. He loves his children and
23
                     would not live in France away from them.
24

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 1              c. Mother lived in Oregon on October 7, 2022. She loves her children and
 2
                     would not live anywhere else away from them.
 3
                d. The parties sold their temporary furniture in moving from France. They
 4
                     did not maintain a family residence in France after leaving in the summer of
 5

 6                   2022. When Father returned to France with the minor children in violation

 7                   of this court's orders in July, 2023, he did not take them to live in his small

 8                   apartment in Paris. He took them to his parent's home in the suburbs of
 9
                     Paris.
10
                e. While Father told the court in his declaration that he went to France in
11
                     September, 2022, Mother testified that he in fact went primarily to
12
                     Germany.
13

14              f.   Father told Mother several times that he would agree to live in Oregon, and

15                   his actions corresponded to his statements.
16
                g. Father drove the family vehicle from California to Oregon to register it and
17
                     have it insured in Oregon in 2021.
18
                h. Mother testified that Father claimed residency in California for tax
19
                     purposes the entire time the parties were in France, until at least October
20

21                   2022.

22              1.   The parties' mediated agreement from July 2022 (Exhibit 18) was an

23                   agreement for the family to live together, and did not contemplate the
24
                     parties separating.   [t also made clear that the agreement was conditioned
25
                                                                             Buckley Law PC
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 1                  on both parties agreeing that it was in the children's best interests to

 2                  continue lo follow the terms beyond getting to Oreg n in the summer of
 3
                    2022.
 4
           11.   Mother prevailed at the laguc proceeding in December 2022. The children
 5
                 were not wrongfully removed from       ranee. Father intended for the children o
 6

 7               come to live in Oregon.

 8         12.   In March 2023, at a hearing in France in which     other was not present, Father
 9
                 obtained a favorable custody detennination.
10
                 a. The French court is not a court of record uch as an Oregon court of
11
                    record. There is no independent record of proceedings for a party such as
12

13                  Mother to refer to in litigation. Notice is provided only through counsel.

14               b. Mother is not a dtizen of France.
15
                 c. Mother's initial French counsel, Noemi Hodara, had ro withdraw because
16
                    of a complaint filed by Father after the initial appearance in January 2022.
17
                 d. Mother had no reason to believe that anything other than jurisdiction
18

19                  would be addressed at the proce ding in March, 2023. Her lawyer made

20                  clear to her that the March, 2023 hearing applied only to jurisdiction.

21                  Accordingly, Mother presented only evidence on th             habituaJ re idence
22
                    standard.
23

24

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                                                                             Buckley Law P '
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 1              e. Mother did not have an opportunity to ca.!J witnesses, cross examine

 2                   witnesses, or meaningfully rebut Father's evidence at the March 2023
 3
                     French hearing. She could not appear remotely.
 4
                f.   At the March 2023 hearing, Father represented himself as living in France
 5
                     as a resident of Paris in early October, 2022 and at the time of the hearing.
 6

 7                   Neither representation was true.     He lived in Oregon in early October,

 8                   2022. He was exercising week-on> week-off time w:ith the children subject

 9                   to the TPOR Status Quo at the time of the hearing, and was receiving
10                   health benefits and wages from his employer in Texas in March, 2023.
11
                g. If Mother believed the French court would have decided anything on
12
                     exercising jurisdiction, Mother would have done anything possible to be in
13

14                   France. She testified she would have swam to France if necessary, and her

15                   desil-e to be there was credible. She testified she has spent over 300,000

16                   on legal fees in this matter, and it does not make sense that a person such as
17                   Mother would not appear if she thought her rights as the children's mother
18
                     would be substantially affected.
19
                h. Mother received a summons in the French proceeding, but had to rely only
20

21                   on her French counsel for understanding the proceedings in the French

22                   court.

23

24

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 1              i.   Mother did not receive a hearing notice for the French hearing such as a
 2
                     hearing notice generated by the State Courts of Oregon.                Her counsel
 3
                     indicated to her that the hearing would be on jurisdiction only
 4
                I·   Mother presented no evidence at the hearing on the issue of custody and
 5
 6                   parenting time because of her lack of understanding of the court's

 7                   procedures.

 8              k. Mother is a citizen of the United States. Mother's due process rights and
 9
                     constitutional right to open court proceedings were implicated by the
10
                     French court's ruling on her custodial rights.
11
                l.   Given the stakes involved, the relief requested, and the position taken by
12

13                   Father to limit Mother's parenting time to time in France, including

14                   presently seeking an order stopping the children from leaving France for
15                   the next five years, the hearing in France was akin in substantive way to a
16
                     termination of parental rights proceeding in Oregon.
17
                m. A parent's right to parent their child is a fundamental right protected by US
18
                     Constitution and the Oregon Constitution.
19
20              n. Through no fault of her own, Mother did not appear at the French hearing

21                   wherein Father was granted "shared custody" of the children.                In later
22
                     documents, Father represented to authorities that he was awarded sole
23
                     custody.
24

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 1         13.   The French court's jurisdictional ruling is on pages 3 and 4 of the Judgment
 2               rendered on April 21, 2023 by the Family Court Judge Karima Brahimi.
 3
                 a. The language in the jui-isdictional ruling of the F.tench judgment is as
 4
                    follows: "In this case, in light of the documents in the file and the debates, it appears
 5
                    that since the birth of the two daughters, the couple and the children have resided
 6
 7                  altematefy in France in the United States; that since the start of the 2019 schoolyear,

 8                  the couple an the children have .r..tJLJlt:..d.JflJ'!rr.J.lff. and the two daughter have been schooled

 9                  in France, that during April 20221 relationship difficultie.r have arisen between the
10                  couple and that the two parents no longer agree on the Jamify's place of midence, with
11
                    J\11,: P.r1IVS 1J1i.r@1J!,.li!. wnm11 iJJ Fn11ttt1 and Ms. BROWN wishing to return lo the
·12
                    United States; that nevertheless the parents agreed on Ju!J 191 2022 for the jamify to
13
                    leave for the United States .hr..tht 2022-202) .IIRP.!!l..J1um·. the couple 11 two daughters
14

'15                 having          arrived         on       American        territory       on       Ju!J       29,        2022.

16                   'Thus, at the time of the referral to the French court, on October 6, 2022,                               and

17                  1(] had been miilii~1: in the United States for only two month1; before that, they had
18
                     been nJJ"idi11/!. and attending school in France for three years, a country in which they were
'19
                    social!J integrated; if- tb.!L/.✓rJZwl/21• 1w]!utl truJ!JJ(!:JJ_fo the Lhl}jj;fj,_Jt.11111.r. 1/l?LfJ._WWlllUJJ.
20
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22

23                   Stntr.1 (111 r1 lrJ/le-k1m1 ba:l'i.r.
                                        '
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 1

 2                      referral to the French court, i.e. October 6, 2022, J      and        had their habitual
 3
                        re;irlence in France.
 4
                        'Therefore, the French judge 11 competent to rule on clailfJs relating to parentt1I
 5
                        responsibili(Y (emphasis added)."
 6

 7                 J.       The French court's ruling on jurisdiction primarily focused on the intent

 8                          of the parties and heir consent in establishing a habitual re idence for

 9                          the children and assuming jurisdiction.
10
                 11.        The French court's ruling on jurisdiction focused on the children's
11
                            habitual residence, and where they were integrated socially.
12

13               iii.       The French coun did not address anything about the home state of the

14                          minor children, or the extended home state of the minor childr ·n.

15               iv.        The French court did not weigh the elacive maximum contacts between
16
                            the child en and ·ranee, or between the chlldren and Oregon, or any
17
                            other jurisdiction, in making its determjnation to excrci ·e jurisdiction.
18
                 v.         The French court did no consider whether Father and the children
19

20                          were located in f-rance and whether Father was e crcising parenting

21                          time in . r:ance in   ctober 2022.
22                  v1. The French court was factually wrong to the extent Lhat it determined
23
                            Father was living in France for the purposes of the UCCJEA. Father
24
                            was living in Oregon, not hance in early October 2022.
25
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 1              b. The French court was aware of this proceeding before it made its
 2
                   jurisdictional de termination.    Mother testified that .it made no effort to
 3
                   contact this court before awarding Father custody and the French judgment
 4
                   does not reflect any effort or consideration of Oregon's jurisdiction besides
 5
                   which court was "seized" first.        The French court did not attempt to
 6

 7                 communicate with this court.

 8        14.   It is the French judgment, and the applicable UCCJEA standards that are the
 9
                focus of the proceedings before this Court.
10
          15.   Before resolving any substantive matters, this Court must determine whether
11
                or not this Court has subject matter jurisdiction over the minor children under
12

13              the Uniform Child Custody Jurisdiction and E nforcement Act ("UCCJEA").

14        16.   The hearing on the issue of whether or not this Court has UCCJEA jurisdiction
15              took place over the course of multiple days, wherein the Court heard testimony
16
                from multiple witnesses and received evidence from witnesses in France and in
17
                the courtroom.     Both patties were given extensive opportunity to produce
18
                witnesses. Both parties were, or had the opportunity to be, represented by
19

20              counsel. Father was able to present his case prose as he saw fit, subject co the

21              rules of evidence, during the firs t three days of heating.

22        17.   After the firs t three days of hearing, Father wrongfully misrepresented the
23
                registration of the French judgment to lawful authorities, and, contrary to this
24

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                                                                          remoyed
 1              court's prior, explicit, written, and repeated orders, b     mlsd 20 Fame nitl:

 2              the minor children from this state and took them to France.
 3
          18.   A TPOR was entered on October 7, 2022 and remains in effect. Neither party
 4
                is allowed to leave the state of Oregon with the minor children without the
 5
                agreement of the other parcnL
 6

 7        19.   Father and the minor children arc located in France at present, in violation of

 8              this court's orders. As the Court told Father on June 21, he violates this
 9
                court's orders at his peril.
10
          20.   Father was aware of the TPOR and was told repeatedly by the Court that the
11
                judgment had not yet been confirmed or validated.
12

13        21.   Mother testified that Father requested that the August 3, 2023 hearing be set so

14              he could personally appear.
15        22.   Father fi)ed belated motions for remote appearance for the August 3rd , 2023
16
                continuation of hearing. His motions were not timely, were not jn good faith,
17
                and were prejudicial to Mother, who was about to resume her cross-
18

19              examination of Father. Father should not violate court orders and expect to

20              111 1 1 1p   ·11 t112• u t ••   1 1   It thereby gain any advantage.

21        23.   The children have a highly desirable pediatrician, dentist, and orthodontist in
22
                Oregon.
23

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 1        24.   Taking into account the above facts, the children did not have a home state on

 2              October 6 or October 7, 2022 for the purposes of the UCCJEA, ORS
 3
                109. 7 41 (1 )(a).
 4
                a. The children did not have an extended home state at the time either,
 5
                     because Pather did not continue to live in France in early October 2022.
 6

 7                   He lived in Oregon.

 8              b. The children and the children's parents, or the children and at least one

 9                   person acting as a parent, did not have a significant connection with France
10                   in early October 2022, because substantial evidence concerning the
11
                     children's care, protection, training and personal relationships was only in
12
                     Oregon, and not France, ORS 109.741 (1)(b)(A)-(B).
13
                c. The children and the children's parents, or the children and at least one
14

15                   person acting as a parent, did not have a significant connection with France

16                   in early October, 2022, because Father did not reside in France at the time,

17                   and although he maintained a meaningful relationship with the children, in
18
                     doing so, he exercised parenting time in Oregon, ORS 109.741 (1)(b)(A)-(B).
19
                d.     o other state than Oregon would have jurisdiction under ORS
20
                     109.741 (1)(a),(b) and (c) to make an initial custody determination.
21

22        25.   Oregon has jurisdiction ro make an initial custody determination . The issuing

23              court of the French judgment did not have jurisdiction under ORS 109.741 to

24              ORS 109.771. ORS 109.787(5)(a).
25
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 1        26.   Mother is contesting registration, and was entitled to notice of the French

 2              judgment for the purposes of Oregon law. Notice was not given in accordance
 3
                with ORS 109.724 and the Oregon Constitution, Article 1, Section 10, of the
 4
                initial custody determination in the proceedings before the French court that
 5
                issued the order for which registration was sought.
 6

 7        27.   It is appropriate that this court assume jurisdiction.



 9
          1.    This court is authorized by the UCCJEA, ORS 109.701 ct. seq., to take
10
                jurisdiction over the minor children of the parties and this matter.
11
          2.    France does not have jurisdiction over the minor children of the parties and
12
                this matter pursuant to ORS 109.701 et. seq.
13
          3.    Mother has established by clear and convincing evidence that the issuing court
14
                in France did not have jurisdiction to make an initial custody determination
15
                under ORS 109.741 to ORS 109.771.
16
                a. This Court declines to confirm Father's registration of the French custody
17
                   order, as France did not have home state or significant connection
18
                   jurisdiction under factual circumstances in substantial conformity with the
19
                   UCCJEA at the time it made the custody order.
20
                b. For the foregoing reasons, pursuant to ORS 109.787(S)(a), the request to
21
                   register the child custody determination in the judgment of the French
22
                   court is DENIED.
23
          4.     'other has established by clear and conv·ncing evidence that Mother was
24
                entitled to notice, but notice was not given in accordance with the standards of
25
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                     R     109.724 and th       regon   on titution in the proceedings          cfore the

 2              French court.

 3              a. The French court's processes and procedures in the application of these

 4                   facts do not substantially conform with the UCCJEA standards or Oregon

 5                   constitution. A such, the French court' custody determination is not

 6                       awful in thi country and in this   ourt.

 7              b. Mother did not have actual notice of the French proceeding and an

 8                   opportunity tO be heard for he purpo es of Oreg n law.                  To regis e.r,

 9                   confirm, and validate the French judgment in this circumstance would be a

10                   violation of ORS 109.787(5)(c) and of Mother's constitutional rights under

11                   the Article 1, ection 10 of the Oregon Constitution.

12              c. Father had notice o this proceeding and an opporrunity to be heard.

13              d.       ~or the foregoing reasons, pursuant to OR 109.787(5)(c), the request to

14                   register the child custody determination m the judgment of the                  rench

15                   court is D i,NIED.

16        5.    In making an initial custody determination, France clid n          have subject matter

17              jurisdiction a re9uired under the UC JEA

18        6.    A court's analysis under the habitual residence standard and the UCCJEA

19              home state tandard may come o differen conclusions given certain facts

20              presented in a matter. This Court makes no ruling on the applicability of the

21              habitual residence standard by the Fr nch court.

22        7.    France did not have hom            state jurisdiction, as the children had lived in

23              Oregon for approximat ly two months at the time Father filed for custody in

24              France.

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 1              a. Father did not live in France at the time Father filed for custody in France.

 2                 In considering the totality of the circumstances, Father's argument that his

 3                 absence from France was temporary fails. Father's absence from France

 4                 was not temporary.

 5              b. Father's argument that France had extended home state jurisdiction is

 6                 without merit. He did not live in France on October 7, 2022. He Lived

 7                 with his children and Mother in Oregon.

 8              c. The French judgment is not in substantial factual conformity with the

 9                 UCCJEA pursuant to ORS 109.781.

10                  i.         The French court impermissibly gave significant weight to its

11                             determination of the intention of the parties in establishing a habitual

12                             residence of the children. That is an error of law for the purposes of

13                             the UCCJEA.       Subject matter jurisdiction cannot be conferred.

14                             Jurisdiction cannot be conferred by the parties by consent, nor can the

15                             want of jurisdiction be remedied by waiver, or by estoppel. Matier of

16                             Mamago of Schwarlz and Battini, 289 Or App 332, 338 (2017), citing

17                             Shepard v. Lopez-Barcenas, 200 Or App 692, 697, 254, rev. den., 339 Or

18                             475, 124 P.3d 1248 (2005) ("[A] party's consent to the trial court's

19                             jurisdiction over the initial determination of custody under the

20                             UCCJEA has no effect if, indeed, the court lacked jurisdiction to

21                             make that determination."); see al o Medill and Medill, 179 Or App 630,

22                             645, 40 P.3d 1087 (2002) (same).

23                       ii.    The French court did not weigh the maximum contacts.

24

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                     111.   The maximum contacts for evidence concerning the children are

 2                          present in Oregon.

 3                   1v,    To the extent that any necessary evidence is presen~ in France, the

 4                          witnesses in France can testify in the custody proceeding remotely.

 5        8.    The French court does not have significant connection jurisdiction.

 6              a. The French court did not determine whether it had home state jurisdiction

 7                 or anything similar to it, a necessary step before determining significant

 8                 connection jurisdiction.

 9              b. "fhc French court was aware of this proceeding and should have

10                 communicated with this Court before making a custody determination, but

11                 the French court did not do so. See ORS 109.751 (4 ).

12              c. Father was not exercising his parenting time in France at the time the

13                 custody matter was filed in France, and was not residing in France at the

14                 time either. U oder the Mq1,flelrl test for significant connection jurisdiction,

15                 306 Or App 386, 392 (2020), citing White v. Harrison-White, 280 Mich. App.

16                 383, 394 (2018), France did not have significant connection jurisdiction.

17        9,    Oregon has subject matter jurisdiction over the minor children under the

18              UCCJEA based on significant connection jurisdiction, as there is substantial

19              evidence of the children's care, protection, training, and personal relationships

20              in Oregon. As such, this Court will proceed in presiding over the parties'

21              dissolution and custody matter, and all related matters,

22        10.   The French judgment has never been registered in Oregon. It is not a valid

23              order of Oregon and has no legal effect here. It had no legal effect in Oregon

24

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 1              at the time that Father fled with the minor children to France on or a.bout July

 2              22, 2023.

 3        11.   Additionally, in making its custody order, France failed to provide Mother with

 4              notice as is required by the UCCJEA and Oregon Constitution before a child

 5              custody determination is made.

 6        12.   The French judgment fails the UCCJEA's jurisdictional and procedural

 7              requirements. As such, the French custody determination is unlawful.

 8        13.   Father failed to appear at the continuation of this hearing on August 3, 2023.

 9              He had actual notice of the proceeding. He had an opportunity to be heard.

10              He was not present because he was in willful violation of the coures orders not

11              to leave the state with the minor children.

12        14.   Father knew or should have known that the French judgment had no leb.ral

13              effect in Oregon until this hearing was adjudicated.

14        15.   Father has acted in bad faith in this proceeding.

15        16.   The award of attorney fees and costs, if any, should be determined pursuant to

16              ORCP68.
17
                                                         8/18/2023 3:37:20 PM

18

19
20
                                                         ~ff.;~   C i r c u i t ~ ~David J. OIT


21

22

23                [UTCR CERTIFICATE FOLLOWS ON NEXT PAGE/

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                                                                                 Buckley Law PC
     Page 24 - LIMITED JUDGMENT RE : REGISTRATION                       5300 SW ?vfoaclows Rd., St<'. 200
                                                                            Lake Oswego, OR 97035
                                                                      Tel: 503-620-8900 Fax: 503-620 4878
                                                                              tlm@buckley-law.com


                                                                                               EXH IBIT 4
                                                                                            Page 24 of 27
     Case 1:24-cv-00648-AA           Document 20-1           Filed 05/28/24          Page 32 of 290




1    UTCR 5.100 CERTIFICATE OF RE
     signature becau~e t-c.J-.l •
 2   c...-   ~-.. ((
 3
             DATED this /...12._ day of August, 2023.
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                                                        BU      EY1:aW'          .
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                                                                               Buckley Law PC
     Page 25 - LIMITED JUDGMENT RE: REGISTRAT ION                      5300 SW Meadows Rd., Ste. 200
                                                                           bke Oswego, OR 97035
                                                                    T el: 503-620-8900 Fax: 503-620-4878
                                                                             rlm@buckley-law.com


                                                                                              EXHIBIT 4
                                                                                           Page 25 of 27
     Case 1:24-cv-00648-AA         Document 20-1   Filed 05/28/24        Page 33 of 290




 1   APPROVED AS TO FORM:
 2

 3
     Thomas Bittner, Attorney for Father   datt
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                                                                   Buckley Law PC
     Page 26 - LIMITED JUDGMENT RE: REGISTRATION            5300 SW Meadows Rd., Ste, 200
                                                                Lake Osw~go, OR 97035
                                                          Tel: 503-620-8900 Fax: 503-620-4878
                                                                  tlm@bucklcy-law.com


                                                                                   EXH IBIT 4
                                                                                Page 26 of 27
     Case 1:24-cv-00648-AA           Document 20-1         Filed 05/28/24                Page 34 of 290




1    CERTIFICATE OP SERVI CE: I certify that I served on August 10, 2023, a complete and
     exact copy (true copy) of this on the parties or their representative(s) by causing to be hand
2    delivered a true copy, as follows:
3
            Thomas A Bittner
4           Schulte Anderson
            811 SW Naito Pkwy Ste 500
 5          Portland OR 97204

 6

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            DATED this_!L day of August, 2023.



                                                By / ~     I \
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                                                       BU<;K,I;EY LAW P.C.



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                                                                                   Buckley Law PC
     Page 27 - LIMITED JUDGMENT RE: REGISTRATION                           5300 SW Meadows Rd., Ste. 200
                                                                               Lake Oswego, OR 97035
                                                                         Tel: 503-620-8900 Fax: 503-620-4878
                                                                                 tlm@bucl<ley-law.com



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                                   Case 1:24-cv-00648-AA                Document 20-1        Filed 05/28/24      Page 35 of 290

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                                     Heidi Brown
                                     2256 Abbott Avenue
       IJ2l211G




                                     Ashland, OR 97520
                                     Telephone: (541) 944-2066
        ca
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                                     Email: heidimparis@gmail.com
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                                     Plaintiff, pro se
    ef Or




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    __VQ£ifie4,Corcsct Ctfi)




                                                                 IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                                           FOR THE COUNTY OF JACKSON
                               0




                                            In the Matter of:
                 II

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                     15
                                      HEIDI BROWN,                                       Case No.: 22DR17285

                    16                                    Petitioner,
                                                                                                           �
                     17               vs.                                                                  ?
                                                                                                     i--
                                                                                        ~


                                                                                                   ';r
                     18
                                      ARNAUD PARIS,                                            �'Y
                    19                                                                  .W\:�:fffirEB LIMITED JUDGMENT
                                                          Respondent                      REGARDING CUSTODY, PARENTING
                20                                                                        TIME, AND CHILD SUPPORT AND
                                                                                          MONEY AWARDS
                21

               22

                23
                                                         THIS MATTER comes before the Court for a hearing on custody, parenting tiine,
                24

                25                   and child support. Mother (petitioner) appeared with her attorney, Taylor Murdoch. Father

                26

               27

               28                             1 LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD

                                     SUPPORT; AND MONEY AWARDS - 1




                                                                                                                          EXHIBIT 5
                                                                                                                       Page 1 of 104
         Case 1:24-cv-00648-AA             Document 20-1            Filed 05/28/24         Page 36 of 290




         (respondent) did not appear. This court, after reviewing the testimony and submissions by

         mother, is now fully advised and makes the following findings:

            (I) Mother and Father are the parents ofE      and         ,. Additional infonnation concemin

            the children can be found on the parties' UTCR 2.130 Confidential Information Forms.

            (2) At the time of the filing of this ewe, neither party had resided in the United States for a
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            period of (6) months immediately prior to filing this Petition for Dissolution. Therefore, ther

~
GI          was no home state for the children under ORS 109.74l(l)(a). However,jurisdiction is proper
;


~10         under ORS 109.74l(b) and the UCCJBA for all of the reasons set out in paragraphs 4 and 8

            of mother's amended petition. The court finds the facts set out in those paragraphs as
    II

    12      accurate. It further finds that venue is proper because at least one party resided in Jackson

    13      County at the time of the case's filing.
    14
            (3) At the time of the original filing of this petition, Mother was not aware of any other
    IS
            domestic relations suits or petitions for support pursuant to ORS l 08.110 involving the
    16
            parties pending in any other court in the state of Oregon or in any other jurisdiction.
    17

    18      (4) Subsequent to the filing of this case, Father obtained an order regarding custody and

    19      parenting time from a court in France and attempted to register that judgment in Jackson
    20
            County (case# 23DR08269). On August 18, 2023, this court entered a Limited Judgment R
    21
            Registration which determined that France has no jurisdiction in this matter and that declined
    22

    23
            to confirm the registration. No other judgment is presently pending that can be registered.

    24      (5) Mother's annual income is $120,000; Father's annual income or earning capacity is set b
    25      the court at $130,000. Father was se:.ved with the Petition requesting support in October,
    26
            2023. Mother incurs costs of approximately $3,000 to see the children in France each trip.
    27

    28   _ . ___ ) LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
         SUPPORT; AND MONEY AWARDS - 2




                                                                                                    EXHIBIT 5
                                                                                                 Page 2 of 104
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                (6) The things alleged in paragraph 10 of the Mother's amended petition are found by the

                court to be accurate. Among these are the following findings: Father violated this court's

                October 11, 2022 Temporary Protective Order of Restraint by taking the children to France

                and secreting them from Mother in July of 2023; Father has denied Mother virtually all

                parenting time since the abduction; until the abduction, Mother has always been the
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                children's primary caregiver; and it is in the best interests of the children that mother be
(.)
-c8
 (I)            awarded custody.
.;::::

~        I      NOW THEREFORE, IT IS HEREBY ADJUDGED:
     10
                (1) Sole custody of the children is awarded to Mother.
         II

         12     (2) Parenting time is awarded to Father according to the attached "Parenting Plan Exhibit l."

     13         Father's parenting time will be expanded once he meets the criteria in the attached "Detailed
         14
                Terms and Conditions." The expansion, which will replace the parenting time set out in the
         15
                "Parenting Plan Exhibit 1," will be a~ follows:
         16
                        •   The first weekend of each month from 6:00 p.m. Friday until 6:00 p.m. Sunday
         17

         18            •    Winter Break: Father shall have parenting time for one week of school Winter

         19                 Break every year with the week including Christmas Day in Odd-numbered years
     20
                        •   Spring Break: Father shall have parenting time for Spring Break in Even-
     21
                            numbered years
     22

     23
                       •    Thanksgiving Break: Father shall have parenting time for Thanksgiving Break in

    24                      Even-numbered years

     25

    26

     27

     28         _____ , _ LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
              SUPPORT; AND MONEY AWARDS - 3




                                                                                                        EXHIBIT 5
                                                                                                     Page 3 of 104
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                  •   Holiday Weekends: There will be no planned holiday weekend parenting time

                      unless both parties agree to it in writing. Holiday weekends include: Martin

                      Luther King, Jr. Birthday, President's Day, Memorial Day, and Labor Day.

                  •   Child's Birthday: Father shall have the option to have parenting time for the

                      children's birthday in Even-numbered years.

                  •   Summer Vacations: Father shall have parenting time with the children for Four

                      Weeks, exercised in Two 2-week blocks, separated by at least one week with

                      Mother. Before April 1 of each year, Father shall notify Mother, in writing, ofth

                      dates chosen for summer parenting time. Mother has the right to choose the dates
II

12                    for Father's summer parenting time if Father does not give notice before April 1.

13                    Father's summer parenting time shall end at least seven days before the children's
14
                      first day of school.
15
                  •   Phone Calls:
16
                          o Father will have phone calls twice per week with the children for up to 30
17

18                            minutes between the hours of 4pm and 8pm PST when the children are

19                           with Mother. Regular times and days will be determined by Mother to
20
                              allow for extracurricular activities.
21
                          o Mother will have phone calls twice per week with the children for up to 3
22

23
                             minutes when Father is exercising his parenting time.

24    (3) Father will observe the following rules when he is exercising his parenting time with the
25    children:
26
        1. Father will not consume drugs or alcohol while he is exercising his parenting time
27

28             LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
                  1


     SUPPORT; AND MONEY AWARDS - 4




                                                                                                EXHIBIT 5
                                                                                             Page 4 of 104
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        2. Father will not have a member of the opposite sex who is not related to them by blood or

            marriage stay overnight.

        3. Father must have Children home by 8pm on school nights and by 9pm on weekend night

            unless specifically agreed upon by both parents in writing via email prior to the extended

            time outside the home.

       (4) Mother does not request, and based on Father's conduct herein, the Court does not order

     that Father receive the benefit of the provisions included in ORS 107 .154 i.e. the rights generally

     available to noncustodial parents in the State of Oregon.

      (5) Pursuant to ORS 107.164, Father should have a continuing responsibility to:
II

12          (a) Provide his home (not just mailing) address; home, work, and mobile telephone

13          numbers; and email address to Mother; and
14
            (b) Each parent shall have a responsibility to notify the other party of any emergency
15
            circumstances or substantial changes in the children's health.
16
            (c) Based on Father's conduct hernin, and his disregard of court orders to the detriment o
17

18          Mother, Mother shall have no duty to provide her exact home address, or her home,

19          work, and mobile telephone number to Father, except as she chooses.
20
      (6) Pursuant to ORS 107.159, neither parent may move to a residence that is more than 60
21
      miles further distant from the other parent without giving the other parent reasonable notice of
22

23
      the change of residence and providing a copy of such notice to the court.

24    (7) Child support, in conformance with Oregon's Uniform Child Support Guidelines, is

25    $990.00 monthly, payable by Father to Mother. Mother incurs approximately $3,000 in order
26
      to visit the children in airfare, lodging, and meals in France, where the children are currently
27

28            •LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 5




                                                                                                EXHIBIT 5
                                                                                             Page 5 of 104
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      located, in violation of this court's orders. There is a basis to depart from guideline support to

      include those airfare, lodging, and meals costs as support herein as well to ensure that Mother

      is able to exercise consistent parenting time until such time as Father complies with this court's

      orders. Father shall pay to Mother the amount of support that is in conformance with the

      Guidelines, plus the rebuttal factors above, for a total monthly cash support obligation of

      $3,990 per month. Support should be paid in accordance with a wage withholding order as

      required by ORS Chapter 25. The Department of Justice should provide collecting, accounting,

      distribution, and enforcement services in accordance with the provisions of ORS 25.020. All

      support payments due prior to the Department of Justice providing these services should be
11

12    made directly to the parent entitled to receive the support. All support payments due after the

13    Department of Justice begins providing these services should be paid through the Division of
14
      Child Support, Department of Justice, P.O. Box 14506, Salem, Oregon 97309. Each party
15
      should notify the Department of Justice, Child Support Program, P.O. Box 14506, Salem,
16
      Oregon 97309, of any changes in that party's home or business address within ten (10) days
17

18    after such change.

19    (8) Father departed to France with the minor children, in the court's view, criminally, and
20
      accordingly the dependency exemption on account of the parties' children shall be claimed by
21
      Mother for 2023 and 2024. In any other future year, the dependency exemptions shall be
22

23
      shared in accordance with federal and state tax regulations.

24    (9) Father shall comply with the following additional provisions:
25     1. Father should immediately pay for past travel expenses, lodging and meals to and from
26
           France for Mother to see children in the amount of $2,945.00.
27

28           ) LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 6




                                                                                                EXHIBIT 5
                                                                                             Page 6 of 104
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      (10) Father shall provide health insurance for the children. The obligation to provide health

      insurance for ( ] and._ __. should be set in conformance with Oregon's Uniform Child

      Support Guidelines. The following additional provisions must be complied with:

           (a) Father shall provide Mother with the name and address of the insurer, the policy

           number, and claim forms, and should fully cooperate in making claims on said policy.

           This includes an affirmative duty to promptly advise the other parent whenever there is a

           change in provider or coverage. A copy of the policy and any explanation of benefits pai

           by the insurer should be provided upon request.

           (b) Benefit Payments -- All insurance claim forms should be marked to instruct the
II

12         insurer to pay benefits directly to the care provider rather than to either parent. Any

13         reimbursement checks issued by the insurance company should be the property of the
14
           party who actually paid money out-of-pocket for the charge for which the reimbursemen
15
           is being paid. The non-paying parent should turn over any reimbursement checks that
16
           party may receive to the paying parent within five (5) days of receipt.
17

18         (c) Utilization of Coverage -- The terms of the actual policy of insurance should be

19         controlling on any issues that may arise as to the eligibility of a child for coverage under
20
           the terms of the insurance. The terms of the available health insurance may require that a
21
           child sees medical care providers other than those the child currently sees. Each party
22

23         should utilize available health insurance to the fullest extent possible. Any expense that

24         could have been covered by available health insurance but was not because a party did
25         not properly utilize available health insurance should not be considered a reasonable
26
           expense that the other parent would need to pay a part of.
27

28           ,, LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 7




                                                                                               EXH IBIT 5
                                                                                            Page 7 of 104
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           (d) Uninsured Health Care Costs -- Each parent should pay one-half of all of lQ and


            --     ' s reasonably incurred medical, optical, hospital, dental, prescription, counseling,

           and orthodontic expenses that are not covered by insurance so long as the child for whom

           the expense is incurred qualifies to receive child support. This does not include ordinary

           expenses such as bandages, non-prescription medication, and co-pays for doctor's well

           visits. It is the responsibility of the parent who incurs an uninsured expense to promptly

           request payment from the other parent of any such expenses. The obligated parent should

           make reimbursement to the other parent within thirty (30) days of receipt of the payment

           request and proof that the claim has been submitted to insurance and the insurance
II

12         company has paid or rejected the claim.

13    (11) Father has repeatedly harassed Mother's place of work, private businesses, court staff,
14
      family members and friends. Father should be restrained from contacting via email, telephone,
15
      letter or in person Mother's place of work, insurance or utility companies, banking or financial
16
      entities unless through a lawyer competent to practice law in this state. Father is restricted from
17

18    contacting mother by phone, email or other written communication, or in person unless throu

19    a lawyer of this state unless it is in direc~ relation to parenting time, or medical, dental
20
      orthodontics insurance, treatment or appointments. Except to exchange the children as set out
21
      by the parenting plan, Father is not allowed to appear without the consent of Mother at
22
      Mother's home, place of work or any other location where Father is aware Mother will be
23

24    present unless previously arranged in writing via email with both Father and Mother agreeing.
25    (12) Mother is currently providing 1000 Euros to father per month to support the children
26
      while they are being held in France against this court's orders. Father should immediately
27

28            , LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 8




                                                                                                  EXHIBIT 5
                                                                                               Page 8 of 104
     Case 1:24-cv-00648-AA              Document 20-1           Filed 05/28/24      Page 43 of 290




      repay all past child support funds provided by Mother starting in September 2023 and

       immediately reimburse any future child support fund transfers made by Mother until Father

       complies with court orders and returns the children to Mother. There are no other pending chil

       support proceedings in this state or any other state.

       (13) Father should pay Mother's attorney fees and costs, as authorized by ORS 107.lOS(l)G),

       ORS 109.103, ORS 109.811. Mother shall submit a fee petition as provided by ORCP 68.

                           MONEY AWARD #1 - RETROACTIVE SUPPORT

     Judgment Creditor:                             Heidi Brown

                                                    2256 Abbott Avenue
11

12                                                  Ashland, OR 97520

13                                                  Phone: 541-944-2066
14
     Judgment Debtor:                               Arnaud Paris
IS
                                                    13 rue Ferdinand Duval
16
                                                    Paris, France
17

18   Other information debtor:                      See UTCR Confidential Information Form

19   Judgment Amount:                               $12,870, due upon entry of judgment
20
     Interest:                                      9% annual interest on each payment as it becomes
21
                                                    due
22

23
     Accrued Arrears:                               None

24

25                                MONEY AWARD #2 - CHILD SPPORT
26
     Judgment Creditor:                             Heidi Brown
27

28   __ ___ _  LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 9




                                                                                             EXHIBIT 5
                                                                                          Page 9 of 104
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                                                2256 Abbott Avenue

                                                Ashland, OR 97520

                                                Phone: 541-944-2066

             Judgment Debtor:                   Arnaud Paris

                                                13 rue Ferdinand Duval
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 e,
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                                                Paris, France
(.)
i::B
 (I)         Other information debtor:          See UTCT Confidential Information Form
.;::::
j            Judgment Amount:                   Child Support of $3,990 monthly, due on January 1,
         I
     10
                                                2024, and continuing on the 1st day of each month
     II

     12                                         thereafter payable until the children have reached

     13                                         age 18 or, if they continue attending school, until
     14
                                                they have reached age 21.
     15
             Interest:                          9% annual interest on each payment as it becomes
     16
                                                due
     17

     18      Accrued Arrears:                   $2,950

     19

    20

     21

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                                               J)~J~O~~      David J. rr
                                                         Circuit Court;.dge
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     28                LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
             SUPPORT; AND MONEY AWARDS - 10




                                                                                            EXHIBIT 5
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    12                               UTCR CERTIFICATE OF READINESS

    13           This judgment is ready for judicial signature because it presented in open court with the
    14
         parties present.
    15

    16

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    18
                                                       HeidiJfrown
    19
                                                       Petitioner     /   b
    20
                                                       Date:      / J? 25   O? Z:.
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    28             LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
         SUPPORT; AND MONEY AWARDS - 11




                                                                                                  EXHIBIT 5
                                                                                              Page 11 of 104
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              Heidi Brown
              2256 Abbott Avenue
              Ashland, OR 97520
              Telephone: (541) 944-2066
              Email: heidimparis0lgrnail.com

              Plaintiff, pro se


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                                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
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                                                FOR THE COUNTY OF JACKSON

         11

         12
                    In the Matter of:

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         15

         16
              IN THE MATER OF HEIDI BROWN,                Case No.: 22DR17285

         17
                              Petitioner,

         18   vs.                                         ADDITIONAL TERMS & CONDITIONS IN
                                                          THE AMENDED PETITION FOR
         19
              ARNAUD PARIS,
                                                          DISSOLUTION OF DOMESTIC
                                                          PARTNERSHIP AND TO ESTABLISH
         20                                               CUSTODY, PARENTING TIME, AND
                              Respondent
         21
                                                          CHILD SUPPORT

         22

         23

         24
              The ADDITIONAL TERMS & CONDITIONS in the AMENDED PETITION FOR
         25
              DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO ESTABLISH CUSTODY,
         26

         27   PARENTING TIME, AND CHILD SUPPORT should be included as part of the Limited

         28
              ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
              PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 1




                                                                                         EXHIBIT 5
                                                                                     Page 12 of 104
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     Judgment in the AMENDED PETITION FOR DISSOLUTION OF DOMESTIC

     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD

     SUPPORT due to the risk of harm to Children and to ensure Children's safety and regular access

     to Mother.



                                           FINDINGS OF FACT


        1. Respondent (Father) has deprived Petitioner (Mother) of virtually all parenting time since

            July 23, 2023, pursuant to the ORDER RE CONTACT [EXHIBIT 1- Order RE Contact].
11
            Father knowingly violated an active TPOR status Quo Order issued by this court
12
            restricting the children to the State of Oregon and absconded with them to France on or
13
            about July 22, 2023 - [EXHIBIT 2 - TPOR Status Quo] despite the additional ruling fro
14

15          the Oregon Supreme Court upholc:.ing the continuing validity of the TPOR several weeks

16          earlier [EXHIBIT 3- Oregon Supreme Court Ruling July 11, 2023]. Father
17
            misrepresented the status of the registration of the French judgment as well as the TPOR
18
            to French Consular authorities [EXHIBIT 4 - Letter from Consulate], Customs and
19
            Border Patrol.
20

21      2. Due to the Father's history ofviohting an active TPOR and parenting time orders issued

22          by this court, as well as lying to authorities, Father should be considered a clear risk of
23
            parental abduction.
24

25

26                                ADDITIONAL TERMS & CONDITIONS

27

28
     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 2




                                                                                               EXHIBIT 5
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     Due to the high-risk nature of the situation and Father's willingness to break criminal statutes,

     Father should only be allowed the parenting time detailed in the attached PARENTING PLAN

     EXHIBIT 1 after the following Terms and Conditions are met:



              1. A final General Custody and Parenting Time judgment is made in the State of Oregon.

              2. The final Oregon Custody and Parenting Time judgment is registered and enforced in

     France as well as all other states and counties where Father registered the French custody

     judgment and any other counties, states, or countries where Father has commenced court

     proceedings related to Custody and Parenting Time.
11

12            3. No other duplicative or frivolous custody proceedings initiated by Father are pending

13   in France, in this state or in any other state, county or jurisdiction.
14
              4. No other custody judgments are active and valid in any other state, county, country or
15
     jurisdiction.
16
              5. A determination is made by a li~ensed psychologist from Jackson County that Father
17

18   poses no physical or psychological risk to the children and this determination is confirmed by th

19   court.
20
              6. A determination is made by a licensed psychologist from Jackson County that Father
21
     no longer poses a risk of parental abduction and this determination is confirmed by the court.
22
              7. A determination is made by this court that Father no longer poses a risk of abducting
23

24   the children.

25

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     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 3




                                                                                               EXHIBIT 5
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              8. Father has established a permanent place of residence that can adequately and safely

     accommodate the children. Specifically, Father's residence includes a separate bedroom for the

     children in a safe environment.

              9. During father's visitation time, father is required to pay for all travel, lodging and

     meals to exercise parenting time.

              10. Father must not be facing criminal charges relating to the children in this state or any

     other state, territory, France or any other country.

              11. Father has posted a bond for $150,000, payable to mother, in the event that father

     takes the children out of Oregon in violation of the parenting plan. In case of dispute between th
11

12   parties, the court will have jurisdiction to choose the entity that secures the bond and to rule in

13   forfeiture.
14

15
     After father has met these conditions and unless Mother provides express consent in writing, the
16
     children will be restricted to the State of Oregon while Father is exercising his parenting time.
17

18   Mother's consent may be conditional on father agreeing to a predetermined amount of time with

19   a specified destination and return date and time and agreed upon by Mother prior to their
20
     removal from the State of Oregon.
21

22

23

24   Dated:

25

26
                                                            Heidi Brown, pro se
27

28
     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 4




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     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 5




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                                                      (Option A - Supervised)
..,,I
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0                                   IN THE CIRCUIT COURT OF THE STATE OF OREGON
!::!
co                                          FOR THE COUNTY OF Jackson
-
!::!
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'6,
        Petitioner _H_e_id_iM
                            _ _ar_ie_B_r_m_vn_   _ _ __          )
·;:                                                              )      CASE NO: 22DR 17285

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 >,
CL
                 and                                             )
                                                                 )      PARENTING PLAN
8 Respondent _ A_m_a_u_d _Par_is_ _ __ __                        )      Exhibit 1
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(.)
'O
.! 1.            The Parties. Petitioner and Respondent are the parents of:
jl                                                                                      Date of Birth
                                                                                                 2015
                                                                                                 2015




        They shall be collectively referred to as "the children" throughout this parenting plan.

        The residential parent is the parent with whom the children live most of the time and who also has legal
        custody of them.

                 Petitioner shall hereafter be referred to as the (check one):          [X] Residential parent
                                                                                        [ ] Non-residential parent

                 Respondent shall hereafter be referred to as the (check one):          [ ] Residential parent
                                                                                        [X] Non-residential parent

        2.       Parenting Time. (choose only one):

                 []        No Parenting Time. The non-residential parent shall have no contact with the children until
                           further court order. All parenting decisions shall be made by the residential parent.

                 fx]       Supervised Parenting Time. Whenever the children are with the non-residential parent,
                           the supervisor shall be present. The non-residential parent has the right to spend time with
                           the children even though the residential parent will be making most, if not all, of the
                           parenting decisions which need to be made on the children's behalf. The children shall be
                           with the non-residential parent on any sc11edule agreed to between the parents, but not less
                           than is set forth in the following supervised schedule (choose only one):

                        [x ]        -=---hours per week. The place(s), day(s), and time(s) shall be set by the
        residential parent.
                        [ ]         From _ __             m. to _ __       m. on the following day(s):_ _ _ __



        Page 1 of 3 - SAFETY FOCUSED PARENTING PLAN (Option A - Supervised) [Rev 6/03]


                                                                                                         EXHIBIT 5
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             3.     Supervisor. The person supervising the parenting time shall (choose only one):
         I
(")
~                   [X]    Be selected by the residential parent.
~
00
~
~                   [ ]    Be selected by the non-residential parent, subject to the residential parent's prior approval.
iii
 C
"c, 4               Access to Activities and Events. The non-residential parent (choose only one):
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 a.
                    [X]    Shall not attend the children's school activities and athletic events.
 0

-...
(.)
 u
 f
                    [ ]    May attend the children's school activities and athletic events.

8 5.                Child Safety. The non-residential parent shall follow the safety rules check below. If the non-
"C
 (I)                residential parent violates any of the rules below, the residential parent may seek the court's help
.;::::
                    through a contempt action. In addition, if the violation poses an immediate threat to the child(ren),
~I                  the specific parenting time may be stopped.

                    (Check all safety rules that apply):

                    [x]    There shall be no firearms in the non-residential parent's home, car or in the children's
                           presence during parenting time.

                    [X]    The non-residential parent shall not consume alcoholic beverages beginning 12 hours before
                           the children arrive up to the pDint they are returned to the residential parent.

                    [X]    The children shall not be physically disciplined.

                    [ ]    The following person(s) present a danger to the children and shall not be present during
                           parenting time _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                    [X]    The non-residential parent shall not be under the influence of intoxicating liquor or a
                           controlled substance (e.g. drugs) as said terms are defined in ORS 813.010 during any
                           period of time that he or she is to be with the children.

                    [ ]    Other:



             6.     Location. The nonresidential parent shall spend his/her parenting time with the child(ren) at the
             following location(s):

                    [x]    Supervised visitation center.

                    [x]    _ _ _ _ _ _ _ (l: : ati: n) or any other location designated by the residential parent.

                    [ ]    Any location designated by the nonresidential parent with approval by the supervisor.




             Page 2 of 3 - SAFETY FOCUSED PARENTING PLAN (Option A - Supervised) [Rev 6/03]


                                                                                                           EXHIBIT 5
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             7.        Exchange Point. The exchange of the child(ren) shall occur at (Choose all that apply):
         I
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0
                       [X]      The site of the supervised visit.
~                      [X]      Other (describe)- =Mother's Home
00
~
                                                       =~==---------------------
....N                  [ ]      The nonresidential parent may not come to the exchange point.
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 C
"c, 8.                Transportation. The residential parent or other person chosen by the residential parent shall be
·;:

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                      responsible for transporting the child(ren) to the exchange point. The child(ren) shall be picked up
                      and/or returned to the exchange point by (choose only one):
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 Cl)

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                       [x ]
                       [ ]
                                The nonresidential parent with the supervisor present.
                                The supervisor alone.
(.)
"C
 Cl)                  The child(ren) shall not be driven in a car unless the driver has a valid driver's license, auto
.;::::
·;:                   insurance, seat belts, and child safety ~eats as required by Oregon law.
~I
             9.       Communication with the Children. The non-residential parent (check all that apply):

                      [ ]       Shall not telephone, write, or email the children unless the contact is agreed to in advance
                                by the residential parent.
                       [ ]      May write or e-mail the children at any time. Each parent shall provide a contact address
                                (and e-mail address if appropriate) to the other parent.
                       [X]      May call the children on the telephone _2_ times per week. The call shall last no more than
                                15 minutes and shall take place between _6_ ....Q_.m. and _8_ __Q_.m. Long distance
                                telephone calls made by the children shall be paid for by the parent receiving the call. Each
                                parent shall provide a telephone number to the other parent.

             10.      Changes to the Parenting Plan. A specific parenting time may be denied due to the safety
                      concerns listed in Paragraph 5. Changes to the parenting plan are allowed whenever both parents
                      agree to a change. Agreed upon changes will be temporary and will be enforced by the court only
                      if the change is written down, is dated, signed by both parents before a notary public and submitted
                      to the court leaving a space for the judge's signature. See ORS 107.174.

             11.      This is part of a Court Order when attached to a signed Judgment. Each party has been put on
                      notice that an intentional failure to follow the rules of this parenting plan is punishable through the
                      contempt powers of the court. One parent's failure to comply with the rules does not excuse the
                      other party from following the rules.

             12.      Signature(s)

                      Your signature below indicates that you have read and agree with what has been decided and written
             in this document.

                      Petitioner:       Heidi M. Brown                                        [ ] Respondent    [ ] Co-Petitioner

                      Signature ~ ;,/2__ Date 12/11/2023                                      Signature                Date

             Rev 6/03
             Source \Parenting Plans\SFPPWG\Vers1on-4\ParentmgPlanOptionA-Ver04 6-23-03 wpd



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                                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                FOR THE COUNTY OF JACKSON

                                                        Family Law Department

                In the Matter of:
                                                               )
                Heidi Brown,                                   ) Case No.: 22DR17285
                                                               ) Related Case No.: 23DR08269
        9                                Petitloner,           )
                            and                                ) ORDER RE: CONTACT
       10                                                      )
       11       Arnaud Paris,                                  )
                                                               )
       12                                Respondent.           )

       13

       14              THIS MATTER came before the Court for hearing on June 21, 2023. Petitioner Heidi

       15       Brown appeared in person and her attorney, Taylor L. M. Murdoch, of her attorneys Buckley Law,
       16       PC, appeared remote1y. Respondent Arnaud .Paris appeared in person, and his attorney Thomas
       17
                Bittner, of his attorneys Schulte Anderson, appeared remotely.
       18
                       The Court, having received argument from counsel and the parties, and fully advised in
       19
                the premises, makes the following
       20
                       FINDINGS OF FACT
       21
                        I. Mother and Father are the unmarried parents of two minor children, IQ and._ _
       22
                           P      , age 8.
       23

       24

       25
                Page 1 - ORDER                                                            Buckley Law PC
                                                                                   5300 SW Meadows Rd., Ste. 200
                                                                                       Lake Oswego, OR 97035
                                                                                 Tel: 503-620-8900 Fax. 503-620..4878
                                                                                         tlm@buckley-law com


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       (")
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       ~         1             2. A Temporary Protective Order of Restraint was signed on October 7, 2022. The
       00
       ~
       ~ 2                         Temporary Protective Order ofRestraint remains in full force and effect. The parties
       iii
       C
       "c, 3
       ·;:                         exchange the children on Sundays.
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       Q.
                               3. The Court's findings on the record of June 21, 2023 as reflected in Exhibit 1 are
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       u
       Cl)

       ~ 6
                                   incorporated herein as if fully set forth.

       (.)
       "'C
                         NOW THEREFORE, IT IS HEREBY ORDERED:
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       ·;:
       Cl)                     1. Calls. Whenever the children desire to call the parent with whom they are not having
       >I 8

                                  parenting time, the parent with whom they are with will facilitate such a call. In
                 9
                                  addition, there will be two points during the week where either parent can call and do a
           10

           11                     check-in and speak with the children, at 7:30 pm Pacific Standard Time, on Tuesdays

           12                     and Thursdays.

           13                  2. Discus;,,•ing the Case. Neither parent will discuss the pending litigation with the

           14                     children.                                     8/3/2023 2.03:14 PM


           15

           16                                                                   ~~.....<.

           17
                                                                                                            7
                                                                                           Circuit Court Judge David J. Orr

           18

           19
                         UTCR 5.100 CERTIFICATE OF READINESS: This proposed order is ready for judicial
           20            signature because opposing counsel agreed to file ohjections independently.

           21
                               DATED this          of June, 2023.
           22
                                          8/3/2023
           23
                                                               By:
           24                                                          Taylor L. M. Murdoch, OSB No. 111307
                                                                       tlm@buckley-law.com
           25                                                          of Attorneys for Mother
                         Page 2 - ORDER                                                                         Buckley Law PC
                                                                                                        5300 SW Meadows Rd., Ste. 200
                                                                                                            Lake Oswego, OR 97035
                                                                                                      Tel: 503-620-8900 Fax: 503-620-4878
                                                                                                              tlm@buckley-law.com


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            CERTIFICATE OF SERVICE:               I certify that I served on July 31, 2023, a complete and exact
            copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
            delivering a true copy to the following address, as follows:


            Thomas A Bittner
            Schulte Anderson
            811 SW Naito Pkwy Ste 500
            Portland OR 97204


                    DATED this     u       day of July, 2023.



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            Page 3 - ORDER                                                               Buckley Law PC
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                                                                                     Lake Oswego, OR 97035
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                                                                                       tlm@buckley-law.com


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     00                1               IN THE CIRCUIT COURT OF THE STATE OF OREGON
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                       2                            FOR THE COUNTY OF JACKSON
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                       4    In the Matter of:


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                            HEIDI MARIE BROWN,

                                              Petitioner,
     (.)
     "'C
      Cl)
     .;::::            7        and                               Case No. 22DR17285
     ·;:

     ~I                8    ARNAUD PARIS,                         Case No. 23DR08269

                       9                      Respondent.

                      10

                      11

                      12                              EXCERPT OF PROCEEDINGS

                      13                                       Pages 1 to 9

                      14

                      15

                      16               BE IT REMEMBERED THAT on June 21, 2023, the

                      17    above-entitled case ca~e on regularly for hearing before

                      18    The HO~ORABLE DAVID J. ORR, a Circuit Court Judge.

                      19

                      20    APPEARANCES:

                      21         Taylor LM Murdoch, Appearing via Webex
                                 Attorney at Law
                      22         Representing the Petitioner

                      23         Thomas A. Bittner, Appearing via Webex
                                 Attorney at Law
                      24         Representing the Respondent

                      25

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    "c,               3                      THE COURT:       Do either -- Mr. Bittner, you
    ·;:

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     a.
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                           were trying to address this issue?

                                             MR. BITTNER:          Yeah, Your Honor.   Look,
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    -......
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     Cl)

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                      6    these -- they've exchanged the kids successfully for
    (.)
    "'C               7    you know, since last October.                I think we should let
     Cl)
    .;::::
    ·;:
                      8    them be.       And I want to object to you modifying your
    ~I
                      9    status quo order.           I've explained to you that any effort

                     10    you make to alter what's going on is in contravention to

                     11    the judgment in France, and you don't have modification

                     12    jurisdiction.         So I'm just making a record.          I'm

                     13    pointing it out.           You're going to do what you want to

                     14    do.     I get it.       So, you know --

                     15                      THE COURT:       You've made the record multiple

                     16    times.      That's not what I was asking.            I was asking for

                     17    your proposal in terms of how to address the problem

                     18    that is, that is at hand here.                Yeah, I understand that

                     19    you believe Oregon doesn't have jurisdiction.                   That may

                     20    well be the case.           As of now, that has not been

                     21    determined.         I will make such orders as are necessary

                     22    that are in the best interests of the children.

                      23              Let's talk about what we're going to do here with

                      24   regards to the parents talking to the children,

                      25   Mr. Bittner.

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    (")
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    0                  1                    MR. BITTNER:       I guess my point is, what have
     ~
     00
     ~                                                                       It seems to have
    ....
    N                  2    they historically done this past year?
     iii
      C
    "c,                3    been fine.      So I don't know that the Court needs to
    ·;:

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      >,
      Q.
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                       5
                            intervene.      They may be going through a rough patch,

                            but, you know, this wa3 not the form, the time, the

     -......
     (.)
      u
      Cl)

      0
                       6    place.    You know, I do~•t know that there is a problem.
    (.)
     "'C
                       7    They've never complained to me -- or my clients never
      Cl)
     .;::::
     ·;:
                       8    complained to me that the kids haven't been able to
     ~I
                       9    communicate with him or the kids with their mother.

                      10             There have been a lot of complaints from my

                      11    client about things that the girls repeat to him that

                      12    mom says that are really, really bad, and so, you know,

                      13    there is some concern of that.           But the Court has

                      14    chastised both parties and grandparents and whatnot to

                      15    shield the kids, and that's, you know, standard and

                      16    appropriate advice, and I told my client to follow it,

                      17    and I'm sure that Mr. Murdoch has done the same.              So

                      18    they've been told what to do.           They need to make the

                      19    kids available if the kids want to communicate.              And,

                      20    you know, if there needs to be a midweek check in, they

                      21       whatever.       I understand.

                       22            But, but I discourage you from making orders that

                       23   are in modification .           That's a whole different issue

                       24   than what I said before about this Court not having

                       25   jurisdiction to make an initial determinatio n.             Now

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                                                                                          Page 4


                     1     you're making a modificat ion.

                     2               So I'd say let them be and, you know, if
     iii
      C
                     3     somebody' s got a problem, they can file a motion.             But
     "c,
     ·;:

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      >,
      Q.
                     4     jumping in and trying to --

                                             THE COURT:      Well, as long
      0              5

     -...
     (.)
      u
      f
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                     6                       MR. BITTNER:      -- do it on the fly --
     (.)
     "'C             7                       THE COURT:      -- we're in court here, we
      (I)
     .;::::
                     8     might, we might as well get these issues settled to the
     ~I
                     9     extent that it's possible to settle them.             I'm going to

                    10     hear from Mr. Murdoch.

                    11                But, Mr. Paris, what were you trying to say?

                    12                       MR. PARIS:      Actually, I'm the one who

                    13     offered the kids yesterday to call their mother.

                    14                       THE COURT:      You were, you were the one who

                    15     what?

                    16                       MR. PARIS:      I am the one who offered the

                    17      kids to call their --

                    18                       THE COURT:      To what the kids?

                    19                       MR. PARIS:      Sorry.   I am the person who told

                    20      the kids, "Do you want to speak to your mom?" yesterday .

                    21      That phone call was me suggesting to the kids to cal~

                    22      their mom.        They don't necessari ly want to call their

                    23      mom every day, nor do they want to talk to her every

                     24     day.     You know, they're doing lots of fun things.           I am

                     25     the one that was saying to the kids, Do you want to call

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    (")
    N
    0                 1    your mom?        You haven't talked to her for three days.
    ~
    00
    ~
    ....
    N                 2    And I asked, Why do you not want to talk to her every
    iii
     C
    "c,               3    day?     They said, When we're with you, we don't really
    ·;:

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     >,
     Q.
                      4

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                           want to talk to mom, and when we're, when we're with

                           morn, we don't really want to talk to you.              Because last
     0

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     u
     Cl)

     0
                      6    week they called me once.             One of them called me once.
    (.)
    "'C
                      7    That's it.        I don't get to speak to them every day.              And
     Cl)
    .;::::
    ·;:
                      8    frankly,      I don't want to fault them.         If they don't want
    ~I
                      9    to talk to me when they're with morn, that's fine.                 I

                     10    suggested that they call their morn yesterday, and they

                     11    said okay.        Sometimes I suggest and they say no.         I

                     12    don't ~hink we should fault these kids.              That's what I'm

                     13    saying.       Even if morn wants to talk to them every day, if

                     14    they don't want to talk to their mom, I don't think we

                     15    should fault them, fault them.

                     16                      THE COURT:       What is the exchange day?       What

                     17    day of the week?

                     18                      MR. PARIS:       It's, it's Sunday.

                     19                      THE COURT:       All right.   Mr. Murdoch,

                     20    anything on all this before I do something?

                     21                      MR. MURDOCH:       Thank you, Your Honor.

                     22               Let's just make sure these kids talk to their

                     23    parents and make sure this is not something where a

                     24    parent is suggesting one way or the other or is somehow

                     25    leading -- leaving it to an eight-year-old's

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                                                                                               Page 6
             I
    (")
    N
    0                 1    determination.          Let's get an order in place saying these
    ~
    00
    ~                 2    kids have to talk to, talk to mom during dad's time and
    ....
    N

    iii
     C                3    they have to talk to dad during mom's time.                Let's set a
    "c,
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                      5
                           date -- or rather, let's set a time when this happens.

                           It can be every other jay.              But let's make sure -- and

    -......
    (.)
     u
     Cl)

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                      6    an order also directing the parties not to discuss these
    (.)
                      7    matters with -- this case with the children.                I think
    "'C
     Cl)
    .;::::
    ·;:               8    that's a straightforward thing that protects these kids
    ~I
                      9    and gets them through to the next hearing.

                     10                      THE COURT:        It does sound like we need to

                     11    make some kind of an order.              So here's what it'll be.

                     12              First of all, and I think both mother and father

                     13    are agreeable to this, that the children, whenever they

                     14    desire, are permitted to call the parent that they are

                     15    not with, meaning if they're with dad, if they --

                     16    whenever they want to 8all mom, they get to call mom; if

                     17    they're with mom, whenever they want to call dad, they

                     18    get to call dad, and further, that the parent will

                     19    facilitate that.           Since they're eight and they don't

                     20    have phones, the parent will facilitate that.

                     21               In addition, there will two points during the

                     22    week w~ere either parent can call and do a check-in and

                     23    talk to the kids.           My recommendation is that be, that be

                     24    somewhere around 7:30 in the evening.                I don't know

                     25    you want to do that?              Let's see.   So you exchange

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                                                                                            Page 7


                     1     Tuesday -- excuse me, you exchange Sunday.                Do you want

                     2     to do that Tuesday and Thursday or Tuesday and Friday?
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     "c,             3     What are you requesting, Mr. Murdoch?
     ·;:

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                                             MR. MURDOCH:      Your Honor, I think what the

                           Court is suggesting, on Tuesday and Friday, makes sense.
      0


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                     6     Friday may actually be problematic just because
     (.)
     "'C
                     7     oftentimes families ha7e plans on Friday evening
      (I)
     .;::::
                     8                       THE COURT:      All right.
     ~I
                     9                       MR. MURDOCH:      -- for the upcoming weekend.

                    10     So let's make it Tuesdays and Thursdays.

                    11                       THE COURT:      Tuesday and Thursday.      So you

                    12     can call at 7:30 Tuesday and Thursday.             Heidi will make

                    13     the kids available.

                    14               You can call th~ kids when he has them Tuesdays

                    15     and Thursdays at 7:30.            Mr. Paris will make the kids

                    16     available.

                    17                If they tell yoJ they don't want to talk, you

                    18     tell them, Okay, you don't have to talk.             Just tell your

                    19     dad, or tell your mom, you don't want to talk because

                    20     the other parent needs to hear it from them.                All right.

                    21                       MR. PARIS:      So I would agree with you on

                    22     this.      It's very good 3dvice.         I just can't accept that

                    23     order.      You don't have jurisdiction, Judge.

                    24                       THE COURT:      Okay.   You refuse --

                    25                       MR. PARIS:      And I will (unintelligible)

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    0                 1                      THE COURT:       -- the Court's orders at your
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    ....
    N                 2    peril.
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    "c,               3                      MR. PARIS:       No.
    ·;:

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     >,
     Q.
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                      5
                                             THE COURT:

                                             MR. PARIS:
                                                              So I'm going

                                                              I'm just saying that I will, I

    -......
    (.)
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     Cl)

     0
                      6    will challenge that order in Supreme Court.
    (.)
    "'C
                      7                       THE COURT:      Okay.     Well, go ahead and do
     Cl)
    .;::::
    ·;:
                      8    that.      I'm saying it would be not a good idea, and I
    ~I
                      9    think even your attorney would not recommend that you

                     10    disobey the Court's orders at this point until --

                     11                      MR. BITTNER:       Yeah.

                     12                       THE COURT:      -- you have your Supreme Court

                     13    order telling you otherwise.

                     14               Also, Mr. Murdoch, as you were suggesting the

                     15    language about neither parent discussing the case with

                     16    the children is very appropriate and apparently

                     17     necessary here.          So that's where we are.

                     18               Anything else that we have to put on the record

                     19     before we adjourn?

                     20                [END OF EXCERPT:        3:10 PM]

                     21

                      22

                      23

                      24

                      25

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     "c,               3                      I, Terri Forsyth, a transcrip tionist in the


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                       4    state of Oregon, do he~eby certify that I reported in
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                            stenotype the foregoing audio recorded proceedin gs had
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      Cl)              6    upon the hearing of this matter previously captioned
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     (.)
     "'C               7    herein; that I thereafte r reduced my said stenotype
      Cl)
     .;::::
     ·;:
                       8    notes to typewritin g; ~nd that the foregoing transcrip t,
     ~I
                       9    Pages 1 to 9, both inclusive , constitute s a full, true

                      10    and accurate record of said audio recorded proceedin gs

                      11    to the best of my knowledge , ability, belief, and

                      12    quality of the recording .

                      13               Witness my hand as transcrip tionist at Portla~d,

                      14    Oregon, this 24th day of June, 2023.

                      15

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                       23                                      ':jg.A-,~.,.jt;i,".~j~
                                                               Terri Forsyt-t-1
                       24                                      Transcrip tionist

                       25

                                                      LEE BERGER & ASSOCIATES, INC.
                                                        Certified Court Reporters
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                                                                                                 EXHIBIT 5
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                             IN THE CIRCUIT COURT FOR THE STATE OF OREGON

                                            FOR THE COUNTY OF JACKSON

     IN THE MATTER OF:                                      )
                                                            )                    22DR17285
     HEIDI MARIE BROWN,                                          CASE NO.
                                                            )
                             PETITION ER,                   )    TEMPORARY PROTECTIVE ORDER OF
                                                            )    RESTRAINT
           and                                              )    (Pre-Judgment Status Quo - ORS 107.097)
                                                            )
10   ARNAUD PARIS,
                                                            )
11                           RESPONDENT.                    }

12          This matter came before the court on Petitioner's ex parte motion for a temporary pro-

13   tective order of restraint. Based upon Petitioner's declaration and the other documents on file

14   herein, the court hereby finds the following:

15
16
            1.        The parties' minor children are B          lJ      P
                                                                                      -~
                                                                               (7) and.       M      ,p   (7).

            2.        Their childr en 's usual place of residence is with Petitioner at 665 Leonard St., in

17   Ash land, Oregon.

18          3.        Their children are currently enrolled and attend school at Bellview Elementary

19   School in Ashland, Oregon .

20          4.        Both parties exercise parenting time with their chi ldren on a roughly equal basis.

21          THEREFORE, IT IS HEREBY ORDERED that Petitioner and Respondent are restrain ed from

22   the following:

23          1.        Changing their children's usual place of residence at 665 Leonard St., in Ashland,

24   Oregon;

25          2.        Interfering with the present placement and daily schedule of their children, which

26   includes attending school at Bellview Elementary School in Ash land, Oregon;

     TEMPORARY PROTECTIVE ORDER OF RESTRAINT {Pre-Judgment Status Quo- ORS 107.097)
     Page 1 of 3

                                                      CARTY I.Aw, P.C.
                                              P.O. Box 4628, Salem, Oregon 97302
                                off1ce@cartylawpc com I (503) 991-5142 I www cartylawpc com




                                                                                                         EXHIBIT 5
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r.,,..                ,   I(.




                                       3.      Hiding or secreting their children from the other party;

                                       4.      Interfering with the other party's usual contact and parenting time with their

                                children which is on a roughly equal basis.:

                                       5.      Leaving the state with their children without the written permission of the other

                                party or the permission of the court; and


         -u
          ~7
          0
                                       6.      In any manner disturbing the current schedule and daily routine of the child until

                                custody or parenting time has been determined or the parties otherwise agree in writing.
         (.)
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                                                                                             10/11/2022 4:15:55 PM
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                  12                                                                          ,d)OLA                 ~l?f~A.
                  13                                                                                     Circuit Court Judge David J. Orr

                  14
                  15
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                  17

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                  23

                  24

              25

                  26

                                TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
                                Page 2 of 3

                                                                               CARTY LAW, P.C.
                                                                        P.O. Box 4628, Salem, Oregon 97302
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                                              UTCR 5.100 Certificate of Readiness
                      This proposed order is ready for judicial signature because service is not required by stat-
              ure, rule, or otherwise.

                     DATED: 10/07/2022
                                                                           CARTY LAW, P.C.




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                                                                           Sarah Bain, OSB No. 202594
(.)                                                                        Email: sarah@cartylawpc.com
-g 8                                                                       Attorney for Petitioner
.;::::

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                                       * * * * * * * * * * * * * * * * * * * * *
         10
                                                                NOTICE
         11   You may request a hearing on this order as long as it remains in effect by filing with the court a
              request for a hearing. In the request you must tell the court and the other party that you object
         12   to the order and specifically why you disagree with the representation of the status quo de-
              scribed in the order. In the request you must also inform the court of your telephone number or
         13
              contact number and your current residence, mailing, or contact address.
         14

         15

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              TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
              Page 3 of 3

                                                             CARTY LAW, P.C.
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                         IN THE SUPREME COURT OF THE STATE OF OREGON

                                             HEIDI MARIE BROWN,
                                             Petitioner-Adverse Party,

                                                        V.


                                                ARNAUD PARIS,
                                               Respondent-Relator.
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                                        Jackson County Circuit Court
(.)                                            22DR17285
"C
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                                                    S070246
~I
              ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
                               DENYING MOTION TO VACATE

           Upon consideration by the court.

          The petition for peremptory writ of mandamus is denied without prejudice.

          The emergency motion to vacate the trial court's October 11, 2022, status quo order
                                                                                              is
          denied as moot.




                                                                               MEAGAN A. FLYNN
                                                                         CHIEF JUSTICE, SUPREME COURT
                                                                              7 11 2023 4:28 PM




                       DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
          Prevailing party. Adverse Party.                                      [ X] No costs allowed.


          c: George W Kelly
             Arnuad Paris
             Hon David J Orr
          w




          ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
          DENYING MOTION TO VACATE
                  REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
                        Supreme Court Building, 1163 State Street, Salem, OR 97301-2563
                                                   Page 1 of 1




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                                     Authorization l o travel to France with two minor~




                The Consulate General of France in San Francisco hereby certifies that Mr Arnaud P,C..Pi:. '.•:'):?.
             1978) is allowed lo travel to France wItti his two daughters E          4 P           and J              U            ::
        bot:-i born on             2015.


                A French court granted Mr. PARIS fu 'I custody over his daughters. The judgement has bee, re;;·..: a·:·
        registered in Oregon under No. 23DR08269 and thus it became an Oregon Judgment on the day : •::as
        registered. May 9. 2023. Therefore it is an official, registered judgment entitled to full recog~1'.10:i a"'c
        enforcement by local authorities


                The Consulate General of France in San Francisco kindly asks CSP for their assistance in lerting Mr.
        PARIS and his daughters board their flight to Paris. France.




                                                                                San Francisco. July 22•·0 2023




                                     44 Montgomery Street. Suite 3400. San Francisco. CA 94104
                                 (415) 616-4906. admin-franca1s.san-franc1sco-fslt@d1plomatie.gouv fr

                                                                                                                        EXH IBIT 5
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.r




          Heidi Brown
          2256 Abbott Avenue
          Ashland, OR 97520
          Telephone: (541) 944-2066
          Email: beidjmpans@vmaiI com

          Plaintiff, pro se




                                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                  FOR THE COUNTY OF JACKSON


                 In the Matter of:
     II

     12

     13

     14
          HEIDI BROWN,                                          Case No.: 22DR17285
     15
                              Petitioner,
     16

     17   vs.

     18   ARNAUD PARIS,
                                                                AMENDED PETITION FOR DISSOLUTION
     19                       Respondent                        OF DOMESTIC PARTNERSHIP AND TO
     20                                                         ESTABLISH CUSTODY,
                                                                PARENTING TIME, AND CHILD SUPPORT
     21

     22

     23                       Petitioner, who at the November 14, 2023 hearing was given leave by the court to
     24
          amend her pleadings, hereby alleges the following:
     25
                                                   1. Domestic Partnership
     26

     27

     28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - I




                                                                                                      EXHIBIT 5
                                                                                                  Page 37 of 104
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     Petitioner (hereafter Mother) and Respondent (hereafter Father) have been in an unregistered

     domestic partnership for the past nine years.

                                                     2. Grounds

     Irreconcilable differences between the parties have caused the irremediable breakdown of their

     domestic partnership.

                                                    3. Jurisdiction

     At the time of filing, neither party had resided in the United States for a period of (6) months

     immediately prior to filing the original Petition for Dissolution. Therefore, there was no home

     state for the children under ORS 109.741(1)(a). However, jurisdiction is proper under ORS
11

12   109. 741 (b) because:

13                   ( 1) there is no home state,
14
                     (2) the child and the child's parents, or the child and at least one parent or a
15
                    person acting as a parent, has a significant connection with this state other than
16
                    mere physical presence, and
17

18                  (3) substantial evidence is available in this state concerning the child's care,

19                  protection, training and personal relationships.
20
                    (4) The court has personal jurisdiction over Father and Mother because the
21
                    petition on file herein was filed in the state of Oregon and at the time of filing
22

23
                    both parties resided in Jackson County, Oregon.

24                                                   4. Venue
25   At least one party resided in Jackson County at the time of the filing of this Petition for
26
     Dissolution.
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 2




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                                                5. Other Proceedings.

     At the time of the original filing of this petition, Mother was not aware of any other domestic

     relations suits or petitions for support pursuant to ORS 108.110 involving the parties pending in

     any other court in the state of Oregon or in any other jurisdiction.



                                                  6. Statutory Data.

     Mother's current residential address is 2256 Abbott Ave., Ashland, OR 97520. Father's current

     residential address is 13 rue Ferdinand Duval, Paris, France. Additional information regarding
11

12   Mother and Father is provided on the parties' UTCR 2.130 Confidential Information Forms.

13

14
                                                     7. Children.
15

16
     The minor children born of this domestic partnership are   EJ rO F         (age 8) and J
                                                                                             --
17
     M      JC: (age 8). Additional information regarding the children is provided on the parties'
18   UTCR 2.130 Confidential Information Forms.

19

20
                                                     8. UCCJEA.
21
     The information required by the Uniform Child Custody Jurisdiction and Enforcement Act
22

23
     (UCCJEA), under ORS 109.767, is as follows:

24          (a) { ] and J          have lived at the following places with the following persons during
25          the last five years:
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 3




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      DATE                             PLACE                             PERSON

      January 2015 - March 2015        Jackson County, OR                Both Parents


      March 2015-August 2019           Los Angeles County, CA            Both Parents


      August 2019 - July 2022          Paris, France                     Both Parents


      July 2022 - July 2023            Jackson County, OR                Both Parents


      July 2023 - Present              Paris, France                     Father

11

12

13
            (b) Mother has not participated as a party, witness, or in any other capacity in any
14

15          litigation concerning the custody of or parenting time or visitation with the parties' joint

16          minor children in this state or any other jurisdiction.
17
            (c) Jurisdiction has been determined to be proper in Jackson County, Oregon pursuant to
18
            the attached ORDER RE· DISMISSAL OF RESPONDENT'S MOTION TO DISMISS,
19
            and the LIMITED JUDGMENT RE REGISTRATION (Case No.: 23DR08269).
20

21          (d) Mother does not know of any person not a party to these proceedings who has

22         physical custody of the parties' joint minor children or claims rights of legal custody or
23
            physical custody of, or parenting time or visitation with their children.
24
            (e) Jurisdiction is proper under the Uniform Child Custody Jurisdiction and Enforcement
25

26         Act (UCCJEA), ORS 109.741(b), because (1) there is no home state, (2) the child and the

27         child's parents, or the child and at least one parent or a person acting as a parent, had a
28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 4




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          significant connection with this state other than mere physical presence, and (3) Father

          cannot claim extended home state jurisdiction because he had abandoned France and

          moved to Jackson County when the dissolution proceedings commenced.

          (4) substantial evidence is available in this state concerning the child's care, protection,

          training and personal relationships. The relevant significant connections and evidence

          concerning the children's care, protection, and training are as follows:



          (1) Mother, Father,   EJ, and J        moved to Ashland, with the intent to make Ashland,

          Oregon their permanent home. Mother, 1[], and .,.________, Arrived on July 29, 2022. Fathe
II

12        arrived shortly thereafter on August 19, 2022.

13
                                                            __ 2015.
          (2) { ] and ......____. were born in Ashland in .__
14
          (3) The family moved to Los Angeles, CA, and lived there from March 2015 to August
IS
          2019.
16

17
          (4) The family moved to Paris, France, in August 2019 for what was supposed to be a

18        temporary, one-year relocation.

19        (5) In March 2020, the parties started collecting United States unemployment insurance
20
          benefits with plans to move back to the United States. However, due to the Covid-19
21
          pandemic, the family stayed in France longer than anticipated.
22

23        (6) In December of 2020, Mother acquired a vacant lot with the intent to build a home fo

24        the family in Ashland. The deed was recorded in Mother's name on January 4, 2021.
25
          Additionally, Father considered purchasing vacation property on the Oregon coast for the
26

27

28
     AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 5




                                                                                               EXHIBIT 5
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     .I




               anticipated move back to Oregon. The parties extensively discussed an anticipated

               relocation of their home to Oregon.

               (7) In March 2022, the parties agreed to move back to Ashland.

               (8) Preparations for the family's move included: terminating the lease on the parties'

               Paris apartment, securing a four-bedroom rental house in Ashland, researching schools in

               Ashland, registering the children for summer camps in Ashland, hiring an au pair to care

               for the children, and submitting applications to transfer their places of employment to the

               United States.

               (9) In May 2022, the parties mutually hired an au pair who signed a contract to help
II

12             provide childcare for :(] and .___ ,for twelve months (through September 9, 2023) in

13             exchange for a weekly stipend, room and board, and the opportunity to become part of an
14
               American family living in Ashland.
15
               (10) Father has lived in Ashland in the past and has agreed verbally and in writing to
16
               Mother that his relocation in 2022 was intended to be a permanent relocation to Jackson
17

18             County, Oregon.

19             ( 11) Mother was born in Ashland and has parents, siblings, extended family, and lifelong
20
               friends in Jackson County. Mother works in marketing and prior to the move permanent!
21
               transferred her European contract to a U.S. contract. Mother owns real property in
22

23             Jackson County, owns a vehicle that is registered in Oregon, pays taxes in Oregon and th

24             United States, and is registered to vote in Oregon.

25             (1 2) E[] and._ _ were enrolled in and attended school at Belleview Elementary
26
               School in Ashland until their unlawful removal in July of 2023.
27

28        AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 6




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             (13) E    and.
                              ---   have health insurance in Ashland and see a pediatrician in Ashland

             (i.e., the same doctor they have been seeing since 2017), an orthodontist in Medford, and

             a local dentist.

             (14) B    and .
                              ---   have attended summer camp, made friends, attended play dates, and

             were enrolled in extracurricular activities in Ashland.

             (15) On August 18, 2023, the court dismissed Father's Motion to Dismiss and can

             proceed with the dissolution of the domestic partnership, and to establish custody,

            parenting time, and child support

             (16) On August 18, 2023, the court entered a Limited Judgment Re Registration (Case
II

12           No.: 23DR08269), which determined that France has no jurisdiction in this matter and

13           declined to confirm father's attempt to register a French custody order. No other
14
            judgment is pending that can be registered.
15

16
                                           9. Child Support Information.
17

18   The child support information, required by ORS 107.085(2)(c), is as follows:

19   At the time of filing:
20
             (a) Mother was not aware of any other child support proceedings, involving the parties'
21
            joint minor children, pending in this state or any other jurisdiction.
22

23
             (b) Mother is not aware of any child support orders or judgments, involving the parties'

24          joint minor children, existing in this state or any other jurisdiction.

25

26
                                                     10. Custody.
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 7




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       1. On or about July 22, 2023 Father violated the October 11, 2022 TEMPORARY

          PROTECTIVE ORDER OF RESTRAINT (Status Quo) and removed the children from

          the State of Oregon and brought them to France. This order is still active and as of the

          date of this filing Father remains in violation of this Order.

       2. Father has deprived Petitioner Mother of virtually all parenting time since July 23, 2023.

       3. Additionally, Father is in violation of August 3, 2023 ORDER RE CONTACT which

          stated:

                    "A Temporary Protective Order of Restraint was signed on October 7, 2022. The

          Temporary Protective Order of Restraint remains in full force and effect. The parties
11

12        exchange the children on Sundays."

13                  As an exhibit, the ORDER RE CONTACT included a partial transcription of the
14
          June 21, 2023 hearing, wherein the court orally noted that "you exchange [the Children]
15
          Sunday."
16
       4. When Father took the children to France, he secreted them away and would not share the
17

18        location of the children for several weeks.

19     5. Since Father's return to France, he has had a full-time au pair who's tasks include
20
          preparing the children for school and bringing them to school, as well as picking them up
21
          from school, spending the rest of the day with them and preparing them dinner and
22
          getting them ready for bed. Because of this schedule he is not regularly involved in the
23

24        children's day-to-day care.

25     6. Prior to the separation of Mother and Father, Mother was the primary caregiver to the
26
          children, preparing them for school and extracurricular activities, organizing social
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 8




                                                                                            EXHIBIT 5
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            engagements and family functions, scheduling doctors appointments, maintaining

            insurance and was available and present in their lives on a consistent basis.

        7. Prior to the separation of Mother and Father, Father would often leave for extended

            periods for business purposes. Even when he was not traveling, Father was not involved

            in the day-to-day organization, care and upkeep of the children.

        8. It is in the children's best interest that Mother should have sole legal custody of the

            parties' children.



                                            11. Parenting Plan.
11

12                                            (a) The Schedule

13   The court should adopt a parenting plan, as required by ORS 107.102, that serves the children's
14
     best interests. Mother's Parenting plan is outlined below:
15
        1. Both children will live with Mother at her home in Ashland, Oregon
16
        2. Until Father has met the criteria detailed in the attached "ADDITIONAL TERMS AND
17

18          CONDITIONS", Father will only be allowed supervised parenting time as detailed in the

19          attached supervised parenting plan titled "PARENTING PLAN EXHIBIT l ".
20
        3. Once Father has met the conditions outlined in the attached ADDITIONAL TERMS
21
            AND CONDITIONS, Father will have parenting time according to the below schedule.
22
            All other parenting time will be exercised by Mother.
23

24              •   The first weekend of each month from 6:00 p.m. Friday until 6:00 p.m. Sunday

25              •   Winter Break: Father shall have parenting time for one week of school Winter
26
                    Break every year with the week including Christmas Day in Odd-numbered years
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 9




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             •   Spring Break: Father shall have parenting time for Spring Break in

                 Even-numbered years

             •   Thanksgiving Break: Father shall have parenting time for Thanksgiving Break in

                 Even-numbered years

             •   Holiday Weekends: There will be no planned holiday weekend parenting time

                 unless both parties agree to it in writing. Holiday weekends include: Martin

                 Luther King, Jr. Birthday, President's Day, Memorial Day, and Labor Day.

             •   Child's Birthday: Father shall have the option to have parenting time for the

                 children's birthday in Even-numbered years
11

12           •   Summer Vacations: Father shall have parenting time with the children for Four

13               Weeks, exercised in Two 2-week blocks, separated by at least one week with
14
                 Mother.
15
             •   Phone Calls:
16

17
                    o Father will have phone calls twice per week with the children for up to 30

18                      minutes between the hours of 4pm and 8pm PST when the children are

19                      with Mother. Regular times and days will be determined by Mother to
20
                        allow for extracurricular activities.
21
                    o Mother will have phone calls twice per week with the children for up to 3
22

23                      minutes when Father is exercising his parenting time.

24
                                  Notice for Summer Scheduling
25

26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 10




                                                                                          EXHIBIT 5
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     Before April 1 of each year, Father shall notify Mother, in writing, of the dates chosen for

     summer parenting time. Mother has the right to choose the dates for Father's summer parenting

     time if Father does not give notice before April 1. Father's summer parenting time shall end at

     least seven days before the children's first day of school.



                                    (b) Safety and Emotional Wellbeing

     Father will observe the following rules when he is exercising his parenting time with the

     children:

         1. Father will not consume drugs or alcohol while he is exercising his parenting time
11

12      2. Father will not have a member of the opposite sex who is not related to them by blood or

13          marriage stay overnight.
14
        3. Father must have Children home by 8pm on school nights and by 9pm on weekend night
15
            unless specifically agreed upon by both parents in writing via email prior to the extended
16
            time outside the home.
17

18

19                                       (c) Contact Information.
20
            Pursuant to ORS 107.164, each party should have a continuing responsibility to:
21
            (1) Provide his or her home (not just mailing) address; home, work, and mobile telephon
22

23
            numbers; and email address to the other party; and

24          (2) Notify the other party of any emergency circumstances or substantial changes in the

25          children's health.
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 11




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                                         (d) Notice of Relocation.

     Pursuant to ORS 107.159, neither parent should move to a residence that is more than 60 miles

     further distant from the other parent without giving the other parent reasonable notice of the

     change of residence and providing a copy of such notice to the court.



                                               12. Child Support.

     The court should set child support in conformance with Oregon's Uniform Child Support

     Guidelines with the additional provisions included below.

                    (a) Place of Payment. Support should be paid in accordance with a wage
11

12   withholding order as required by ORS Chapter 25. The Department of Justice should provide

13   collecting, accounting, distribution, and enforcement services in accordance with the provisions
14
     of ORS 25.020. All support payments due prior to the Department of Justice providing these
15
     services should be made directly to the parent entitled to receive the support. All support
16
     payments due after the Department of Justice begins providing these services should be paid
17

18   through the Division of Child Support, Department of Justice, P.O. Box 14506, Salem, Oregon

19   97309.
20
                                      (b) Notification Requirement.
21
                    Each party should notify the Department of Justice, Child Support Program, P.O.
22

23
     Box 14506, Salem, Oregon 97309, of any changes in that party's home or business address

24   within ten (10) days after such change.

25                                     (c) Dependency Exemption.
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 12




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(')
    _11    Unless otherwise agreed on between the parties, the dependency exemption on account of the
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           parties' children should be claimed in accordance with federal and state tax regulations.
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;§                                              d) Additional Provisions.
05
~6            1. Father should immediately pay for past travel expenses, lodging and meals to and from
(.)

~7                France for Mother to see children in the amount of $2,945.00.
0
t.>g
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 GI
              2. Father should continue to pay for travel, lodging and meals until Father is no longer in
!§9
~,                violation of this court's orders.
  10

      11

      12         13. Additional Child Support Provisions. As a form of additional child support:

      13                                          (a) Health Insurance.
      14
           Father should provide and pay for health insurance for the children. The obligation to provide
      15
           health insurance for                   should be set in conformance with Oregon's Uniform Child
      16
           Support Guidelines.
      17

      18          (1) Plan Information. The parent providing health insurance should provide the other

      19          parent with the name and address of the insurer, the policy number, and claim forms, and
      20
                  should fully cooperate in making claims on said policy. This includes an affirmative duty
      21
                  to promptly advise the other parent whenever there is a change in provider or coverage.
      22

      23
                  copy of the policy and any explanation of benefits paid by the insurer should be provided

      24          upon request.

      25

      26

      27

      28   AMENDED PETITION FOR DJSSOLUTIO OF DOMESTIC PAR1NERSHIP AND TO
           ESTABLISH CUSTODY, PARENTfNG TIME, AND CHILD SUPPORT - 13




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          (2) Benefit Payments. All insurance claim forms should be marked to instruct the insurer

          to pay benefits directly to the care provider rather than to either parent. Any

          reimbursement checks issued by the insurance company should be the property of the

          party who actually paid money out-of-pocket for the charge for which the reimbursemen

          is being paid. The non-paying parent should tum over any reimbursement checks that

          party may receive to the paying parent within five (5) days of receipt.



          (3) Utilization of Coverage. The terms of the actual policy of insurance should be

          controlling on any issues that may arise as to the eligibility of a child for coverage under
II

12        the terms of the insurance. The terms of the available health insurance may require that a

13        child sees medical care providers other than those the child currently sees. Each party
14
          should utilize available health insurance to the fullest extent possible. Any expense that
15
          could have been covered by available health insurance but was not because a party did
16
          not properly utilize available health insurance should not be considered a reasonable
17

18        expense that the other parent would need to pay a part of.

19
          (b) Uninsured Health Care Costs. Each parent should pay one-half of all of E        and
20

21

22
          --     's reasonably incurred medical, optical, hospital, dental, prescription, counseling,

          and orthodontic expenses that are not covered by insurance so long as the child for whom
23
          the expense is incurred qualifies to receive child support. This does not include ordinary
24
          expenses such as bandages, non-prescription medication, and co-pays for doctor's well
25
          visits. It is the responsibility of the parent who incurs an uninsured expense to promptly
26

27        request payment from the other parent of any such expenses. The obligated parent should

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 14




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                  make reimbursement to the other parent within thirty (30) days of receipt of the payment

                  request and proof that the claim has been submitted to insurance and the insurance

                  company has paid or rejected the claim.


                                                  14. Property Division.


-...
u
 ~
                          The court should make an equitable division of the parties' property, including th

0          real property located on Medley Ln., in Topanga, CA 90290. If Father does not personally appea
~
(I)
.;::::     at the applicable court hearing(s), the court should adopt the terms and division of property and
-~
~I
      10   debts that Mother proposes at the time of the hearing(s).

      11                                        15. Distribution of Debts.
      12
           The court should make an equitable distribution of the parties' debts. If Father does not contest
      13
           this proceeding, the court should adopt the terms and distribution of debts Mother proposes at th
      14

      15   time of the final hearing.

      16

      17
                             16. Protection of Mother and Children, Restraint by Father
      18
           Father has repeatedly harassed Mother's place of work, private businesses, court staff, family
      19
           members and friends. Father should be restrained from contacting via email, telephone, letter or
    20

    21     in person Mother's place of work, insurance or utility companies, banking or financial entities

    22     unless through a lawyer competent to practice law in this state. Father is restricted from
    23
           contacting mother by phone, email or other written communication, or in person unless through
    24
           lawyer of this state unless it is in direct relation to parenting time, or medical, dental orthodontic
    25
           insurance, treatment or appointments. Except to exchange the children as set out by the parentin
    26

    27     plan, Father is not allowed to appear without the consent of Mother at Mother's home, place of

    28     AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
           ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 15




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     work or any other location where Father is aware Mother will be present unless previously

     arranged in writing via email with both Father and Mother agreeing.



                                        17. Certificate of Support.

     Mother is currently providing 1000 Euros to father per month to support the children while they

     are being held in France against this court's orders. Father should immediately repay all past

     child support funds provided by Mother starting in September 2023 and immediately reimburse

     any future child support fund transfers made by Mother until Father complies with court orders

     and returns the children to Mother. There are no other pending child support proceedings in this
11

12   state or any other state.

13

14
                                      18. Attorney Fees and Costs.
15
     Father should pay Mother's attorney fees and costs, as authorized by ORS 107.105(l)G).
16

17
                         19. Notice Regarding Continuation of Health Coverage.
18
     As required by ORS 107.092, notice regarding continuation of health coverage is attached as
19
     Exhibit 1.
20

21

22                         20. Notice Regarding Mandatory Parent Education.
23
     Notice regarding mandatory parent education is attached as Exhibit 2.
24

25
     WHEREFORE, Mother respectfully requests a General Judgment:
26

27      1. Dissolving the parties' unregistered domestic partnership;

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 16




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     .J




             2. Granting the relief requested in this petition; and

             3. Granting any other equitable relief, as appropriate.




                                                  DECLARATION

                         I, Heidi Brown, hereby declare that I am the Petitioner in this matter and that the

      facts set forth by me in this Petition for Dissolution of Domestic Partnership and to Establish

          Custody, Parenting Time, and Child Support are true and correct to the best of my knowledge. I

          have read and understand the notice regarding continuation of health care coverage attached to

11    this petition. By filing this petition, I acknowledge that I am bound by the terms of the
12
      restraining order, issued under ORS 107.093, prohibiting either party from disposing of
13
      partnership assets.
14

15

16        I hereby declare that the above statements are true to the best of my knowledge and belief, and I
17
          understand they are made for use as evidence in court and are subject to penalty for perjury.
18

19

20

21               DATED:

22

23

24
                                                        Heidi Brown, Petitioner
25

26

27

28        AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 17




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                                                22DR17285




                         IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                   FOR THE COUNTY OF JACKSON

                                           Family Law Department

     In the Matter of:
                                                  )
     Heidi Brown,                                 )   Case No.: 22DR17285
                                                  )   Related Case No.: 23DR08269
 9                          Petitioner,           )
                 and                              )   ORDER RE: DISMISSAL OF
10                                                )   RESPONDENT'S MOTION TO DISMISS
     Arnaud Paris,                                )
11
                                                  )
12                          Respondent.           )

13

14          THIS MATTER came before the Court for hearing on June 21, July 12-13 and 18, and

15   August 3, 2023. Petitioner Heidi Brown appeared in person and with her attorney, Taylor L. M.
16   Murdoch, of her attorneys Buckley Law, PC. Respondent Arnaud Paris appeared in person on
17
     June 21, July 12-13 and 18, and failed to appear on August 3, 2023. His attorney Thomas Bittner,
18
     of his attorneys Schulte Anderson, appeared remotely.
19
            The Court, having received argument and evidence from counsel and the parties, and Mr.
20
     Paris having received notice of the hearing continuation on August 3rd , and having failed to
21
     appear, and his request to appear remotely for the continuation of the hearing from France on
22
     August 3rd having been denied on the record, and Mr. Paris and his counsel having been permitted
23

24   to attend the hearing but not being permitted to present further argument or evidence, and the

25   Court being fully advised in the premises, and good cause appearing, makes the following
     Page 1 - ORDER RE DISMISSAL OF RESPONDENT'S                              Buckley Law PC
     MOTION TO DISMISS                                                  5300 sw Meadows Rd., Ste. 200
                                                                              Lake Oswego, OR 97035
                                                                        Tel: 503-620-8900 Fax: 503-620-4878
                                                                                tlm@buckley-law.com


                                                                                                  EXHIBIT 5
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~1                                                   FINDINGS OF FACT
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~
~2              1. Father filed two motions to dismiss for lack of subject matter jurisdiction, dated April
iii
C
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·;:                18, 2023 and May 24, 2023. The motions have been consolidated.
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>,
Q.
               2. Mother timely filed a response to the motions on June 13, 2023.
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~6
               3. Father failed to appear in person at the continuation of the evidentiary hearing on

(.)
"'C
                   August 3, 2023, and his request for remote appearance was denied on the same date on
~7
·;:
Cl)                the record for the reasons stated therein. Mother through counsel moved to dismiss the
>s
                   motions on the same date.
      9
          NOW THEREFORE, IT IS HEREBY ORDERED:
10

11              1. Mother's oral motion to dismiss Father's motions to dismiss for lack of subject matter

12                 jurisdiction filed herein is GRANTED. Father's motions to dismiss are DISMISSED.

13             2. The award of attorney fees and costs shall be subject to ORCP 68.

14
                                                                   8/18/2023 4.02:44 PM
15

16

17                                                                          Circuit Court Judge David J. Orr


18

19
          UTCR 5.100 CERTIFICATE OF READINESS: This proposed~rd:ts ready for judicial
20        signature because bbjt.c~ h ~-                -ft~ ~ ~,.../Jt_ f .•
                                                            h<-e
21

22
               DATED this    If_ of August, 2023.
                                                       BU      l


23
                                               By:
24
                                                       t                    .
25                                                                        Mother
          Page 2 - ORDER RE DISMISSAL OF RES PO                                           Buckley Law PC
                                                                                   5300 SW Meadows R<l., Ste. 200
          MOTION TO DISMISS                                                            Lake Oswego, OR 97035
                                                                                 Tcl: 503-620-8900 Fax: 503-620-4878
                                                                                         tlm@buckley-law.com


                                                                                                             EXHIBIT 5
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~1          APPROVED AS TO FORM:
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·.:::       Thomas A. Bittner, OSB No. 901785    date
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            tbittner@schulte-law.com
04
 ~          Of Attorneys for Respondent
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            Page 3 - ORDER RE DISMISSAL OF RESPONDENT'S                   Buckley Law PC
                                                                  5300 SW Meadows Rd., Ste. 200
            MOTION TO DISMISS                                         Lake Oswego, OR 97035
                                                                Tel: 503-620-8900 Fax: 503-620-4878
                                                                       tlm@buckley-law.com


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          CERTIFICATE OF SERVICE:               I certify that I served on August 7, 2023, a complete and
          exact copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
          delivering a true copy to the following address, as follows:
iii
 C
-~
·;:

~         Thomas A Bittner
      4
>,
a.        Schulte Anderson
0
          811 SW Naito Pkwy Ste 500
-
us
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~6
          Portland OR 97204
(.)
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Cl)
                 DATED this    1      day of August, 2023.
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                                                                                       Buckley Law PC
          Page 4 - ORDER RE DISMISSAL OF RESPONDENT'S
                                                                               5300 SW Meadows Rd., Ste. 200
          MOTION TO DISMISS                                                        Lake Oswego, OR 97035
                                                                             Tel: 503-620-8900 Fax: 503-620-4878
                                                                                     tlm@buckley-law.com


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                                             23DR08269




                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                FOR THE COUNTY OF JACKSON

                                         Family Law Department

     In the Matter of:
                                               )
     Arnaud Paris,                             ) Case No.: 23DR08269
                                               ) Related Case No.: 22DR17285
 9
                          Petitioner,          )
10              and                            ) LIMITED JUDGMENT RE:
                                               ) REGISTRATION
11   Heidi Brown,                              )
                                               )
12                        Respondent.          )


14
            THIS MATTER came before the Court for heating on July 12, 13, and 18, and
15
     August 3 and 4, 2023. Respondent Heidi Brown, hereinafter Mother, appeared in person
16

17   with Taylor L. M. Murdoch, of her attorneys Buckley Law P.C. Petitioner Arnaud Paris,

18   hereinafter Father, appeared in person on July 12, 13 and 18, and failed to appear on August

19   3 and 4, 2023.      By the stipulation of the parties, the evidentiary heating occurred
20   simultaneously with the evidentiary hearing on Father's Motion to Dismiss for Lack of Suiject
21
     Matter Jurfrdiction in Jackson County Circuit Court case no. 22DR17285, until said motion was
22
     granted by the Court on August 3, 2023. Father was represented by counsel, Thomas A.
23
     Bittner, of his attorneys, Schulte Anderson, in that matter, and had his French counsel
24

25   Terrence Richoux, available by phone during these proceedings on July 12, 13 and 18.
                                                                              Buckley Law PC
     Page 1 - LIMITED JUDGMENT RE: REGISTRATION                      5300 SW Meadows Rd., Ste. 200
                                                                         Lake Oswego, OR 97035
                                                                   Tel: 503-620-8900 Fax: 503-620-4878
                                                                           tltn@buckley-law.com


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           The Court, having received argument and evidence from counsel and the parties, and

     Mr. Paris having received specific notice of the hearing continuation on August 3rd, and

     having failed to appear, and his request to appear remotely from France at the continuation

     of the hearing on August 3ld having been denied on the record, and Mr. Paris and his counsel

     having been permitted to attend the hearing, but not having been permitted to present further

     argument or evidence after his failure to appear on August 3 rd , and the Court being fully

     advfaed in the premises, makes the following

 9                                        FINDINGS OF FACT
10
            1.    Mother and Father are the unmarried parents of two minor children,             JO and
11
                  O         age8.
12
           2.     The children were born in Ashland, Oregon, at Ashland Community Hospital.
13
                  They are United States citizens. During the first months of their lives, the
14

15                children lived in Oregon. They later acquired citizenship of France during the

16                 time they were living in California when they were two years old.

17         3.     The Court received evidence about the children's extensive contacts and
18
                  connections with Oregon. Significant evidence exists concerning the children's
19
                  contacts with Oregon, including evidence concerning the children's care,
20
                  protection, training and personal relationships.
21

22                The maximum contacts and evidence about the children ate in one state:

23                Oregon.

24

25
                                                                               Buckley Law PC
     Page 2 - LIMITED JUDGMENT RE: REGISTRATION                        5300 SW Meadows Rd., Ste. 200
                                                                           Lake Oswego, OR 97035
                                                                     Tel: 503-620-8900 Fax: 503-620-t\878
                                                                            tlrn@bucklcy-htw.com


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                The children have a large network of extended family, including young cousins

                ranging from age 2-15, in the Rogue Valley, Oregon area with whom they are

                closely bonded and with whom they have spent significant time throughout

                their lives. Multiple witnesses, including Mother's stepbrother Shaun Olson,

                testified about the extensive family connections with the children that have

                been fostered over the years. Mr. Olson also testified about a sleep-over at his

                house with the children on October 4, 2022.

 9.             a. The children were still enrolled in school in early October, 2022 at Bellevue

10                  E lementary School in Ashland. ..____, 's teacher Ellen Gayton testified that
11
                           fit in right away in the class. Mother testified that the children had
12
                    many friends when they began school there in August, 2022 because of
13
                    their relationships with friends in the Rogue Valley. The children
14
                    participated in the school run fund raiser. Ms. Gayton testified that she had
15

16                  regular interactions with Father at drop-offs, and that she had further

17                  observations of Mother, Father and the children that she could share at a
18                  subsequent custody procced1ng in Oregon.
·19
                 b. The Court received into evidence copies of the children's medical records
20
                    v.:ith Dr. Jani Rollins, where they have been cared for since birth. Mother
21
                    testified that Dr. Rollins would be available to testify in a further custody
22
                    hearing in Oregon.

24

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               c. The Court received into evidence copies of the children's orthodontia

                     records from their orthodontist in Ashland, where they had been treated

                     since 2021, when they were six years old.

               d. The Court received into evidence testimony from the children's dance

                     teacher Cassandra Preskenis, who has taught them at numerous times

                     throughout their lives. She had observations about the parents and children

                     that she could share at a later custody hearing in Oregon.

 9             e. The Court received testimony from the children's maternal grandmother

10                   Margaret Olson, who lives in Ashland, about her involvement with the
11
                     children throughout their lives. This involvement included being present
12
                     for their birth, for annual time in Ashland during holidays, staying with the
13
                     children and the parties in California, traveling to France with the family,
14
                     and other information about the children.             She indicated she had
15

16                   observations about the parents and children that she could share at a later

17                   custody hearing in Oregon.
l8
                f.   The Court received testimony from the children's maternal grandfather,
19
                     Mother's stepfather, who lives in Ashland, about his involvement in the
20
                     children's lives throughout their lives.    This involvement included being
21
                     present at their birth, for annual time in Ashland during holidays, traveling
22

23                   to France with the family, teaching them how to fish in the summer of

24                   2021, teaching them rudimentary wood-working, and other information

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                     about the children. He indicated he had further observations about the

                     parents and children that he could share at a later custody hearing in

                     Oregon.

                g. The Court received testimony from other friends, namely Mary Chapman,

                     Noah Treiger, and Jay Treiger, all of whom are located in the Rogue Valley,

                     who testified about contact with the children over the years since their

                     birth. Ms. Chapman and Messrs. Treiger testified that they had additional

 9                   observations of Mother, Father, and of the children that they could share at

10                   a later custody hearing in Oregon.
11
                h. In the summer of 2022, Mother testified that Father placed an air tag in her
12
                     vehicle which she used to drive the children, and Mother reported the
13
                     incident to the Ashland Police. Mother testified that the Ashland Police
14

15                   officer who took her report would be available to testify later in a custody

16                   proceeding in Oregon.

17              i.   Mother testified that in the summer of 2022, Father accessed her computer
18
                     in Ashland without her consent to read her private communications with
19
                     her French lawyer, and when Mother discovered this she reported it to the
20
                     police. There is a criminal case pending in Jackson County Circuit Court
21
                     case no. 22CR59524. The officer and any witnesses who appear in that
22

23                   proceeding could appear in a later custody proceeding in Oregon.

24

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                j.   Mother testified that the parties hired an au pair to live with the family in

                     Ashland, who then lived in the household with the children from August,

                     2022 until November 2022. Mother testified that the au pair would be

                     available to testify in a later custody proceeding in Oregon about her

                     observations of the parties and the children.

                k. Mother and Father and the children were all living in Ashland, Oregon in

                     October 2022.

 9              l.   All parenting time from the date of the girls' move to Oregon in July 2022
10                   through October, 2022 was exercised in Oregon.
1'l
                m. On October 6 and 7, 2022, Father lived in Oregon and did not remain in
12
                     France.
13
           4.   Significant evidence does not exist for the children's connections with any
14

15               other jurisdiction.

16               a. Father's presentation of evidence in his declarations filed with the court

17                   focused on him, and not the children, living in France. Father's testimony
18
                     was stricken when he refused to appear in person for his cross-examination.
19
                     Father's statements in his declaration were not credible.
20
                 b. Father's apartment in France is not a family home. He did not live there on
2'1
                     October 6 or 7, 2022. The family only stayed there briefly when they went
22

23                   to France as it is not suitable for a family.        Mother testified that the



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                   apartment is not legally possible to use as a family home because it is too

                   small for the four of them to reside there for Paris residency requirements.

                c. Mother testified that the parties not only intended to be in France for a

                   short period of time for pre-school in 2019-20, they lived like it. They lived

                   in a furnished apartment. They focused their efforts on developing a family

                   home first in California and then, beginning in 2021, in Ashland. Mother

                   testified that for much of the time during their stay in Paris from August

 9                 2019-July 2022, French rules, uncertainty over the COVID-19 pandemic,
10                 and the parties' own concern for their and the children's health limited their
11
                   interactions with the world around them. When the part1es moved back to
12
                   the United States in 2022, they sold all their ltmited furnishings, said
13
                   goodbyes, and unenrolled the children from school in France.
14

15              d. Although the parties through counsel signed an agreement on July 19, 2022

16                 (Exhibit 18) for the family to alternate years between France and Oregon,

17                 this agreement was bm:h 1) based on the assumption that the parties would
18
                   stay together as a couple and family, and 2) included language that the
19
                   agreed alternation was dependent on the children's best interests.             The
20
                   parents are no longer a. couple. Mother made clear that she did not believe
21
                   it was in the children's best interests to leave Oregon.
22

23              e. At a hearing in US District Court in December, 2022, the Honorable Judge

24                 Michael McShane found that the parties had stipulated to the children's

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                       move to Oregon in 2022, and that there was no wrongful removal or

                       wrongful retention of the children.

                  f.   The only information about the children's lives in France besides from

                       Mother was presented by Sebastian Natal, who had little information about

                       the children and testified he had not talked to them since Father and

                       Mother moved to Oregon in 2022. Mr. Natal was able to testify remotely

                       from France in this hearing, and likely could appear remotely at a later

  9                    hearing if called to testify.
'IO              g. Mother testified that there is limited family in France, and the children arc
l1
                       not as bonded to paternal cousins as they arc to the maternal cousins
12
                       because of a significant age gap between paternal relatives and the children.
13
                 h. To the extent that there is evidence in France, subject to the court's

15                     discretion, under Oregon law a party such as Mother or Father can call the

16                     witnesses remotely to testify in a custody proceeding in Oregon.

17               1.    Mother testified that the French court did not allow witnesses to be called
18
                       remotely, or for witnesses to testify meaningfully at all in that proceeding.
'19
           5.    In late August, 2022, until at least October 7, 2022, Father, Mother, and the
20
                 children were living together in the marital residence on Leonard Street in
21
                 Ashland, Oregon.
22

23         6.    Father did not live in France- or anywhere else besides Ashland - in early

24               October 2022. He had moved to Ashland to be with Mother and the children
25
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               in August, 2022.     He had moved his permanent belongings from storage in

               California to Ashland in late August, 2022.           His credit card and bank

               statements for September-Octobe r 2022 (Exhibits 79 & 80) show him buying

               groceries for the family in Ashland and Medford, going out to cat in Ashland,

               and living in Oregon with his children.

          7.   The children were born in Ashland, Oregon and are United States citizens.

               They later acquired citizenship of France while living in Topanga, California.

 9        8.   The proceedings in this matter have demonstrated that a Court of the State of
10
                Oregon may and can take extensive testimony and evidence via remote means
11
                from witnesses located abroad. All of the witnesses necessary to resolve the
12
                parties' custody dispute can likely participate in this proceeding, even remotely
13

14              if necessary.

15        9,    Substantial evidence does not exist in France.

16
                a. The children were in France from mid-2019 to mid-2022 on a temporary
17
                   basis.
18
                b. They had been to visit France before, but only stayed briefly to visit family.
19

20              c. The parties moved to France from Los Angeles in 2019 to take advantage

21                  of free pre-kindergarten for the twins. They intended to return to California

22                  initially, and then to Oregon.
23
                d. While in France, the family stayed in a furnished apartment.
24

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N
~ 1                        e. The family's stay was extended against their wishes due to the unforeseen
00
~
~         2
iii                             effects of the COVID-19 pandemic.
C
"c, 3
·;:
0                          f.   During the parties' stay in France, they returned with the children to see
o4
>,
Q.
                                family in Oregon for over three months, to build the family home in
8s
                                Ashland, and attended orthodontia appointments in Oregon.

                           g. The children had been uncnrolled in French schooling by their parents

                                consent in the summer of 2022.
          9
                           h. Father apparently filed taxes claiming he was a resident of California during
    10
                                the years the parties were in France.
    11

    12                    1.    On October 5, 2022 Father acknowledged the children lived in Oregon and

    13                          promised that he would never kidnap them to France.

    14
                          )·    The parties had said their goodbyes and departed from France to Oregon as
    15
                                family in July and August, 2022.
    16
                          k. There is no evidence that the French court would consider extensive
    17

    18                          evidence from outside France about the children.

    19              10. Under the totality of the circumstances, the parties' move from France to Oregon
 20                    was not a temporary absence from France.
 21
                          a. The children lived in Oregon on October 7, 2022.
 22
                          b. Father lived in Oregon on October 7, 2022. He loves hi.s children and
 23
                                would not live in France away from them.
 24
 25
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                c. Mother lived in Oregon on October 7, 2022. She loves her children and

                     would not live anywhere else away from them.

                d. The parties sold their temporary furniture in moving from France. They

                     did not maintain a family residence in France after leaving in the summer of

                     2022. When Father returned to France with the minor children in violation

                     of this c~urt's orders in July, 2023, he did not take them to live in his small

                     apartment in Paris. He took them to his parent's home in the suburbs of
 9                   Paris.
10
                e. While Father told the court in his declaration that he went to France in
11
                     September, 2022, Mother testified that he in fact went primarily to
12
                     Germany.
13

14              f.   Father told Mother several times that he would agree to live in Oregon, and

15                   his actions corresponded to his statements.
16
                g. Father drove the family vehicle from California to Oregon to register it and
17
                     have it insured in Oregon in 2021.
18
                h. Mother testified that Father claimed residency in California for tax
19
                     purposes the entire time the parties were in France, until at least October
20

21                   2022.

22              1.   The parties' mediated agreement from July 2022 (Exhibit 18) was an

23                   agreement for the family to live together, and did not contemplate the
24
                     parties separating. It also made clear that the agreement was conditioned
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                   on both parties agreeing that it was in the children's best interests to

                   continue to follow the terms beyond getting to Oregon in the summer of

                   2022.

          11.   Mother prevailed at the Hague proceeding in December 2022. The children

                were not wrongfully removed from France. Father intended for the children to

                come to live in Oregon.

          12.   In March 2023, at a hearing in France in which Mother was not present, Father
 9
                obtained a favorable custody determination.
10
                a. The French court is not a court of record such as an Oregon court of
11
                   record. There is no independent record of proceedings for a party such as
12

13                 Mother to refer to in litigation. Notice is provided only through counsel.

14              b. Mother is not a citizen of Prance.

15
                c. Mother's initial French counsel, Noemie Hodara, had to withdraw because
16
                   of a complaint filed by Father after the initial appearance in January 2022.
17
                d. Mother had no reason to believe that anything other than jurisdiction
18

19                 would be addressed at the proceeding in March, 2023. Her lawyer made

20                 clear to her that the March, 2023 hearing applied only to jurisdiction.

21                 Accordingly, Mother presented only evidence on the habitual residence
22
                    standard.
23

24

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               c. Mother did not have an opportunity to call witnesses, cross examine

                    witnesses, or meaningfully rebut Father's evidence at the March 2023

                    French hearing. She could not appear remotely.

               f.   At the March 2023 hearing, Father represented himself as living in France

                     as a resident of Paris in early October, 2022 and at the time of the hearing.

                    Neither representation was true.     He lived in Oregon in early October,

                     2022. He was exercising week-on, week-off time with the children subject

 9                   to the TPOR Status Quo at the time of the hearing, and was receiving

10                   health benefits and wages from his employer in Texas in March, 2023.
11
               g. If Mother believed the French court would have decided anything on
12
                    . exercising jurisdiction, Mother would have done anything possible to be in
13
                     France. She testified she would have swam to France if necessary, and her
14

15                   desire to be there was credible. She testified she has spent over $300,000

16                   on legal fees in this matter, and it docs not make sense that a person such as

17                   Mother would not appear if she thought her rights as the children's mother
18
                     would be substantially affected.
19
                h. Mother received a summons in the French proceeding, but had to rely only
20
                     on her French counsel for understanding the proceedings in the French
21

22                   court.

23

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               i.   Mother did not receive a hearing notice for the French hearing such as a

                    hearing notice generated by the State Courts of Oregon.              Her counsel

                    indicated to her that the hearing would be on jurisdiction only

               l·   Mother presented no evidence at the hearing on the issue of custody and

                    parenting time because of her lack of understandi ng of the court's

                    procedures.

               k. Mother is a citizen of the United States. Mother's due process rights and
 9
                    constitutional right to open court proceedings were implicated by the
10
                    French court's ruling on her custodial rights.
11
               L Given the stakes involved, the relief requested, and the position taken by
12

13                  Father to limit Mother's parenting time to time in France, including

14                  presently seeking an order stopping the children from leaving France for

15                  the next five years, the hearing in France was akin in substantive way to a
16
                    termination of parental rights proceedmg in Oregon.
17
                m. A parent's right to parent their child is a fundamenta l right protected by US
18
                    Constitutio n and the Oregon Constitution.
19

20              n. Through no fault of her own, Mother did not appear at the French hearing

21                  wherein Father was granted "shared custody" of the children.                In later

22
                    documents, Father represented to authorities that he was awarded sole
23
                    custody.
24

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N
~1               13.   The French court's jurisdictional ruling is on pages 3 and 4 of the Judi:,rment
Cl)
~
~2                     rendered on April 21, 2023 by the Family Cow:t Judge Karima Brahimi.
iv
C
:213
 ...
0                      a. The language in the jurisdictional ruling of the French judgment 1s as
04
>-
a.                        follows: "In this case, in light ef the documents in the file and the debates, it appears
8s
u
QI                        that since the birth of the two daughters, the couple and the children have resided
 ~6
(.)
i:,
                          alternatefy in F ranee in the United Stales; that since the start ef the 2019 schoolyear,
~7
ai
>,s                       the couple an the children have .reJt.!t'!dJJill:tilur. and the two daughter have been schooled

        9                 in France, that during April 20221 relationship difficulties have arisen bet,peen the
    10                    couple and that the two parents no longer agree on the fami/y's place ef residence, with
    11
                          M,: [>,,jR/.\' 11,iJ.!liJ,g lo felllflill in i'imtr(. and Ms. BROW'N wishing to return to the
    ·12
                           United State.r; that nevertheless the parents agreed on ]u!J 19, 2022 for the fami/y to
    13
                          leave for the United States jnr the 2022-2021 J.l.li.!29.LJ•cm~ the couple's two daughters
    14

    15                    having           arrived          on        American          territory        on        ju!J          29,      2022.

    16                     'Thus, at the time ef the refemil to the French court, on October 6, 2022, )                                     • and

    17                    ..(] had been resit/ii{~ in the United States for on!J ttvo months; before that, they had
    1'8
                           been re.riding and attending school in France for three years, a country in ivhich thry were
      19
                           social!} integrated; f[ the prmmt.r..1Jfj.·eed IQ l'f//lfl!_ lp 1h,1:. Unit._p1.l.,~!!1tcs this f{~1ft:(J7eJlt
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                       "Consequent!y.,_tal?J!J.£: intt1 arct>mtl lbr,m cffl]ill., it appears that on the day of the

                   referral to the French court, i.e. October 6, 2022, j             and B      had their habitual

                      re.rirlence in France.

                       '"Cherefare1 the French judge u competent to rule on claims relating to parental

                      responsibiliry (emphasis added)."

                 i.        The French court's ruling on jurisdiction primarily focused on the intent

                           of the parties and [heir consent in establishing a habitual residence for

 9                         the children and assuming jurisdiction.
lO
                ii.        The French court's ruling on jurisdiction focused on the children's
11
                           habitual residence, and where they were integrated socially.
12
                iii.       The French court did not address anything about the home state of the
13
14                         minor children, or the extended home state of the minor children.

15              iv.        The French court did not weigh the relative maximum contacts between
16
                           the children and France, or between the children and Oregon, or any
17
                           other juri::;diction, in making its determination to exercise jurisdiction.
18
                 v.        The French court did not consider whether Father and the children
19

20                         were located in France and whether Father was exercising parenting

21                         time in France in October 2022.

22                    vi. T he French court was factually wrong to the extent that it determined
23
                           Father was Jiving in France for the purposes of the UCCJEA. Father
24
                           was living in Oreg-::in, not France in early October 2022.
25
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                b. The French court was aware of this proceeding before it made its

                   jurisdictional determination.    Mother testified that it made no effort to

                   contact this court before awarding Father custody and the French judgment

                   does not reflect any effort or consideration of Oregon's jurisdiction besides

                   which court was "seized" first.       The French court. did not attempt to

                   communicate with this court.

          14.   It is the French judgment, and the applicable UCCJEA standards that are the
 9
                focus of the proceedings before this Court.
10
          15.   Before resolving any substantive matters, this Court must determine whether
11
                or not this Court has subject matter jurisdiction over the minor children under
12

13              the Uniform Child Custody Jurisdiction and Enforcement Act ("UCCJEA").

14        16.   The hearing on the issue of whether or not this Court has UCCJEA Jurisdiction

15              took place over the course of multiple days, wherein the Court heard testimony
16
                from multiple witnesses a:.1d received evidence from witnesses in France and in
17
                the courtroom.     Both parties were given extensive opportunity to produce
18
                witnesses. Both parties were, or had the opportunity to be, represented by
19

20              counsel. Father was able to present his case prose as he saw fit, subject to the

21              rules of evidence, during the first three days of heating.

22        17.   After the first three days of hearing, Father wrongfully misrepresented the
23
                registration of the French judgment to lawful authorities, and, contrary to this
24

25
                                                                             Buckley Law PC
     Page 17 - LIMITED JUDGMENT RE: REGISTRATION                     5300 SW Meadows Rd., Ste. 200
                                                                         Lake Oswego, OR 970'35
                                                                   Tel: 503-620-8900 Fax: 503-620A878
                                                                           tlm@buckley-law corn


                                                                                           EXHIBIT 5
                                                                                       Page 74 of 104
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                                                                         removed
                 court's prior, explicit, written, and repeated orders, L    Jed ts L              120   aitl


                 the minor children from this state and took them to France.

          18.    A TPOR was entered on October 7, 2022 and remains in effect. Neither party

                 is allowed to leave the state of Oregon with the minor children without the

                 agreement of the other parent.

          19.    Father and the minor children are located in Prance at present, in violation of

                 this court's orders.         As the Court told Father on June 21, he violates this

 9               court's orders at his peril.
10
          20.    Father was aware of the TPOR and was told repeatedly by the Court that the
11
                 judgment had not yet been confirmed or validated.
12

13         21.   Mother testified that Father requested that the August 3, 2023 hearing be set so

14               he could personally appear.
15         22.   Father filed belated motions for remote appearance for the August 3,·d, 2023
16
                 continuation of hearing. His motions were not timely, were not in good faith,
17
                 and were prejudicial to Mother, who was about to resume her cross-
18
                 examination of Father. Father should not violate court orders and expect to
19

20                        1p 1 • l 11    tt   11 t 11   1   h thereby gain any advantage.

21         23.   The children have a highly desirable pediatrician, dentist, and orthodontist in
22
                 Oregon.
23

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                                                                                  Buckley Law PC
                                                                          5300 SW Meadows Rd, Ste. 200
      Page 18-LIMITE D JUDGMENT RE: REGISTRATION
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          24.    Taking into account the above facts, the children did not have a home state on

                 October 6 or October 7, 2022 for the purposes of the UCCJEA, ORS

                 109.741(1)(a).

                 a. The children did not have an extended home state at the time either,

                    because Father did not continue to live in France in early October 2022.

                    He lived in Oregon.

                 b. The children and the children's parents, or the children and at least one

 9                  person acting as a parent, did not have a significant connection with France

10                  in early October 2022, because substantial evidence concerning the
11
                    children's care, protection, training and personal relationships was only in
12
                    Oregon, and not France, ORS 109.741 (1)(b)(A)-(B).
13
                 c. The children and the children's parents, or the children and at least one
14

15                  person acting as a parent, did not have a significant connection with France

16                  in early October, 2022, because Father did not reside in France at the time,

17                  and although he maintained a meaningful relationship with the children, in
18
                    doing so, he exercised parenting time in Oregon, ORS 109.741(1)(b)(A)-(B).
19
                 d. No other state than Oregon would have jurisdiction under ORS
20
                     109.741 (1)(a),(b) and (c) to make an initial custody determination.
21
           25.   Oregon has jurisdiction to make an initial custody determination. The issuing
22

23               court of the French judgment did not have jurisdiction under ORS 109.741 to

24               ORS 109.771. ORS 109.787(5)(a).

25
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     Page 19- LIMITED JUDGMENT RE: REGISTRATION                       5300 SW Meadows Rel , Ste. 200
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                                                                            tJm@buckley-law.com


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;;a 1               26.   Mother is contesting registration, and was entitled to notice of the French
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.... 2                    judgment for the purposes of Oregon law. Notice was not given in accordance
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:g, 3
0                         with ORS 109.724 and the Oregon Constitution, Article 1, Section 10, of the
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a.
0                         initial custody determination in the proceedings before the French court that
~u 5
 f                        issued the order for which registration was sought.
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.! 7                27.   It is appropriate that this court assume jurisdiction.
~1g            NQW', THERFORE IT IS HEREBY ORDERED AND ADJU11GED:

          9
                    1.    This court is authorized by the UCCJEA, ORS 109.701 et. seq., to take
      10
                          jurisdiction over the minor children of the parties and this matter.
      11
                    2.    France does not have jurisdiction over the minor children of the parties and
      12
                          this matter pursuant to ORS 109.701 et. seq.
      13
                    3.    Mother has established by clear and convincing evidence that the issuing court
      14
                          in France did not have jurisdiction to make an initial custody determination
      15
                          under ORS 109.741 to ORS 109.771.
      16
                          a. This Court declines to confirm Father's registration of the French custody
      17
                              order, as France did not have home state or significant connection
      18
                              jurisdiction under factual circumstances in substantial conformity with the
      19
                              UCCJEA at the time it made the custody order.
      20
                          b. For the foregoing reasons, pursuant to ORS 109.787(5)(a), the request to
      21
                              register the child custody determination in the judgment of the French
      22
                              court is DENIED.
          23
                    4.    Mother has established by clear and conv1nc1ng evidence that Mother was
          24
                          entitled to notice, but notice was not given in accordance with the standards of
          25
                                                                                        Buckley Law PC
                                                                               5300 SW M('adows Rd , Ste. 200
               Page 20 - LIMITED JUDGMENT RE: REGISTRATION
                                                                                  I .ake Oowego, OR 97035
                                                                             Tel 503-620-8900 Fax: 503-620-<18'18
                                                                                     tltn@buckley-law.com


                                                                                                      EXHIBIT 5
                                                                                                  Page 77 of 104
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               ORS 109.724 and the Oregon Constitution in the proceedings before the

               French court.

               a. The French court's processes and procedures in the application of these

                   facts do not substantially conform with the UCCJEA standards or Oregon

                   constitution. As such, the French court's custody determination is not

                   lawful in this country and in this Court.

               b. Mother did not have actual notice of the French proceeding and an

                   opportunity to be heard for the purposes of Oregon law.                To register,

 9                 confirm, and validate the French judgment in this circumstance would be a

10                 violation of ORS 109.787(5)(c) and of Mother's constitutional rights under

11                 the Article 1, Section 10 of the Oregon Constitution.

12              c. Father had notice of this proceeding and an opportunity to be heard.

13             d. For the foregoing reasons, pursuant to ORS 109.787(5)(c), the request to

14                 register the child custody determination in the judgment of the French

15                 court is DENIED.

16        5.    In making an inittal custody determination, France did not have subject matter

17              jurisdiction as required under the UCCJEA.

18        6.    A court's analysis under the habitual residence standard and the UCCJEA

19              home state standard may come to different conclusions given certain facts

20              presented in a matter. This Court makes no ruling on the applicability of the

21              habitLial residence standard by the French court.

22        7.    France did not have home state jurisdiction, as the children had lived in

23              Oregon for approximately two months at the time Father filed for custody in

24              France.

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                                                                      5300 SW Mtadows Rd., Ste. 200
     Page 21 - LIMITED JUDGMENT RE: REGISTRATION
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                                                                            tlm@buckley-law.com


                                                                                            EXHIBIT 5
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~            1              a. Father did not live in France at the time Father filed for custody in France.
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....N 2                        In considering the totality of the circumstances, Father's argument that his
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                               absence from France was temporary fails.             Father's absence from France
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                               was not temporary.
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                            b. Father's argument that France had extended home state jurisdiction is

                               without merit. He did not live in France on October 7, 2022. He lived
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.;::::       7                 with his children and Mother in Oregon.
·;::

~I           8              c. The French judgment is not in substantial factual conformity with the

             9                 UCCJEA pursuant to ORS 109.781.

         10                     i.         The French court impermissibly gave significant weight to its

         11                                determination of the intention of the parties in establishing a habitual

         12                                residence of the children. That is an error of law for the purposes of

         13                                the UCCJEA.       Subject matter jurisdiction cannot be conferred.

         14                                Jurisdiction cannot be conferred by the parties by consent, nor can the

         15                                want of jurisdiction be remedied by waiver, or by estoppel. Matter ef

         16                                Marriage ef Schwartz and Battini, 289 Or App 332, 338 (2017), citing

         17                                Shepard v. Lopez-Barcenas, 200 Or App 692, 697, 254, rev. den., 339 Or

         18                                475, 124 P.3d 1248 (2005) ("[A] party 1s consent to the trial court1s

         19                                jurisdiction over the initial determination of custody under the

         20                                UCCJEA has no effect if, indeed, the court lacked jurisdiction to

         21                                make that determination."); see also Medill and Medill, 179 Or App 630,

         22                                645, 40 P.3d 1087 (2002) (same).

         23                          ii.    The French court did not weigh the maximum contacts.

         24

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                                                                                             Buckley Law PC
                 Page 22 - LIMITED JUDGMENT RE: REGISTRATION                         5300 S\Y/ Meadows Rd., Ste. 200
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                    iii.   The maximum contacts for evidence concerning the children are

                           present in Oregon.

                    iv.    To the extent that any necessary evidence is present in France, the

                           witnesses in France can testify in the custody proceeding remotely.

          8.    The French court does not have significant connection jurisdiction.

                a. The Prcnch court did not determine whether it had home state jurisdiction

                   or anything similar to it, a necessary step before determining significant

                   connection jurisdiction.

 9              b. The French court was aware of this proceeding and should have

10                 communicated with this Court before making a custody determination, but

11                 the French court did not do so. See ORS 109.751(4).

12              c. Father was not exercising his parenting time in France at the time the

13                 custody matter was filed in France, and was not residing in France at the

14                 time either. Under the JvftfJ.ifield test for significant connection jurisdiction,

15                 306 Or App 386, 392 (2020), citing White v. Harrison-White, 280 Mich. App.

16                 383, 394 (2018), France did not have significant connection jurisdiction.

17        9.    Oregon has subject matter jurisdiction over the minor children under the

18              UCCJEA based on significant connection jurisdiction, as there is substantial

19              evidence of the children's care, protection, training, and personal relationships

20              in Oregon. As such, this Court will proceed in presiding over the parties'

21              dissolution and custody matter, and all related matters.

22        10.   The French judgment has never been registered in Oregon. It is not a valid

23              order of Oregon and has no legal effect here. It had no legal effect in Oregon

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                                                                              Buckley Law PC
     Page 23 - LIMITED JUDGMENT RE: REGISTRATION                      5300 SW Meadows R<l, Ste. 200
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                                                                                            EXHIBIT 5
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                at the time that Father fled with the minor children to France on or about July

                22, 2023.

          11.   Additionally, in making its custody order, France failed to provide Mother with

                notice as is required by the UCCJEA and Oregon Constitution before a child

                custody determination is made.

          12.   The French judgment fails the UCCJENs jurisdictional and procedural

                requirements. As such, the French custody determination is unlawful.

          13.   Father failed to appear at the continuation of this hearing on August 3, 2023.

 9              He had actual notice of the proceeding. He had an opportunity to be heard.

10              He was not present because he was in willful violation of the court's orders not

11              to leave the state with the minor children.

12        14.   Father knew or should have known that the French judgment had no legal

13              effect in Oregon until this hearing was adjudicated.

14        15.   Father has acted in bad faith in this proceeding.

15        16.   The award of attorney fees and costs, if any, should be determined pursuant to

16              ORCP68.

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                                                                   Circuit Court Judge David J. Orr
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23                [UTCR CERTIFICA TE FOLLOWS ON NEXT PAGE]

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                                                                                 Buckley Law PC
     Page 24 - LIMITED JUDGMENT RE: REGISTRATION                         5300 SW Meadows Rd., Ste. 200
                                                                             Lake Oswego, OR 97035
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                                                                                                EXHIBIT 5
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          DATED this/£. day of August, 2023.

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     Page 25 - LIMITED JUDGMENT RE: REGISTRATION                  5300 SW Meadows Rd., Ste. 200
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                                                                                        EXHIBIT 5
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     APPROVED AS TO FORM:



     Thomas Bittner, Attorney for Father    date




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                                                                    Buckley Law PC
     Page 26 - LIMITED JUDGMENT RE: REGISTRATION            5300 SW Meadows Rd., Ste. 200
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                                                                              Page 83 of 104
              Case 1:24-cv-00648-AA          Document 20-1         Filed 05/28/24         Page 118 of 290




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~ 1           ,CERTIFICATE OF SERVlCE: I certify that I served on August 10, 2023, a complete and
00
~             exact copy (true copy) of this on the parties or their representative(s) by causing to be hand
~2            delivered a true copy, as follows:
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·;:                  Thomas A Bittner
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                     Schulte Anderson
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                                                                                       Buckley Law PC
              Page 27 - LIMITED JUDGMENT RE: REGISTRATION                      5300 SW Meadows Rd., Ste. 200
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                                    IN THE CIRCUIT COURT FOR THE STATE OF OREGON

oS                                                FOR THE COU NTY OF JACKSON
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a.
8       6   IN THE MATTER OF:
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~7          HEIDI M ARIE BROWN,                                            CASE NO. 22DR17285
0
(.)
'g 8                                PETITIONER,                            TEMPORARY PROTECTIVE ORDER OF
~                                                                          RESTRAINT
j 9               and
                                                                           (Pre-Judgment Status Quo - ORS 107.097)
    I
      10    ARNAUD PARIS,

      11                            RESPONDENT.

      12           This matter came before the court on Petit ioner's ex parte motion for a temporary pro-

      13    tective order of restraint. Based upon Petitioner's declaration and the other documents on file

      14    herein, the court hereby finds the following:

      15           1.        The parties' mi nor children are Rr l            o--a (7) and.          11~--,, P   (7).
                                                                  'i...J      I   a.....l    - - ''L.....J
      16           2.        Their children's usual place of residence is with Petitioner at 665 Leonard St., in

      17    Ashland, Oregon.

      18           3.        Their children are currently enrolled and attend school at Bellview Elementary

      19    School in Ashland, Oregon.

      20           4.        Both parties exercise parenting time w ith their children on a roughly equal basis.

      21           THEREFORE, IT IS HEREBY ORDERED that Petit ioner and Respondent are restrained from

      22    the following:

      23           1.        Changing their children's usual place of residence at 665 Leonard St., in Ashland,

      24    Oregon;

      25           2.        Interfering with the present placement and daily schedule of their children, which

      26    includes attending school at Bellview Elementary School in Ashland, Oregon;

            TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
            Page 1 of 3

                                                            CARTY LAW, P.C.
                                                     P O Box 4628, Salem, Oregon 97302
                                       offlce@cartylawpc com I (503) 991-5142 I www.cartylawpc.com




                                                                                                                 EXHIBIT 5
                                                                                                             Page 85 of 104
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                     3.      Hiding or secreting their children from the other party;

                     4.      Interfering with the other party's usual contact and parenting time with their

              children which is on a roughly equal basis;

                     5.      Leaving the state with their children without the written permission of the other

              party or the permission of the court; and


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                     6.      In any manner disturbing the current schedule and daily routine of the child until

              custody or parenting time has been determined or the parties otherwise agree in writing.
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         13                                                                           Circuit Court Judge David J. Orr

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              TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo-ORS 107.097)
              Page 2 of 3

                                                            CARTY I.Aw, P.C.
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                                                                                                                 EXHIBIT 5
                                                                                                             Page 86 of 104
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                                    UTCR 5.100 Certificate of Readiness
             This proposed order is ready for judicial signature because service is not required by stat-
     ure, rule, or otherwise.

            DATED: 10/07/2022
                                                                 CARTY LAW, P.C.




                                                                 Sarah Bain, OSB No. 202594
                                                                 Email: sarah@cartylawpc.com
                                                                 Attorney for Petitioner


                             * * * * * * * * * * * * * * * * * * * * *
10
                                                 NOTICE
11   You may request a hearing on this order as long as it remains in effect by filing with the court a
     request for a hearing. In the request you must tell the court and the other party that you object
12   to the order and specifically why you disagree with the representation of the status quo de-
     scribed in the order. In the request you must also inform the court of your telephone number or
13
     contact number and your current residence, mailing, or contact address.
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     TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo -ORS 107.097)
     Page 3 of 3

                                                   CARTY LAW, P.C.
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    o>- 4                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
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    (.) 5                                      FOR THE COUNTY OF JACKSON
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     ~ 6                                                Family Law Department
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            7   In the Matter of:
    ai                                                        )
    >, 8        Heidi Brown,                                  ) Case No.: 22DR17285
                                                              ) Related Case No.: 23DR08269
            9                           Petitioner,           )
                            and                               ) ORDER RE: CONTACT
          10                                                  )
                Arnaud Paris,                                 )
          11
                                                              )
          12                            Respondent.           )

          13

          14           THIS MATTER came before the Court for hearing on June 21 , 2023. Petitioner Heidi
          15    Brown appeared in person and her attorney, Taylor L. M. Murdoch, of her attorneys Buckley Law,
        16 PC, appeared remotely. Respondent Arnaud Paris appeared in person, and his attorney Thomas
          17
                Bittner, of his attorneys Schulte Anderson, appeared remotely.
          18
                       The Court, having received argument from counsel and the parties, and fully advised in
          19
                the premises, makes the following
        20
                       FINDINGS OF FACT
        21
                       1. Mother and Father are the unmarried parents of two minor children, l{J and _ _
        22
                           P      , age 8.
        23

        24

        25
                Page 1 - ORDER                                                            Buckley Law PC
                                                                                   5300 SW Meadows Rd., See. 200
                                                                                       Lake Oswego, OR 97035
                                                                                 Tel: 503-620-8900 Fax: 503-620-4878
                                                                                         tlm@buckley-law.com


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                    2. A Temporary Protective Order of Restraint was signed on October 7, 2022. The

                         Temporary Protective Order ofRestraint remains in full force and effect. The parties

                         exchange the children on Sundays.

                    3. The Court's findings on the record of June 21, 2023 as reflected in Exhibit 1 are

                         incorporated herein as if fully set forth.

            NOW THEREFORE, IT IS HEREBY ORDERED:

                     1. Calls. Whenever the children desire to call the parent with whom they are not having

                         parenting time, the parent with whom they are with will facilitate such a call. In
       9
                         addition, there will be two points during the week where either parent can call and do a
      10

      11                 check-in and speak with the children, at 7:30 pm Pacific Standard Time, on Tuesdays

      12                 and Thursdays.

      13            2. Discussing the Case. Neither parent will discuss the pending litigation with the

      14                 children.                                    8/3/2023 2:03:14 PM


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                                                                                                  r
                                                                                 Circuit Court Judge David J. Orr

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      19
            UTCR 5.100 CERTIFICATE OF READINESS: This proposed order is ready for judicial
      20    signature because opposing counsel agreed to file objections independently.

      21
                    DATED this __ of June, 2023.
      22
                                 8/3/2023
      23
                                                       By:
      24                                                      Taylor L. M. Murdoch, OSB No. 111307
                                                              tlm@buckley-law.com
      25                                                      of Attorneys for Mother
            Page 2 - ORDER                                                                            Buckley Law PC
                                                                                              5300 SW Meadows Rd., Ste. 200
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            CERTIFICATE OF SERVICE:               I certify that I served on July 31, 2023, a complete and exact
            copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
            delivering a true copy to the following address, as follows:


            Thomas A Bittner
            Schulte Anderson
            811 SW Naito Pkwy Ste 500
            Portland OR 97204


                     DATED this      u       day of July, 2023.



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       25
             Page 3 - ORDER                                                              Buckley Law PC
                                                                                 5300 SW Meadows Rd., Ste. 200
                                                                                     Lake Oswego, OR 97035
                                                                               Tel: 503-620-8900 Fax: 503-620-4878
                                                                                       tlm@buckley-law.com


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     00                 1            IN THE CIRCUIT COURT OF THE STATE OF OREGON
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                                                   FOR THE COUNTY OF JACKSON
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                        4   In the Matter of:


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                            HEIDI MARIE BROWN,

                                             Petitioner,
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     "'C
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     .;::::             7      and                              Case No. 22DR17285
     ·;:

     ~I                 8   ARNAUD PARIS,                       Case No. 23DR08269

                        9                    Respondent.

                       10

                       11

                       12                           EXCERPT OF PROCEEDINGS

                       13                                    Pages 1 to 9

                       14

                       15

                       16            BE IT REMEMBERED THAT on June 21, 2023, the

                       17   above-entitled case came on regularly for hearing before

                       18   The HONORABLE DAVID J. ORR, a Circuit Court Judge.

                       19

                       20   APPEA~NCES:

                       21       Taylor LM Murdoch, Appearing via Webex
                                Attorney at Law
                       22       Representing the Petitioner

                       23       Thomas A. Bittner, Appearing via Webex
                                Attorney at Law
                       24       Representing the Respondent

                       25

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     "c,                3                    THE COURT:       Do either -- Mr. Bittner, you
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                            were trying to address this issue?

                                             MR. BITTNER:          Yeah, Your Honor.   Look,

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                        6   these -- they've exchanged the kids successfully for
     (.)
     "'C
                        7   you know, since last October.               I think we should let
      Cl)
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     ·;:
                        8   them be.      And I want to object to you modifying your
     ~I
                        9   status quo order.          I've explained to you that any effort

                       10   you make to alter what's going on is in contravention to

                       11   the judgment in France, and you don't have modification

                       12   jurisdiction.        So I'm just making a record.          I'm

                       13   pointing it out.          You're going to do what you want to

                       14   do.    I get it.       So, you know --

                       15                    THE COURT:       You've made the record multiple

                       16   times.     That's not what I was asking.            I was asking for

                       17   your proposal in terms of how to address the problem

                       18   that is, that is at h3nd here.               Yeah, I understand that

                       19   you believe Oregon doesn't have jurisdiction.                  That may

                       20   well be the case.          As of now, that has not been

                       21   determined.        I will make such orders as are necessary

                       22   that are in the best interests of the children.

                       23             Let's talk about what we're going to do here with

                       24   regards to the parents talking to the children,

                       25   Mr. Bittner.

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                                                                                             Page 3
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    (")
    N
    0                  1                     MR. BITTNER:        I guess my point is, what have
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    .....              2   they r.istorically done this past year?             It seems to have
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     C
    "c,                3   been fine.        So I don't know that the Court needs to
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                           intervene.        They may be going through a rough patch,

                           but, you know, this was not the form, the time, the
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                       6   place.      You know, I don't know that there is a problem.
    (.)
    "'C                7   They've never complained to me -- or my clients never
     Cl)
    .;::::
    ·;:
                       8   complained to me that the kids haven't been able to
    ~I
                       9   communicate with him or the kids with their mother.

                      10              There have been a lot of complaints from my

                      11   client about things tnat the girls repeat to him that

                      12   mom says that are really, really bad, and so, you know,

                      13   there is some concern of that.              But the Court has

                      14   chastised both parties and grandparents and whatnot to

                      15   shield the kids, and that's, you know, standard and

                      16   appropriate advice, and I told my client to follow it,

                      17   and I'm sure that Mr. Murdoch has done the same.                 So

                      18   they've been told what to do.              They need to make the

                      19    kids available if the kids want to communicate.                And,

                      20   you know, if there needs to be a midweek check in, they

                      21        whatever.        I understand.

                      22              But, but I discourage you from making orders that

                      23    are in modification.              That's a whole different issue

                      24    than what I said before about this Court not having

                      25    jurisdiction to make an initial determination.               Now

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                                                                                           Page 4


                     1     you're making a modificat ion.

                     2               So I'd say let them be and, you know, if
     iii
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                     3     somebody' s got a problem, they can file a motion.              But
     "c,
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                           jumping in and trying to --

                                             THE COURT:       Well, as long

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                     6                       MR. BITTNER:       -- do it on the fly --
     (.)
     "'C             7                       THE COURT:       -- we're in court here, we
      (I)
     .;::::
                     8     might, we might as well get these issues settled to the
     ~I
                     9     extent that it's possible to settle them.                I'm going to

                    10     hear from Mr. Murdoch.

                    11                But, Mr. Paris, what were you trying to say?

                    12                       MR. PARIS:       Actually, I'm the one who

                    13     offered the kids yesterday to call their mother.

                    14                       THE COURT:       You were, you were the one who

                    15     what?

                    16                       MR. PARIS:       I am the one who offered the

                    17      kids to call their --

                    18                       THE COURT:       To what the kids?

                    19                       MR. PARIS:       Sorry.    I am the person who told

                    20      the kids, "Do you want to speak to your mom?" yesterday .

                    21      That phone call was me suggesting to the kids to call

                    22      their mom.        They don't necessari ly want to call their

                    23      mom every day, nor do they want to talk to her every

                     24     day.     You know, they're doing lots of fun things.            I am

                     25     the one that was saying to the kids, Do you want to call

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     0                 1    your mom?       You haven't talked to her for three days.
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     .....              2   And I asked, Why do you not want to talk to her every
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     "c,                3   day?    They said, When we're with you, we don't really
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                            want to talk to mom, and when we're, when we're with

                            morn, we don't really want to talk to you.             Because last
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                        6   week they called me once.            One of them called me once.
     (.)
                        7   That's it.        I don't get to speak to them every day.             And
     "'C
      Cl)
     .;::::
     ·;:                                                                     If they don't want
                        8   frank:y,     I don't want to fault them.
     ~I
                        9   to ta:k to me when they're with mom, that's fine.                 I

                       10   suggested that they call their morn yesterday, and they

                       11   said okay.       Sometimes I suggest and they say no.         I

                       12   don't think we should fault these kids.             That's what I'm

                       13   saying.      Even if mom wants to talk to them every day, if

                       14   they don't want to talk to their mom, I don't think we

                       15   should fault them, fault them.

                       16                     THE COURT:      What is the exchange day?       What

                       17   day of the week?

                       18                    MR. PARIS:       It's, it's Sunday.

                       19                     THE COURT:      All right.   Mr. Murdoch,

                       20   anything on all this before I do something?

                       21                    MR. MURDOCH:       Thank you, Your Honor.

                       22             Let's just make sure these kids talk to their

                       23   parents and make sure this is not something where a

                       24   parent is suggesting one way or the other or is somehow

                       25   leading -- leaving it to an eight-year-old's

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     0                  1   determination.         Let's get an order in place saying these
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     N                  2   kids have to talk to, talk to mom during dad's time and
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     "c,                3   they have to talk to dad during mom's time.               Let's set a
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                            date -- or rather, let's set a time when this happens.

                            It can be every other day.             But let's make sure -- and
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                        6   an order also directing the parties not to discuss these
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                        7   matters with -- this case with the children.               I think
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                        8   that's a straightforward thing that protects these kids
     ~I
                        9   and gets them through to the next hearing.

                       10                    THE COURT:        It does sound like we need to

                       11   make some kind of an 8rder.             So here's what it'll be.

                       12             First of all, and I think both mother and father

                       13   are agreeable to this, that the children, whenever they

                       14   desire, are permitted to call the parent that they are

                       15   not with, meaning if they're with dad, if they --

                       16   whenever they want to call mom, they get to call mom; if

                       17   they're with mom, whenever they want to call dad, they

                       18   get to call dad, and further, that the parent will

                       19   facilitate that.          Since they're eight and they don't

                       20   have phones, the parent will facilitate that.

                       21             In addition, there will two points during the

                       22   week where either parent can call and do a check-in and

                       23   talk to the kids.          My recommendation is that be, that be

                       24   somewhere around 7:30 in the evening.               I don't know

                       25   you want to do that?             Let's see.    So you exchange

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                                                                                           Page 7


                     1    Tuesday -- excuse me, you exchange Sunday.                Do you want

                     2    to do that Tuesday and Thursday or Tuesday and Friday?
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    "c,              3    What are you requesting, Mr. Murdoch?
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                                            MR. MURDOCH:      Your Honor, I think what the

                          Court is suggesting, on Tuesday and Friday, makes sense.

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                     6     Friday may actually be problematic just because
    (.)
    "'C
                     7    oftentimes families have plans on Friday evening
     (I)
    .;::::
                     8                      THE COURT:      All right.
    ~I
                     9                      MR. MURDOCH:      -- for the upcoming weekend.

                   10      So let's make it Tuesdays and Thursdays.

                   11                       THE COURT:      Tuesday and Thursday.      So you

                   12      can call at 7:30 Tuesday and Thursday.            Heidi will make

                   13      the kids available.

                   14                You can call tje kids when he has them Tuesdays

                   15      and Thursdays at 7:30.           Mr. Paris will make the kids

                   16      available.

                   17                If they tell you they don't want to talk, you

                   18      tell them, Okay, you don't have to talk.            Just tell your

                   19      dad, or tell your mom, you don't want to talk because

                   20      the other parent needs to hear it from them.              All right.

                   21                       MR. PARIS:      So I would agree with you on

                   22      this.     It's very good advice.         I just can't accept that

                    23     order.     You don't have jurisdiction, Judge.

                   24                       THE COURT:      Okay.   You refuse --

                   25                       MR. PARIS:      And I will (unintelligible)

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     0                  1                     THE COURT:      -- the Court's orders at your
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                        2   peril.
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     iii
      C                 3                    MR. PARIS:       No.
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                                              THE COURT:

                                             MR. PARIS:
                                                              So I'm going

                                                              I'm just saying that I will, I

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                        6   will challenge that order in Supreme Court.
     (.)
                        7                     THE COURT:      Okay.     Well, go ahead and do
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     ·;:
                        8   that.     I'm saying it would be not a good idea, and I
     ~I
                        9   think even your attorney would not recommend that you

                       10   disobey the Court's orders at this point until --

                       11                     MR. BITTNER:      Yeah.

                       12                     THE COURT:      -- you have your Supreme Court

                       13   order telling you otherwise.

                       14             Also, Mr. Murdoch, as you were suggesting the

                       15   language about neither parent discussing the case with

                       16   the children is very appropriate and apparently

                       17   necessary here.           So that's where we are.

                       18             Anything else that we have to put on the record

                       19   before we adjourn?

                       20              [END OF EXCERP~:        3:10 PM]

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    "c,                3                       I, Terri Forsyth, a transcriptio nist in the
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                            state of Oregon, do hereby certify that I reported in

                            stenotype the foregoir.g audio recorded proceedings had
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                       6    upon the hearing of ttis matter previously captioned
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    "'C                7    herein; that I thereafter reduced my said stenotype
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                       8    notes to typewriting; and that the foregoing transcript,
    ~I
                       9    Pages 1 to 9, both inclusive, constitutes a full,            true

                      10    and accurate record of said audio recorded proceedings

                      11    to the best of my knowledge, ability, belief, and

                      12    quality of the recording.

                      13               Witness my hand as transcriptio nist at Portland,

                      14    Oregor., this 24th day of June, 2023.

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                      23                                        ~».~,:f}a.~ 4~-;JJJ.
                                                                Terri Forsyt-11
                      24                                        Transcriptio nist

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                              NOTICE:REGARDING MANDATORY PARENT EDUCATION PROGRAM
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~ 1. Mandatory Parent Education Program - A parent education program of the type authorized by ORS
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      3.425 is established. The program shall provide information on the impact of family restructuring on
~     children to each person named as a party in the following types of proceedings, when such proceedings
....N
      involve minor children:

                 (a) Annulment or dissolution of marriage,

                 (b) Legal separation,

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                 (c) Petition to establish custody or parenting plans (including paternity), and

(.)              (d) Post-judgment litigation involving custody or p_arenting plans.
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(I)

!E 2.        Each party who files an appearance in a proceeding of the types described above shall complete the
j1           program unless exempted by the Court. A final judgment shall not be entered in the proceeding until
             each party not otherwise exempted by the Court who has filed an appearance has completed the
             program.

          3. The party initiating the proceeding shall register for the program within 15 days after filing the initiating
             pleadings with the Court. A copy of this local rule and instructions on how to register for the program
             shall be served by the initiating party on all parties against whom relief is sought. Service shall be
             completed in the manner provided in ORCP 7 at the time the initiating documents are served. All other
             parties shall have 30 days after service of the notice upon them to register for the program.

          4. The Court shall provide a copy of this rule to the initiating party for service upon all parties against
             whom relief is sought, together with a statement describing the program including contact telephone
             numbers, addresses and statement of costs.

          5. The_program provider shall issue a certificate of completion when the participant has completed the
             program. The certificate must be filed with the Court.

          6. The Court may exempt one or both parties from the program if, after reviewing the requested party's
             motion and supporting affidavit, the Court determines that participation is unnecessary or
             inappropriate.

          7. Sanctions - Failure or refusal to complete the program in a timely manner shall be considered by the
             Court in making its ruling on issues which are in dispute.

          8. A party who has completed the program shall have the right to:

                  (a) Request that the pleadings of a party who has appeared be stricken if that party has not
                      completed the program in a timely manner without good reason.

                  {b) Request entry of an order from the Court to compel the non-complying party's completion of
                      the program should the non-complying party not have completed the prpgram in a timely
                      manner without good reason. The Court may enter an award of attorney fees in favor of the
                      complying party who utilizes this option to force the non-complying party's compliance with this
                      rule.

                  (c) Apply for entry of a default judgment against a non-appearing party notwithstanding the non-
                      appearing party's failure to participate in the program.


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         9. Fees

               (a) Each party shall pay the required fee to the program provider upon registering for the program.
               {b) The program registration fee may be waived or deferred by the Court. The procedure for
                   requesting a fee waiver or deferral shall be the same as used to request a waiver or deferral of
iii                the fee when filing a petition for dissolution.
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 a.
               (c} Application for fee waiver or deferral, if any, must be made prior to registering for the program.
                   When registering, either the fee must be paid or the order waiving or deferring the fee must be
 0                 provided to the program provider.
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                     NOTICE OF STATUTORY RESTRAINING ORDER PREVENTING THE
                      DISSIPATION OF ASSETS IN DOMESTIC RELATIONS ACTIONS

       REVIEW THIS NOTICE CAREFULLY. BOTH PARTIES MUST OBEY EACH PROVISION OF THIS ORDER
       TO AVOID VIOLATION OF THE LAW. SEE INFORMATION ON YOUR RIGHTS TO HEARING BELOW
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"c,
·;:   TO PETITIONER AND RESPONDENT:
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Q.
      PURSUANT TO ORS 107.093 and UTCR 8.080, Petitioner and Respondent are restrained from:
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(.)
         1. Canceli11g, modifying, terminating, or allowing to lapse for nonpayment of premiums any
            policy of health insurance, homeowner or renter insurance, or automobile insurance that
            one party maintains to provide coverage for the other party or a minor child of the parties,
            or any life insurance policy that names either of the parties or a minor child of the parties
            as a beneficiary.

         2. Changing beneficiaries or covered parties under any policy of health insurance,
            homeowner or renter insurance, or automobile insurance that one party maintains to
            provide coverage for the other party or minor child of the parties, or any life insurance
            policy.
         3. Transferring, encumbering, concealing, or disposing of property in which the other party
            has an interest in any manner, without written consent of the other party or an order of
            the court, except in the usual course of business or for necessities of life. Paragraph (3)
            does not apply to payment by either party of:
                {a) Attorney fees in this action;
                {b) Real estate and income taxes;
                (c) Mental health therapy expenses for either party or a minor child of the parties; or
                (d) Expenses necessary to provide for the safety and welfare of a party or a minor
                    child of the parties.
         4. Making extraordinary expenditures without providing written notice and accounting of
            the extraordinary expenditures to the other party. Paragraph (4) does not apply to
            payment by either party of expenses necessary to provide the safety and welfare of a
            party or a minor child of the parties.
      AFTER FILING OF THE PETITION, THE ABOVE PROVISIONS ARE IN EFFECT IMMEDIATELY UPON
      SERVICE OF THE SUMMONS AND PETITION UPON THE RESPONDENT. IT REMAINS IN EFFECT
      UNTIL A FINAL DECREE OR JUDGMENT IS ISSUED, UNTIL THE PETITION IS DISMISSED, OR UNTIL
      FURTHER ORDER OF THE COURT.
                      PETITIONER'S/RESPONDENT'S RIGHT TO REQUEST A HEARING
      Either petitioner or respondent may request a hearing to apply for further temporary orders, or
      to modify or revoke one or more terms of the automatic mutual restraining order, by filing with
      the court the Request for Hearing form specified in Form 8.080.2 in the UTCR Appendix of Forms.




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                                           Department of Consumer and Business Services
                                                        Insurance Division
                                                 P.O. Box 14480, Salem, OR 97309-0405
                                                Phone: 503-947-7891, Fax: 503-378-4351
                                                350 Winter St. NE, Salem, OR 97301-3883
                                                     Email: dcbs.insmail@state.or.us
iii                                                    www.insurance.oregon.gov
    C



~otice to parties in a suit for marriage dissolution or legal separation
    >,
 g-
(.)
                              regarding continuation of health coverage
tjyou or your spouse have filed for divorce or legal separation and currently hold group health insurance coverage
twough your spouse, your coverage may end when the court grants your divorce or separation. Oregon law offers options
tlmt may enable you to continue your coverage. This notice outlines continued  coverage options available under Oregon
 ~                                                                           .
1!-v- Federal law commonly known as COBRA may also enable you to continue coverage. Note: You must act promptly
{j continue coverage.
>
Applying for individual coverage may also be an option. Insurers can no longer deny enrollment to individuals because of
health or pre-existing conditions. You may be eligible to enroll in a plan through healthcare.gov or directly from an
insurer. If you apply for coverage through healthcare.gov, you may qualify for financial assistance.
For more infom1ation about Oregon and federal law, consult your health insurer, the plan administrator for your insurance
coverage, the employer through whom your insurance is provided, or your attorney.
The following is a summary of options under Oregon law:
1. Continuation of existing coverage for a divorced or legally separated spouse who is 55 years of
   age or older (ORS 743.600 to 743.602). If you are a divorced or legally separated spouse and if you are 55 years of
   age or older when the dissolution or legal separation occurs, you may continue your existing group coverage until you
   obtain other group coverage or become eligible for Medicare. In order to continue coverage, you must do both of the
   following:
         A. You must notify the group health insurance plan administrator in writing of the dissolution or legal
            separation within 60 days of the entry of the decree of divorce or legal separation.

         B. You must elect to continue and pay for the group coverage. You must make the election on a form provided by
            the plan administrator.
Note: This provision applies only ifyour coverage is provided through an employer who employs 20 or more employees
or if your coverage is provided by a group health insurance plan that covers 20 or more employees.
2. Continuation of existing coverage for a divorced spouse when federal law does not provide for
         continued coverage (ORS 743.610). If you are not able to continue your group health coverage under federal law
         (COBRA), you may continue your existing group coverage upon dissolution of your marriage for a period not
         exceeding nine months. The following requirements apply:
         A. You must have been continuously covered by the group policy for at least three months prior to your divorce.
         B. You must ask the insurer or the group policyholder, in writing, to continue your coverage. You must also pay
            the required premiums.
         C. You must make your request by the latter of the following dates:
            (1) Ten days after the date that your coverage under the group policy as a qualified
                family member ends;

                 or
             (2) Ten days after the date on which the employer or group policyholder gives notice of the right to
                 continue coverage.




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    1. Apply for individual coverage. If you were covered by a group health plan and you lost that coverage because
         1
             of a legal separation or divorce, you may qualify for a special enrollment and be eligible to purchase an individual
~            plan through healthcare.gov or from an insurer. To qualify for this special enrollment:
0
~
00
~                (1) Apply through healthcare.gov and pay your premium within 60 days of the date you lost your group
....N                coverage; or
iii              (2) Apply for individual coverage from an insurer within 60 days of the date you lost your group coverage.
 C
"c,
iemember: The longer you wait to apply, the later your coverage will start. Financial help is available only if you
 jpply for insurance through healthcare.gov. Your insurance agent can also he1p you apply through healthcare.gov.
 Q.



-...
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(.)
                   Prepared by Insurance Division, Department of Consumer and Business Services, under ORS 107 .092.
 u
 f                       Revised January 9, 2015. Distributed by the Office of the State Court Administrator
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                                             22DR17285




 1

 2

 3

 4                       THE CIRCUIT COURT OF THE STATE OF OREGO

 5                              FOR THE COU TY OF JACKSO

 6                                      Family Law Department

 7   In the Matter of:
                                                )
 8   Heidi Brown,                               ) Case    o.: 22DR17285
                                                ) 'Related Case No.: 23CN05721
 9
                          Petitioner,           )
10              and                             ) GENERAL JUDGMENT OF DEFAULT;
                                                ) and MONEY AWARDS
11   Arnaud Paris,                              )
                                                ) The Hon. David J. Orr
12                        Respondent.           )
13

14
            THIS MATTER came before the Court for hearing on March 7, 2024. Petitioner,
15
     hereinafter Mother appeared in person with Taylor L. M. Murdoch, of her attorneys Buckley
16

17   Law P.C., who appeared remotely. Respondent Arnaud Paris, hereinafter Father, wa self-

18   represented and, despite the Court's prior order for him to appear in person, despite being

19   provided a WebEx link for the hearing, and despite being called by the Court by telephone at
20   a cell-phone number he had previously used with the Court before the Court proceeded to
21
     hear Mother's motion for discovery sanctions, failed to appear.
22
            The Court, having received argument from counsel and having received a prima facie
23
     case from Mother, and the Court being fully advised in the premises, makes the following
24
     Page 1-GENERALJUDGMENT OF DEFAULT; and                                         Buckley Law PC
25   MONEY AWARDS                                                          .'i300 S\X' ;\leadows Rd., Ste. ~00
                                                                                Lake, Oswego, OH 1J"7035
                                                                       ·rc1: S03-620-8<JOO F~x: 5113-620-4878
                                                                                 rhn@bucklei·-l~w.com




                                                                                                  EXH IBIT 6
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 1                                          FINDINGS OF FACT
 2      1. Mother filed her Petition for custody, parenting time, child support, and dissolution of
 3
           domestic partnership on October 7, 2022.
 4
        2. Father filed his Responfe on or about January 5, 2023.
 5
        3. Father was ordered to produce discovery and a formal response to Mother's discovery
 6
           request in open court on December 28, 2023. The Order Compelling Production ef
 7

 8         Documents was entered on January 12, 2024.

 9      4. Father has willfully failed to comply with the court's orders, both in his failure to
10         appear at court in any capacity for the March 7, 2024 hearing, and in his failure to
11
           provide discovery. The Court makes no finding with regard to Mother's allegation
12
           that Father has doctored discovery.
13
        5. The Court considered alternative means to encourage Father's compliance \vith. its
14

15         discovery order. After consideration of the alternative ·, and Father's conduct herein,

16         including his failure to appear, the Court finds no sufficient alternatives.

17      6. It is appropriate to strike Father's pleadings and find Father in default.
18
        7. It is appropriate to award Mother her attorney fees and costs pursuant to ORCP 46
19
           and the procedural provisions of ORCP 68.
20
        8. After Father was found in default, Mother presented a ptima jade case. With regard to
21
           the domestic partnership of the parties, the Court finds as follows:
22

23

24
     Page 2 - GENERAL JUDGMENT OF DEFAULT; and                                  Buckley Law PC
25   MONEY AWARDS                                                       .'i3!l0 S\'-:' Meadows Rd., Ste. 2(1()
                                                                            L~ke Oswego, OR 97035
                                                                      Tel: 503-620-8900 f'ax: SO.', 62fl--t878
                                                                              rlm((l;buckky bw.com




                                                                                                   EXH IBIT 6
                                                                                                Page 2 of 118
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 1           a. Mother and Father had an unregistered domestic partnership that existed in

 2                Oregon. They lived together in a relationship akin to marriage, and acquired
 3
                  property during their domestic partnership.
 4
              b. Mother and Father had a commitment ceremony in Oregon attended by family.
 5
             c. The parties' daughters were born in Oregon.
 6
             d. The Court has previously found that the parties were living in Oregon at the
 7

 8                time of the filing of the Petition i11 October, 2022.

 9           e. The Court has jurisdiction ovcr the domestic partnership of the parties
10                pursuant to Beal v. Beal, 282 Or 115 (197 8), and will exercise the same to
11
                  distribute property.
12
             f.   During the domestic partnership, in 2019, the parties acquired undeveloped
13
                  real property in Topanga, California as joint tenants to use as a family home.
14

15           g. The real property is undeveloped. During the domestic partnership, the parties

16                incurred costs to attempt to develop the real property. Mother testified that

17                Father apparently retains many of those development records, despite her
18
                  re9uests and the court's orders for him to produce the same.
19
             h. The assessed -value of the real property is approximately 64,333, which is more
20
                  than what the parties paid for it in 2019. Mother testified that the real market
21
                  value of the real property could easily be worth more than that amount,
22

23                however Mother also testified that the parties had development issues with the

24
     Page 3 - GENERAL JUDGMENT OF DEFAULT; and                                        Buckl~y Law PC
25   MONEY AWARDS                                                          53011 S\'C i'lkndow~ Rd .. Ste. 20!1
                                                                                l .,1ke ( ,wego, OR 970,;5
                                                                      'I <:I: :i!n 620 890(1 Fax: 50.1-6211--!8"78
                                                                                   rlm(a11rnckl<'y la\\ .com




                                                                                                    EXH IBIT 6
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 1                property, and Father has refused to provide full records regarding the real

 2                property which are likely in his possession and control.
 3
             1.   The domestic partnership of the parties ended in October 2022.
 4
             l· Since the domestic partnership ended, Mother has paid for the property taxes
 5
                  ( 1,454.15) and property insurance ( 695.41) out of her separate funds.
 6

 7
              k. The parties intended to share the property as a family home and owned the

 8                property as joint tenants. It is appropriate that the parties' respective interests

 9                in the real property be divided pursuant to their intent to share the real
10                property as a family.
11
             l.   Father has significant money awards against him for attorney fees and costs
12
                  herein, and has refused to follow court orders.
13
                      i. Given that the real property will be awarded to Mother, it is appropriate
14

15                         that Father be awarded an amount paid by Mother to him as equalizing

16                         award of half of the assessed value of $64,333, less taxes of 1,454.15

17                         and insurance of $695.44, or, $31,090.72, due payable to him upon his
18
                           compliance with all of th.is court's orders and upon satisfaction of the
19
                           money awards herein for Mother's attorney fees and costs against him.
20
                     11.   Given that Father has willfully refused to follow court orders herein, it
21
                           is proper that Mother be granted her request for a limited power of
22

23

24
     Page 4 - GENERAL JUDGMENT OF DEFAULT; and                                   Buckley Law PC
25   MONEYAWARDS                                                        5300 S\'(' Meadows Rd .. Su: 20()
                                                                             Like Orn·ego, UR 97035
                                                                      Tel: 503 -620-890( r,,1x: 5U3-6 20-48 7H
                                                                              tlm(a)bucklei·-bw.com




                                                                                                 EXH IBIT 6
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 1                             attorney to execute any deed or conveyance on Father's behalf to

 2                             comply with the real property tenns of this judgment.
 3
                     m. The court finds Mother credible and grants her request for relief.
 4
        9. It is appropriate that the assets of the domestic partnership be awarded, and the relief
 5
            granted as requested, herein.
 6
        10. This Court previously entered limited judgments for custody, parenting time, and child
 7

 8              support; and limited judgments for attomey fees . Those orders and judgments are

 9          adopted and included in full herein as part of this General ]ttdgment as if set forth by
10          their entirety herein.
11
     N OW, THERFORE IT IS HEREBY ORDERED AND ADJUDGED, as follows:
12
                1.      Dis olu tion. The domestic partnership of the parties has ended.
13
            2.          Default. As sanction for Father's willful refusal to abide by this court's Order
14
15   Compelling Production ofDocuments, entered on January 12, 2024, pursuant to ORCP 46,

16   Mother's 1otion for sanctions is GR.A TED.

17          a.          Father's pleadings are STRICKE      in full, and he is found in default.
18
            b.           1other is granted a general judgment of dissolution of domestic partnership by
19
     default.
20
            c.          Mother is awarded her attorney fees and costs related to the matters before the
21
     court on March 7, 2024, including her attorney fees and costs related to the award of the real
22

23

24
     Page 5 - GENERAL JUDGMENT OF DEFAULT; and                                      Buckley Law PC
25   MONEY AWARDS                                                            5300 S\'(' .\leadow~ Rd .. Ste. 200
                                                                                Lak~ Oswego, OR 97(1.,5
                                                                          Tel: 503-620-8900 Fax: 503-620-4878
                                                                                  1lm(<.7)lrncklcy-Ia" .com




                                                                                                     EXH IBIT 6
                                                                                                  Page 5 of 118
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 l   property in the parties' domestic partnership. Mother shall submit her statement of attorney

 2   fees and costs pursuant to ORCP 68.
 3
             3.
 4
     Topanga, CA 90290, Assessor's ID No. 4448 012 040, free and clear from any claim of
 5
     Father but subject to any indebtedness, lien, tax or encumbrance against such property. The
 6

 7   real property is legally described as follows:

 8   Lots 9 and 10 in Block 8 of Tract No. 9531, in the County of Los Angeles, State of

 9   California~ as per map recorded in Book 142, Pages 93 to 97 of Maps, in the office of
10   the County Recorder of Said County.
11
             a.      fother is expressly authorized to exercise any rights related to the property.
12
            b.      This General Jztdgment, shall act as a special power of attorney granting Mother
13
     the authority to sign on Father's behalf regarding the property above.
14

15          4.      Limited J LLdgmeut lncorporared ln FLJ1. Mother was previously awarded relief

16   regarding legal custody, parenting time, and child support in the L ·mited Judgment Rega,r/i11g

17   Custorfy, Parenting Time and Child Support and Monry Awards, hereinafter limited Judgment, signed
18
     by the Court on December 28, 2023. A true copy of the Limited Judgment is included herewith
19
     as Exhibit 1. The Li mited Judgment remain in full force and effect and its findings and orders
20
     regarding custody, parenting time, and child support in Exhibit 1 are e:i,....pressly adopted in full
21
     in this General]udgment as if set forth herein.
22

23

24
     Page 6 - GENERAL JUDGMENT OF DEFAULT; and                                    Buckley Law PC
25   MONEY AWARDS                                                          530() S\'(' i\Je:1dow~ Rd.,. tc 21)0
                                                                              La ke Oswego, OR 97035
                                                                         Tel 501-620 8900 Fax: 'i03-62fl-4878
                                                                                ilm@bucklev l:n\'.com




                                                                                                     EXH IBIT 6
                                                                                                  Page 6 of 118
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 1              5.    Support Money Awards. Mother was awarded money awards in the Limited

 2 Judgment for retroactive child support and child support. T hose money awards remain
 3
     unsatisfied. Money awards will issue in this General Judgment for the same.
 4
                6.
 5
     awards for attorney fees and costs throughout this matter. Those money awards remain
 6
     unsatisfied. Money awards will issue in this Genera/Judgment for the same.
 7

 8              7.    Eq L1aliziugJ\.watd. Father is awarded 31,090.72, due payable to him from

 9   Mother upon his full and strict compliance with all of this court's orders in this General
10   Judgment, including his fulfillment and strict compliance ·with the parenting plan provisions,
11
     and upon full satisfaction of the money awards for attorney fees and costs owing to Mother,
12
     ifljh-,.
13
                8.    -'-'-1--t===~L=a~\\~
                                         7.   This General Judgment shall be construed in accordance with
14
15   the laws of the State of Oregon.

16              9.    Binding on Succ ssors. Each and every provision of this General Judgment shall

17   inure to the benefit of and shall be binding upon the heirs, assigns, personal representatives
18
     and all the successors in interest of the parties.
19
                10.    ' ontinuingJ ur.isdicti.on of th e Court. The court in the above entitled
20
     proceeiling shall retain jurisdiction over the parties to enforce all of the provisions of this
21
     GeneralJudgment, including but not limited to, the transfer of the property provision herein.
22

23

24
     Page 7- GENERAL JUDGMENT OF DEFAULT; and                                        Buckl ey Law PC
25   MONEY AWARDS                                                              SWO S\\' \lc~dows Rd., Src. 200
                                                                                 Lak<- Oswego, OR <)7!1.35
                                                                             Tel: 5(1.,-620 8<JOf1 F~x: S03-6:!0--Hli8
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                                                                                                         EXH IBIT 6
                                                                                                      Page 7 of 118
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 1          11.    Severability. If the court concludes that any provision of this General Judgment is

 2   invalid or unenforceable, that provision shall be severed from the remainder of this General
 3
     Judgment so as to avoid making the General]udgment invalid or unenforceable as to the
 4
     remainder of the General Judgment. All remaining provisions of thjs General Judgment shall then
 5
     continue in full force. If the court concludes that any provision is invalid in its scope, such
 6
     provision shall be valid to the extent of the scope permitted by law.
 7

 8          12.    Execution. Execution will is ue for any sums due under this General judgment.

 9          13.    Paragraph Headings. The headings of particular paragraphs are inserted only
10   for converuence and are not a part of this GeneralJudgment or a limitation of the scope of the
11
     particular paragraph to which it refers.
12
            14.    Money Awards. Mother is awarded Money Awards for child support as
13
     awarded in the Limited Judgment, unpaid temporary child support as previously awarded in the
14

15   I..Jmited Judgment; unpaid travel costs to France previously awarded in the Limited Judgment;

16   attorney fees and costs previously awarded on January 2, 2024; attorney fees and costs

17   previously awarded on February 13, 2024; and attorney fees and co ts previously awarded on
18
     February 29, 2024.
19
            The Money Awards pursuant to ORS 18.042 are as follows:
20
     /Ill/
21

22   I I I/ I
23   IIIII
24
     Page 8- GENERAL JUDGMENT OF DEFA LT; and                                     Bucl<ley L a, \' PC
     MONEY AWARDS                                                        530fl t,;\'i' J\Ieado-u·~ Rd., Srt!. 20U
25
                                                                             Lnkc O~wt:go. OH 9703'i
                                                                      Tel: -~0:',-620 8<Jflll h1x: 503-6'.:!fl--!878
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                                                                                                      EXHIBIT 6
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 1                             MONEY AWARD - CHILD SUPPORT

 2         Judgment Creditor:                        Heidi Brown
           Address:                                  2256 Abbott Avenue
 3                                                   Ashland, OR 97520
           Telephone:                                (541) 944-2066
 4
           SSN:                                      Filed Under UTCR 2.100
 s         DOB:                                      Filed Under UTCR 2.100
           ODL:                                      Filed Under UTCR 2.100
 6
           Judgment Creditor's Attorney:             Taylor L. M. Murdoch
 7                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
 8                                                   Lake Oswego, OR 97035

 9         Judgment Debtor:                          Arnaud Paris
           Address:                                  13 Rue Ferdinand Duval
10                                                   Paris, France
11         Telephone:                                +3368823641
           SSN:                                      XXX-XX-0632
12         YOB:                                      1978
           US Passport No.                           XXXXX:0583
13
           Judgment Debtor's Attorney:               Pro Se
14
           Others Entitled to Portion of Judgment:    one
15
           Judgment Amount:                          Child Suppmt of$3,990.00 per month,
16                                                   commencing January 1, 2024, and continuing
17                                                   on the 1st day of each month thereafter until
                                                     the children have reached age 18, or, if they
18                                                   continue attending school, until they have
                                                     reached age 21
19
           Arrearage:                                $15,960
20
           Pre-Judgment Interest                     9% per annum simple interest on each
21
                                                     installment from date due until paid
22
           Post-Judgment Interest:                   9% per annum simple interest on each
23                                                   installment from date due until paid

24
     Page 9 - GENERAL JUDGMENT OF DEFAULT; and                              Buckley Law PC
25   MONEY AWARDS                                                  S300 S\V J\kadow, Rd., Ste. ZOU
                                                                       La ke O~wego, OR 97035
                                                                 Tel· 503-(,20 8900 Fax: 503 620 4878
                                                                        1lm@lmck le,·-law.com




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                                                                                       Page 9 of 118
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 1

 2                      MONEY AWARD - TEMPORARY CHILD SUPPORT

 3         Judgment Creditor:                        Heidi Brown
           Address:                                  2256 Abbott Avenue
 4                                                   Ashland, OR 97520
           Telephone:                                (541) 944-2066
 5
           SSN:                                      Filed UnderUTCR 2.100
 6         DOB:                                      Filed Under UTCR 2.100
           ODL:                                      Filed Under UTCR 2.100
 7
           Judgment Creditor's Attorney:             Taylor L. M. Murdoch
 8                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
 9                                                   Lake Oswego, OR 97035
10         Judgment Debtor:                          Arnaud Palis
           Address:                                  13 Rue Ferdinand Duval
11
                                                     Paris, France
12         Telephone:                                +3368823641
           SSN:                                      XXX-:XX-0632
13         YOB:                                      1978
           US Passport No.                           :XXXXX0583
14
           Judgment Debtor's Attorney:               Pro Se
15
           Others Entitled to Portion of Judgment:   None
16
           Judgment Amount:                          $12,870
17

18         Arrearage:                                None

19         Pre-Judgment Interest:                    $3.17 per day, from December 28, 2023

20         Post-Judgment Interest:                   9% per annum simple interest on each
                                                     installment from date due until paid
21

22                           MONEY AW ARD - PAST TRAVEL COSTS
23                                                   Heidi Brown
          Judgment Creditor:
24        Address:                                   2256 Abbott Avenue
     Page 10-GENERALJUDGMENT OF DEFAULT; and                               Buckley Law PC
25   MONEY AWARDS                                                  5300 ',\X' I\iendows Rd .. Ste. 200
                                                                       Lake O,wego, OR 97035
                                                                 Tel: 503-620-8900 Pax: 503-620-4878
                                                                        rlan@bucklc) -law.com




                                                                                          EXH IBIT 6
                                                                                      Page 10 of 118
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 1                                                   Ashland, OR 97520
           Telephone:                                (541) 944-2066
 2         SSN:                                      Filed Under UTCR 2.100
           DOB:                                      Filed Under UTCR 2.100
 3         ODL:                                      Filed Under UTCR 2.100
 4         Judgment Creditor's Attorney:             Taylor L. M. Murdoch
 5                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
 6                                                   Lake Oswego, OR 97035

 7         Judgment Debtor:                          Arnaud Paris
           Address:                                  13 Rue Ferdinand Duval
 8                                                   Paris, France
           Telephone:                                +3368823641
 9         SSN:                                      XXX-XX-0632
           YOB:                                      1978
10                                                   XXXXX0583
           US Passport o.
11
           Judgment Debtor's Attorney:               Pro Se
12
           Others Entitled to Portion of Judgment:   None
13
           Judgment Amount:                          $2,945
14
           Arrearage:                                None
15
           Pre-Judgment Interest:                    $0.73 per day, from December 28, 2023
16
           Post-Judgment Interest:                   9% per annum simple interest on all amounts
17
                                                     due and owing upon entry of Judgment.
18

19
                         MONEY AW ARD {Attorney Fees and Costs No. l)
20
           Judgment Creditor:                        Heidi Brown
21         Address:                                  2256 Abbott Avenue
                                                     Ashland, OR 97520
22
           Telephone:                                (541) 944-2066
23         SSN:                                      Filed Under UTCR 2.100
           DOB:                                      Filed Under UTCR 2.100
24         ODL:                                      Filed Under UTCR 2.100
     Page 11 - GENERAL JUDGMENT OF DEFAULT; and                            Buckley Law PC
25   MONEY AWARDS                                                   5300 S\V J\Iead ows Rd., Ste. 200
                                                                         Lnke 0,wego, O R 9703.S
                                                                 T el: 50:'>-620-8900 F ,,x: 503-620-4878
                                                                            tlm(ii) bucklei·-law.com




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                                                                                        Page 11 of 118
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 1
           Judgment Creditor's Attorney:             Taylor L. M. Murdoch
 2                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
 3                                                   Lake Oswego, OR 97035
 4                                                   Arnaud Paris
           Judgment Debtor:
 5         Address:                                  13 Rue Ferdinand Duval
                                                     Paris, France
 6         Telephone:                                +3368823641
           SSN:                                      XXX-XX-0632
 7         YOB:                                      1978
           US Passport No.                           XXXXX:0583
 8
           Judgment Debtor's Attorney:               Pro Se
 9
           Others Entitled to Portion of Judgment:    one
10
11         Judgment Amount:                          $203,904.85

12         Arrearage:                                None

13         Pre-Judgment Interest:                    $50.28 per day, from January 2, 2024
14         Post-Judgment Interest:                   9% per annum simple interest on all amow1ts
                                                     due and owing upon entry of Judgment.
15
16                       MONEY AWARD (Attorney Fees and Costs No. 2)
17
           Judgment Creditor:                        Heidi Brown
18         Address:                                  2256 Abbott Avenue
                                                     Ashland, OR 97520
19         Telephone:                                (541) 944-2066
           SSN:                                      Filed Under UTCR 2.100
20         DOB:                                      Filed UnderUTCR 2.100
           ODL:                                      Filed Under UTCR 2.100
21
           Judgment Creditor's Attorney:             Taylor L. M. Murdoch
22                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
23                                                   Lake Oswego, OR 97035
24
     Page 12-GENERALJUDGMENT OF DEFAULT; and                                 Buckley Law PC
25   MONEY AWARDS                                                    5300 SW' l\lclldows Rd., Sic. 2fl0
                                                                           Lake Oswego, OR 97035
                                                                   Tel: :'>03-620-8900 Fnx: 503 620--1-878
                                                                           1lm@buckley-bw.com




                                                                                             EXH IBIT 6
                                                                                         Page 12 of 118
     Case 1:24-cv-00648-AA           Document 20-1      Filed 05/28/24         Page 151 of 290




 1         Judgment Debtor:                          Arnaud Paris
           Address:                                  13 Rue Ferdinand Duval
 2                                                   Paris, France
           Telephone:                                +3368823641
 3         SSN:                                      :XXX-XX-0632
           YOB :                                     1978
 4
           US Passport No.                           XXXXX0583
 5
           Judgment Debtor's Attorney:               Pro Se
 6
           Others Entitled to Portion of Judgment:   None
 7
           Judgment Amount:                           15,948.20
 8
           Arrearage:                                None
 9
           Pre-Judgment Interest:                    $3.93 per day, from February 13, 2024
10

11         Post-Judgment Interest:                   9% per annum simple interest on all amounts
                                                     due and owing upon entry of Judgment.
12

13                       MONEY AW ARD (Attorney Fees and Costs No. 3)

14         Judgment Creditor:                        Heidi Brown
           Address:                                  2256 Abbott Avenue
15                                                   Ashland, OR 97520
           Telephone:                                (541) 944-2066
16         SSN:                                      Filed Under UTCR 2.100
           DOB:                                      Filed Under UTCR 2.100
17                                                   Filed Under UTCR 2.100
           ODL:
18
           Judgment Creditor's Attorney:             Taylor L. M . Murdoch
19                                                   Buckley Law PC
                                                     5300 Meadows Rd., Ste. 200
20                                                   Lake Oswego, OR 97035

21         Judgment Debtor:                          Arnaud Paris
           Address:                                  13 Rue Ferdinand Duval
22                                                   Paris, France
           Telephone:                                +3368823641
23                                                   XXX-XX-0632
           SSN:
           YOB:                                      1978
24
     Page 13 - GENERAL JUDGMENT OF DEFAULT; and                            Buckley La,,, PC
25   MONEY AWARDS                                                   5300 S\X' i\Ieadows Rd., Ste, 200
                                                                        Lake O,wer,o, OR 97035
                                                                  Tel: Sm-620-8900 Fax: 503-620-4878
                                                                         tlm@buckley law.coin




                                                                                          EXH IBIT 6
                                                                                      Page 13 of 118
     Case 1:24-cv-00648-AA            Document 20-1        Filed 05/28/24                Page 152 of 290




 1          US Passport No.                            XXXXX:0583

 2          Judgment Debtor's Attorney:                Pro Se

 3          Others Entitled to Portion of Judgment:    None
 4                                                     $2,394
            Judgment Amount:
 5
            Arrearage:                                 None
 6
            Pre-Judgment Interest:                     $0.59 per day, from February 29, 2024
 7
            Post-Judgment Interest:                    9% per annum simple interest on all amounts
 8                                                     due and owing upon entry of Judgment.
 9
                                                           4/17/2024 4 :03:42 PM

10

11
12                                                                   Circuit Court Judge David J. Orr


13

14
     UTCR 5.100 CERTIFICATE OF READINESS: This proposed general judgment is
15   ready for judicial signature because service is unnecessary as Respondent was found in default
     on March 7, 2024, and his pleadings have been stricken.
16
            DATED this 11th day of April, 2024.
17

18

19                                               By:
                                                       T                             ,       No.
20                                                     di     uckley-
                                                       of Attorneys fi             ti oner/ Mot
21
22   SUBMITTED BY:                                         '
     Taylor L. M. Murdoch, OSB No. 111307
23   of Attorneys for Petitioner
     tlm@buckley-law.com
24
     Page 14- GENERAL JUDGMENT OF DEFAULT; and                                      Bucl<ley Law PC
25   MONEY AWARDS                                                           5300 SW l\feadows Rd. , Ste. 200
                                                                                Lnke O~wcgo, OR 97035
                                                                          Tel: 503-620-8900 Fax: 503-620-4878
                                                                                  tlm@buckley-law.com




                                                                                                  EXHIBIT 6
                                                                                              Page 14 of 118
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'


         Heidi Brown
         2256 Abbott A venue
         Ashland, OR 97520
         Telephone: (541) 944-2066
         Email: heidimparis@gmail.com

         Plaintiff, pro se




                                     IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                               FOR THE COUNTY OF JACKSON


                In the Matter of:
    II

    12

    13

    14

    15
          HEIDI BROWN,                                        Case No.: 22DR17285

    16                        Petitioner,
                                                                              ~
    17    vs.                                                            i--?
    18
          ARNAUD PARIS,                                            ~'Y';r
    19
                                                            -1-AME:Mt,rEfrLIMITED JUDGMENT
                              Respondent                      REGARDING CUSTODY, PARENTING
    20                                                        TIME, AND CHILD SUPPORT AND
                                                              MONEY AWARDS
    21

    22

    23
                             THIS MATTER comes before the Court for a hearing on custody, parenting tiine,
    24

    25
         and child support. Mother (petitioner) appeared with her attorney, Taylor Murdoch. Father

    26

    27

    28            1 LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD

         SUPPORT; AND MONEY AWARDS - 1


                                                                                  EXHIBIT 1 - PAGE 1


                                                                                                  EXHIBIT 6
                                                                                              Page 15 of 118
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         (respondent) did not appear. This court, after reviewing the testimony and submissions by

         mother, is now fully advised and makes the following findings:

            (I) Mother and Father are the parents ofE      and         ,. Additional infonnation concemin

            the children can be found on the parties' UTCR 2.130 Confidential Information Forms.

            (2) At the time of the filing of this ewe, neither party had resided in the United States for a
ti
~
0
            period of (6) months immediately prior to filing this Petition for Dissolution. Therefore, ther

~
GI          was no home state for the children under ORS 109.74l(l)(a). However,jurisdiction is proper
;


~10         under ORS 109.74l(b) and the UCCJBA for all of the reasons set out in paragraphs 4 and 8

            of mother's amended petition. The court finds the facts set out in those paragraphs as
    II

    12      accurate. It further finds that venue is proper because at least one party resided in Jackson

    13      County at the time of the case's filing.
    14
            (3) At the time of the original filing of this petition, Mother was not aware of any other
    IS
            domestic relations suits or petitions for support pursuant to ORS l 08.110 involving the
    16
            parties pending in any other court in the state of Oregon or in any other jurisdiction.
    17

    18      (4) Subsequent to the filing of this case, Father obtained an order regarding custody and

    19      parenting time from a court in France and attempted to register that judgment in Jackson
    20
            County (case# 23DR08269). On August 18, 2023, this court entered a Limited Judgment R
    21
            Registration which determined that France has no jurisdiction in this matter and that declined
    22

    23
            to confirm the registration. No other judgment is presently pending that can be registered.

    24      (5) Mother's annual income is $120,000; Father's annual income or earning capacity is set b
    25      the court at $130,000. Father was se:.ved with the Petition requesting support in October,
    26
            2023. Mother incurs costs of approximately $3,000 to see the children in France each trip.
    27

    28   _ . ___ ) LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
         SUPPORT; AND MONEY AWARDS - 2


                                                                                  EXHIBIT 1 - PAGE 2


                                                                                                    EXHIBIT 6
                                                                                                Page 16 of 118
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                 (6) The things alleged in paragraph 10 of the Mother's amended petition are found by the

                 court to be accurate. Among these are the following findings: Father violated this court's

                 October 11, 2022 Temporary Protective Order of Restraint by taking the children to France

                 and secreting them from Mother in July of 2023; Father has denied Mother virtually all

                 parenting time since the abduction; until the abduction, Mother has always been the
-...
 u
 ~
 0
                 children's primary caregiver; and it is in the best interests of the children that mother be
(.)
-c8
 (I)             awarded custody.
.;::::

~        I       NOW THEREFORE, IT IS HEREBY ADJUDGED:
     10
                 (1) Sole custody of the children is awarded to Mother.
         II

         12      (2) Parenting time is awarded to Father according to the attached "Parenting Plan Exhibit l."

     13          Father's parenting time will be expanded once he meets the criteria in the attached "Detailed
         14
                 Terms and Conditions." The expansion, which will replace the parenting time set out in the
         15
                 "Parenting Plan Exhibit 1," will be a~ follows:
         16
                         •   The first weekend of each month from 6:00 p.m. Friday until 6:00 p.m. Sunday
         17

         18             •    Winter Break: Father shall have parenting time for one week of school Winter

         19                  Break every year with the week including Christmas Day in Odd-numbered years
     20
                         •   Spring Break: Father shall have parenting time for Spring Break in Even-
     21
                             numbered years
     22

     23
                        •    Thanksgiving Break: Father shall have parenting time for Thanksgiving Break in

    24                       Even-numbered years

     25

    26

     27

     28         _____ , _ LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
              SUPPORT; AND MONEY AWARDS - 3


                                                                                       EXHIBIT 1 - PAGE 3


                                                                                                        EXHIBIT 6
                                                                                                    Page 17 of 118
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                  •   Holiday Weekends: There will be no planned holiday weekend parenting time

                      unless both parties agree to it in writing. Holiday weekends include: Martin

                      Luther King, Jr. Birthday, President's Day, Memorial Day, and Labor Day.

                  •   Child's Birthday: Father shall have the option to have parenting time for the

                      children's birthday in Even-numbered years.

                  •   Summer Vacations: Father shall have parenting time with the children for Four

                      Weeks, exercised in Two 2-week blocks, separated by at least one week with

                      Mother. Before April 1 of each year, Father shall notify Mother, in writing, ofth

                      dates chosen for summer parenting time. Mother has the right to choose the dates
II

12                    for Father's summer parenting time if Father does not give notice before April 1.

13                    Father's summer parenting time shall end at least seven days before the children's
14
                      first day of school.
15
                  •   Phone Calls:
16
                          o Father will have phone calls twice per week with the children for up to 30
17

18                            minutes between the hours of 4pm and 8pm PST when the children are

19                           with Mother. Regular times and days will be determined by Mother to
20
                              allow for extracurricular activities.
21
                          o Mother will have phone calls twice per week with the children for up to 3
22

23
                             minutes when Father is exercising his parenting time.

24    (3) Father will observe the following rules when he is exercising his parenting time with the
25    children:
26
        1. Father will not consume drugs or alcohol while he is exercising his parenting time
27

28             LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
                  1


     SUPPORT; AND MONEY AWARDS - 4


                                                                              EXHIBIT 1 - PAGE 4


                                                                                                EXHIBIT 6
                                                                                            Page 18 of 118
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        2. Father will not have a member of the opposite sex who is not related to them by blood or

            marriage stay overnight.

        3. Father must have Children home by 8pm on school nights and by 9pm on weekend night

            unless specifically agreed upon by both parents in writing via email prior to the extended

            time outside the home.

       (4) Mother does not request, and based on Father's conduct herein, the Court does not order

     that Father receive the benefit of the provisions included in ORS 107 .154 i.e. the rights generally

     available to noncustodial parents in the State of Oregon.

      (5) Pursuant to ORS 107.164, Father should have a continuing responsibility to:
II

12          (a) Provide his home (not just mailing) address; home, work, and mobile telephone

13          numbers; and email address to Mother; and
14
            (b) Each parent shall have a responsibility to notify the other party of any emergency
15
            circumstances or substantial changes in the children's health.
16
            (c) Based on Father's conduct hernin, and his disregard of court orders to the detriment o
17

18          Mother, Mother shall have no duty to provide her exact home address, or her home,

19          work, and mobile telephone number to Father, except as she chooses.
20
      (6) Pursuant to ORS 107.159, neither parent may move to a residence that is more than 60
21
      miles further distant from the other parent without giving the other parent reasonable notice of
22

23
      the change of residence and providing a copy of such notice to the court.

24    (7) Child support, in conformance with Oregon's Uniform Child Support Guidelines, is

25    $990.00 monthly, payable by Father to Mother. Mother incurs approximately $3,000 in order
26
      to visit the children in airfare, lodging, and meals in France, where the children are currently
27

28            •LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 5


                                                                              EXHIBIT 1 - PAGE 5


                                                                                               EXHIBIT 6
                                                                                           Page 19 of 118
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      located, in violation of this court's orders. There is a basis to depart from guideline support to

      include those airfare, lodging, and meals costs as support herein as well to ensure that Mother

      is able to exercise consistent parenting time until such time as Father complies with this court's

      orders. Father shall pay to Mother the amount of support that is in conformance with the

      Guidelines, plus the rebuttal factors above, for a total monthly cash support obligation of

      $3,990 per month. Support should be paid in accordance with a wage withholding order as

      required by ORS Chapter 25. The Department of Justice should provide collecting, accounting,

      distribution, and enforcement services in accordance with the provisions of ORS 25.020. All

      support payments due prior to the Department of Justice providing these services should be
11

12    made directly to the parent entitled to receive the support. All support payments due after the

13    Department of Justice begins providing these services should be paid through the Division of
14
      Child Support, Department of Justice, P.O. Box 14506, Salem, Oregon 97309. Each party
15
      should notify the Department of Justice, Child Support Program, P.O. Box 14506, Salem,
16
      Oregon 97309, of any changes in that party's home or business address within ten (10) days
17

18    after such change.

19    (8) Father departed to France with the minor children, in the court's view, criminally, and
20
      accordingly the dependency exemption on account of the parties' children shall be claimed by
21
      Mother for 2023 and 2024. In any other future year, the dependency exemptions shall be
22

23
      shared in accordance with federal and state tax regulations.

24    (9) Father shall comply with the following additional provisions:
25      1. Father should immediately pay for past travel expenses, lodging and meals to and from
26
           France for Mother to see children in the amount of $2,945.00.
27

28           ) LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 6


                                                                              EXHIBIT 1 - PAGE 6


                                                                                               EXHIBIT 6
                                                                                           Page 20 of 118
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       (10) Father shall provide health insurance for the children. The obligation to provide health

      insurance for ( ] and._ __. should be set in conformance with Oregon's Uniform Child

      Support Guidelines. The following additional provisions must be complied with:

           (a) Father shall provide Mother with the name and address of the insurer, the policy

            number, and claim forms, and should fully cooperate in making claims on said policy.

           This includes an affirmative duty to promptly advise the other parent whenever there is a

           change in provider or coverage. A copy of the policy and any explanation of benefits pai

            by the insurer should be provided upon request.

           (b) Benefit Payments -- All insurance claim forms should be marked to instruct the
II

12         insurer to pay benefits directly to the care provider rather than to either parent. Any

13          reimbursement checks issued by the insurance company should be the property of the
14
           party who actually paid money out-of-pocket for the charge for which the reimbursemen
15
           is being paid. The non-paying parent should turn over any reimbursement checks that
16
           party may receive to the paying parent within five (5) days of receipt.
17

18         (c) Utilization of Coverage -- The terms of the actual policy of insurance should be

19         controlling on any issues that may arise as to the eligibility of a child for coverage under
20
           the terms of the insurance. The terms of the available health insurance may require that a
21
           child sees medical care providers other than those the child currently sees. Each party
22

23         should utilize available health insurance to the fullest extent possible. Any expense that

24         could have been covered by available health insurance but was not because a party did
25         not properly utilize available health insurance should not be considered a reasonable
26
           expense that the other parent would need to pay a part of.
27

28           ,, LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 7


                                                                             EXHIBIT 1 - PAGE 7


                                                                                               EXH IBIT6
                                                                                           Page 21 of 118
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           (d) Uninsured Health Care Costs -- Each parent should pay one-half of all of lQ and


            --     ' s reasonably incurred medical, optical, hospital, dental, prescription, counseling,

           and orthodontic expenses that are not covered by insurance so long as the child for whom

           the expense is incurred qualifies to receive child support. This does not include ordinary

           expenses such as bandages, non-prescription medication, and co-pays for doctor's well

           visits. It is the responsibility of the parent who incurs an uninsured expense to promptly

           request payment from the other parent of any such expenses. The obligated parent should

           make reimbursement to the other parent within thirty (30) days of receipt of the payment

           request and proof that the claim has been submitted to insurance and the insurance
II

12         company has paid or rejected the claim.

13    (11) Father has repeatedly harassed Mother's place of work, private businesses, court staff,
14
      family members and friends. Father should be restrained from contacting via email, telephone,
15
      letter or in person Mother's place of work, insurance or utility companies, banking or financial
16
      entities unless through a lawyer competent to practice law in this state. Father is restricted from
17

18    contacting mother by phone, email or other written communication, or in person unless throu

19    a lawyer of this state unless it is in direc~ relation to parenting time, or medical, dental
20
      orthodontics insurance, treatment or appointments. Except to exchange the children as set out
21
      by the parenting plan, Father is not allowed to appear without the consent of Mother at
22
      Mother's home, place of work or any other location where Father is aware Mother will be
23

24    present unless previously arranged in writing via email with both Father and Mother agreeing.
25    (12) Mother is currently providing 1000 Euros to father per month to support the children
26
      while they are being held in France against this court's orders. Father should immediately
27

28            , LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 8


                                                                               EXHIBIT 1 - PAGE 8


                                                                                                  EXHIBIT 6
                                                                                              Page 22 of 118
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      repay all past child support funds provided by Mother starting in September 2023 and

       immediately reimburse any future child support fund transfers made by Mother until Father

       complies with court orders and returns the children to Mother. There are no other pending chil

       support proceedings in this state or any other state.

       (13) Father should pay Mother's attorney fees and costs, as authorized by ORS 107.lOS(l)G),

       ORS 109.103, ORS 109.811. Mother shall submit a fee petition as provided by ORCP 68.

                           MONEY AWARD #1 - RETROACTIVE SUPPORT

     Judgment Creditor:                             Heidi Brown

                                                    2256 Abbott Avenue
11

12                                                  Ashland, OR 97520

13                                                  Phone: 541-944-2066
14
     Judgment Debtor:                               Arnaud Paris
IS
                                                    13 rue Ferdinand Duval
16
                                                    Paris, France
17

18   Other information debtor:                      See UTCR Confidential Information Form

19   Judgment Amount:                               $12,870, due upon entry of judgment
20
     Interest:                                      9% annual interest on each payment as it becomes
21
                                                    due
22

23
     Accrued Arrears:                               None

24

25                                MONEY AWARD #2 - CHILD SPPORT
26
     Judgment Creditor:                             Heidi Brown
27

28   __ ___ _  LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
     SUPPORT; AND MONEY AWARDS - 9


                                                                             EXHIBIT 1 - PAGE 9


                                                                                              EXHIBIT 6
                                                                                          Page 23 of 118
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                                                 2256 Abbott Avenue

                                                 Ashland, OR 97520

                                                 Phone: 541-944-2066

             Judgment Debtor:                    Arnaud Paris

                                                 13 rue Ferdinand Duval
-...
 u
 e,
 0
                                                 Paris, France
(.)
i::B
 (I)         Other information debtor:           See UTCT Confidential Information Form
.;::::
j            Judgment Amount:                    Child Support of $3,990 monthly, due on January 1,
         I
     10
                                                 2024, and continuing on the 1st day of each month
     II

     12                                          thereafter payable until the children have reached

     13                                          age 18 or, if they continue attending school, until
     14
                                                 they have reached age 21.
     15
             Interest:                           9% annual interest on each payment as it becomes
     16
                                                 due
     17

     18      Accrued Arrears:                    $2,950

     19

    20

     21

    22
                                               J)~J~O~~       David J. rr
                                                          Circuit Court;.dge
    23

    24
                                                /(-d-ff-#-02 s
    25                                         /J. -J-? -~ o;l 3
    26                                                                003
    27

     28                LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
             SUPPORT; AND MONEY AWARDS - 10


                                                                          EXHIBIT 1 - PAGE 10


                                                                                             EXHIBIT 6
                                                                                         Page 24 of 118
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    II

    12                               UTCR CERTIFICATE OF READINESS

    13           This judgment is ready for judicial signature because it presented in open court with the
    14
         parties present.
    15

    16

    17

    18
                                                       HeidiJfrown
    19
                                                       Petitioner     /   b
    20
                                                       Date:      / J? 25   O? Z:.
                                                                      l      7      -
    21

    22

    23

    24

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    27

    28             LIMITED JUDGMENT FOR CUSTODY, PARENTING TIME, AND CHILD
         SUPPORT; AND MONEY AWARDS - 11


                                                                                 EXHIBIT 1 - PAGE 11


                                                                                                  EXHIBIT 6
                                                                                              Page 25 of 118
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              Heidi Brown
              2256 Abbott Avenue
              Ashland, OR 97520
              Telephone: (541) 944-2066
              Email: heidimparis0lgrnail.com

              Plaintiff, pro se


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 (I)
.;::::
                                      IN THE CIRCUIT COURT OF THE STATE OF OREGON
·;::9
~I
         10
                                                FOR THE COUNTY OF JACKSON

         11

         12
                    In the Matter of:

         13

         14

         15

         16
              IN THE MATER OF HEIDI BROWN,                Case No.: 22DR17285

         17
                              Petitioner,

         18   vs.                                         ADDITIONAL TERMS & CONDITIONS IN
                                                          THE AMENDED PETITION FOR
         19
              ARNAUD PARIS,
                                                          DISSOLUTION OF DOMESTIC
                                                          PARTNERSHIP AND TO ESTABLISH
         20                                               CUSTODY, PARENTING TIME, AND
                              Respondent
         21
                                                          CHILD SUPPORT

         22

         23

         24
              The ADDITIONAL TERMS & CONDITIONS in the AMENDED PETITION FOR
         25
              DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO ESTABLISH CUSTODY,
         26

         27   PARENTING TIME, AND CHILD SUPPORT should be included as part of the Limited

         28
              ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
              PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 1



                                                                          EXHIBIT 1 - PAGE 12


                                                                                         EXHIBIT 6
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     Judgment in the AMENDED PETITION FOR DISSOLUTION OF DOMESTIC

     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD

     SUPPORT due to the risk of harm to Children and to ensure Children's safety and regular access

     to Mother.



                                           FINDINGS OF FACT


        1. Respondent (Father) has deprived Petitioner (Mother) of virtually all parenting time since

            July 23, 2023, pursuant to the ORDER RE CONTACT [EXHIBIT 1- Order RE Contact].
11
            Father knowingly violated an active TPOR status Quo Order issued by this court
12
            restricting the children to the State of Oregon and absconded with them to France on or
13
            about July 22, 2023 - [EXHIBIT 2 - TPOR Status Quo] despite the additional ruling fro
14

15          the Oregon Supreme Court upholc:.ing the continuing validity of the TPOR several weeks

16          earlier [EXHIBIT 3- Oregon Supreme Court Ruling July 11, 2023]. Father
17
            misrepresented the status of the registration of the French judgment as well as the TPOR
18
            to French Consular authorities [EXHIBIT 4 - Letter from Consulate], Customs and
19
            Border Patrol.
20

21      2. Due to the Father's history ofviohting an active TPOR and parenting time orders issued

22          by this court, as well as lying to authorities, Father should be considered a clear risk of
23
            parental abduction.
24

25

26                                ADDITIONAL TERMS & CONDITIONS

27

28
     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 2



                                                                            EXHIBIT 1 - PAGE 13


                                                                                               EXHIBIT 6
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     Due to the high-risk nature of the situation and Father's willingness to break criminal statutes,

     Father should only be allowed the parenting time detailed in the attached PARENTING PLAN

     EXHIBIT 1 after the following Terms and Conditions are met:



              1. A final General Custody and Parenting Time judgment is made in the State of Oregon.

              2. The final Oregon Custody and Parenting Time judgment is registered and enforced in

     France as well as all other states and counties where Father registered the French custody

     judgment and any other counties, states, or countries where Father has commenced court

     proceedings related to Custody and Parenting Time.
11

12            3. No other duplicative or frivolous custody proceedings initiated by Father are pending

13   in France, in this state or in any other state, county or jurisdiction.
14
              4. No other custody judgments are active and valid in any other state, county, country or
15
     jurisdiction.
16
              5. A determination is made by a li~ensed psychologist from Jackson County that Father
17

18   poses no physical or psychological risk to the children and this determination is confirmed by th

19   court.
20
              6. A determination is made by a licensed psychologist from Jackson County that Father
21
     no longer poses a risk of parental abduction and this determination is confirmed by the court.
22
              7. A determination is made by this court that Father no longer poses a risk of abducting
23

24   the children.

25

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     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 3




                                                                               EXHIBIT 1 - PAGE 14


                                                                                               EXHIBIT 6
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              8. Father has established a permanent place of residence that can adequately and safely

     accommodate the children. Specifically, Father's residence includes a separate bedroom for the

     children in a safe environment.

              9. During father's visitation time, father is required to pay for all travel, lodging and

     meals to exercise parenting time.

              10. Father must not be facing criminal charges relating to the children in this state or any

     other state, territory, France or any other country.

              11. Father has posted a bond for $150,000, payable to mother, in the event that father

     takes the children out of Oregon in violation of the parenting plan. In case of dispute between th
11

12   parties, the court will have jurisdiction to choose the entity that secures the bond and to rule in

13   forfeiture.
14

15
     After father has met these conditions and unless Mother provides express consent in writing, the
16
     children will be restricted to the State of Oregon while Father is exercising his parenting time.
17

18   Mother's consent may be conditional on father agreeing to a predetermined amount of time with

19   a specified destination and return date and time and agreed upon by Mother prior to their
20
     removal from the State of Oregon.
21

22

23

24   Dated:

25

26
                                                            Heidi Brown, pro se
27

28
     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 4




                                                                               EXHIBIT 1 - PAGE 15


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     ADDITIONAL TERMS & CONDITIONS IN THE AMENDED PETITION FOR DISSOLUTION OF DOMESTIC
     PARTNERSHIP AND TO ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 5




                                                                EXHIBIT 1 - PAGE 16


                                                                                EXHIBIT 6
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                                                      (Option A - Supervised)
..,,I
N
0                                   IN THE CIRCUIT COURT OF THE STATE OF OREGON
!::!
co                                          FOR THE COUNTY OF Jackson
-
!::!
N

~
'6,
        Petitioner _H_e_id_iM
                            _ _ar_ie_B_r_m_vn_   _ _ __          )
·;:                                                              )      CASE NO: 22DR 17285

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 >,
CL
                 and                                             )
                                                                 )      PARENTING PLAN
8 Respondent _ A_m_a_u_d _Par_is_ _ __ __                        )      Exhibit 1
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(.)
'O
.! 1.            The Parties. Petitioner and Respondent are the parents of:
jl                                                                                      Date of Birth
                                                                                              .    2015
                                                                                     ~=~
                                                                                 --'==1..[].2015




        They shall be collectively referred to as "the children" throughout this parenting plan.

        The residential parent is the parent with whom the children live most of the time and who also has legal
        custody of them.

                 Petitioner shall hereafter be referred to as the (check one):          [X] Residential parent
                                                                                        [ ] Non-residential parent

                 Respondent shall hereafter be referred to as the (check one):          [ ] Residential parent
                                                                                        [X] Non-residential parent

        2.       Parenting Time. (choose only one):

                 []        No Parenting Time. The non-residential parent shall have no contact with the children until
                           further court order. All parenting decisions shall be made by the residential parent.

                 fx]       Supervised Parenting Time. Whenever the children are with the non-residential parent,
                           the supervisor shall be present. The non-residential parent has the right to spend time with
                           the children even though the residential parent will be making most, if not all, of the
                           parenting decisions which need to be made on the children's behalf. The children shall be
                           with the non-residential parent on any sc11edule agreed to between the parents, but not less
                           than is set forth in the following supervised schedule (choose only one):

                        [x ]        -=---hours per week. The place(s), day(s), and time(s) shall be set by the
        residential parent.
                        [ ]         From _ __             m. to _ __       m. on the following day(s):_ _ _ __



        Page 1 of 3 - SAFETY FOCUSED PARENTING PLAN (Option A - Su~R.~\R1i'.(!jij 17


                                                                                                          EXHIBIT 6
                                                                                                      Page 31 of 118
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             3.      Supervisor. The person supervising the parenting time shall (choose only one):
         I
(")
~                    [X]    Be selected by the residential parent.
~
00
~
~                    [ ]    Be selected by the non-residential parent, subject to the residential parent's prior approval.
iii
 C
"c, 4                Access to Activities and Events. The non-residential parent (choose only one):
·;:

-
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 >,
 a.
                     [X]    Shall not attend the children's school activities and athletic events.
 0

-...
(.)
 u
 f
                     [ ]    May attend the children's school activities and athletic events.

8 5.                 Child Safety. The non-residential parent shall follow the safety rules check below. If the non-
"C
 (I)                 residential parent violates any of the rules below, the residential parent may seek the court's help
.;::::
                     through a contempt action. In addition, if the violation poses an immediate threat to the child(ren),
~I                   the specific parenting time may be stopped.

                     (Check all safety rules that apply):

                     [x]    There shall be no firearms in the non-residential parent's home, car or in the children's
                            presence during parenting time.

                     [X]    The non-residential parent shall not consume alcoholic beverages beginning 12 hours before
                            the children arrive up to the pDint they are returned to the residential parent.

                     [X]    The children shall not be physically disciplined.

                     [ ]    The following person(s) present a danger to the children and shall not be present during
                            parenting time _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                     [X]    The non-residential parent shall not be under the influence of intoxicating liquor or a
                            controlled substance (e.g. drugs) as said terms are defined in ORS 813.010 during any
                            period of time that he or she is to be with the children.

                     [ ]    Other:



             6.     Location. The nonresidential parent shall spend his/her parenting time with the child(ren) at the
             following location(s):

                     [x]    Supervised visitation center.

                     [x]    _ _ _ _ _ _ _ (l: : ati: n) or any other location designated by the residential parent.

                     [ ]    Any location designated by the nonresidential parent with approval by the supervisor.




             Page 2 of 3 - SAFETY FOCUSED PARENTING PLAN (Option A - Supervised)
                                                                       EXHIBIT[Rev    6/03] 18
                                                                                 1 - PAGE


                                                                                                            EXHIBIT 6
                                                                                                        Page 32 of 118
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             7.        Exchange Point. The exchange of the child(ren) shall occur at (Choose all that apply):
         I
(")
N
0
                       [X]      The site of the supervised visit.
~                      [X]      Other (describe)- =Mother's Home
00
~
                                                       =~==---------------------
....N                  [ ]      The nonresidential parent may not come to the exchange point.
iii
 C
"c, 8.                Transportation. The residential parent or other person chosen by the residential parent shall be
·;:

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 >,
 Q.
                      responsible for transporting the child(ren) to the exchange point. The child(ren) shall be picked up
                      and/or returned to the exchange point by (choose only one):
 0

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(.)
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 0
                       [x ]
                       [ ]
                                The nonresidential parent with the supervisor present.
                                The supervisor alone.
(.)
"C
 Cl)                  The child(ren) shall not be driven in a car unless the driver has a valid driver's license, auto
.;::::
·;:                   insurance, seat belts, and child safety ~eats as required by Oregon law.
~I
             9.       Communication with the Children. The non-residential parent (check all that apply):

                      [ ]       Shall not telephone, write, or email the children unless the contact is agreed to in advance
                                by the residential parent.
                       [ ]      May write or e-mail the children at any time. Each parent shall provide a contact address
                                (and e-mail address if appropriate) to the other parent.
                       [X]      May call the children on the telephone _2_ times per week. The call shall last no more than
                                15 minutes and shall take place between _6_ ....Q_.m. and _8_ __Q_.m. Long distance
                                telephone calls made by the children shall be paid for by the parent receiving the call. Each
                                parent shall provide a telephone number to the other parent.

             10.      Changes to the Parenting Plan. A specific parenting time may be denied due to the safety
                      concerns listed in Paragraph 5. Changes to the parenting plan are allowed whenever both parents
                      agree to a change. Agreed upon changes will be temporary and will be enforced by the court only
                      if the change is written down, is dated, signed by both parents before a notary public and submitted
                      to the court leaving a space for the judge's signature. See ORS 107.174.

             11.      This is part of a Court Order when attached to a signed Judgment. Each party has been put on
                      notice that an intentional failure to follow the rules of this parenting plan is punishable through the
                      contempt powers of the court. One parent's failure to comply with the rules does not excuse the
                      other party from following the rules.

             12.      Signature(s)

                      Your signature below indicates that you have read and agree with what has been decided and written
             in this document.

                      Petitioner:       Heidi M. Brown                                        [ ] Respondent   [ ] Co-Petitioner

                      Signature ~ ;,/2__ Date 12/11/2023                                      Signature               Date

             Rev 6/03
             Source \Parenting Plans\SFPPWG\Vers1on-4\ParentmgPlanOptionA-Ver04 6-23-03 wpd


                                                                        EXHIBIT[Rev
             Page 3 of 3 - SAFETY FOCUSED PARENTING PLAN (Option A - Supervised) 1 - PAGE
                                                                                     6/03] 19

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                                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                FOR THE COUNTY OF JACKSON

                                                         Family Law Department

                In the Matter of:
                                                               )
                Heidi Brown,                                   ) Case No.: 22DR17285
                                                               ) Related Case No.: 23DR08269
        9                                Petitloner,           )
                            and                                ) ORDER RE: CONTACT
       10                                                      )
       11       Arnaud Paris,                                  )
                                                               )
       12                                Respondent.           )

       13

       14              THIS MATTER came before the Court for hearing on June 21, 2023. Petitioner Heidi

       15       Brown appeared in person and her attorney, Taylor L. M. Murdoch, of her attorneys Buckley Law,
       16       PC, appeared remote1y. Respondent Arnaud .Paris appeared in person, and his attorney Thomas
       17
                Bittner, of his attorneys Schulte Anderson, appeared remotely.
       18
                       The Court, having received argument from counsel and the parties, and fully advised in
       19
                the premises, makes the following
       20
                       FINDINGS OF FACT
       21
                        I. Mother and Father are the unmarried parents of two minor children, IQ and._ _
       22
                           P      , age 8.
       23

       24

       25
                Page 1 - ORDER                                                             Buckley Law PC
                                                                                   5300 SW Meadows Rd., Ste. 200
                                                                                       Lake Oswego, OR 97035
                                                                                 Tel: ~~OJ.FiLip~:f¥M878
                                                                                        tl!n@buckley-law com


                                                                                                       EXHIBIT 6
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       ~         1             2. A Temporary Protective Order of Restraint was signed on October 7, 2022. The
       00
       ~
       ~ 2                         Temporary Protective Order ofRestraint remains in full force and effect. The parties
       iii
       C
       "c, 3
       ·;:                         exchange the children on Sundays.
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       Q.
                               3. The Court's findings on the record of June 21, 2023 as reflected in Exhibit 1 are
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       u
       Cl)

       ~ 6
                                   incorporated herein as if fully set forth.

       (.)
       "'C
                         NOW THEREFORE, IT IS HEREBY ORDERED:
       ~7
       ·;:
       Cl)                     1. Calls. Whenever the children desire to call the parent with whom they are not having
       >I 8

                                  parenting time, the parent with whom they are with will facilitate such a call. In
                 9
                                  addition, there will be two points during the week where either parent can call and do a
           10

           11                     check-in and speak with the children, at 7:30 pm Pacific Standard Time, on Tuesdays

           12                     and Thursdays.

           13                  2. Discus;,,•ing the Case. Neither parent will discuss the pending litigation with the

           14                     children.                                     8/3/2023 2.03:14 PM


           15

           16                                                                   ~~.....<.

           17
                                                                                                            7
                                                                                           Circuit Court Judge David J. Orr

           18

           19
                         UTCR 5.100 CERTIFICATE OF READINESS: This proposed order is ready for judicial
           20            signature because opposing counsel agreed to file ohjections independently.

           21
                               DATED this          of June, 2023.
           22
                                          8/3/2023
           23
                                                               By:
           24                                                          Taylor L. M. Murdoch, OSB No. 111307
                                                                       tlm@buckley-law.com
           25                                                          of Attorneys for Mother
                         Page 2 - ORDER                                                                         Buckley Law PC
                                                                                                        5300 SW Meadows Rd., Ste. 200
                                                                                                            Lake Oswego, OR 97035
                                                                                                      Tel: 503-620-8900
                                                                                                            EXHIBIT 1Fax:   503-620-4878
                                                                                                                         - PAGE    21
                                                                                                              tlm@buckley-law.com


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            CERTIFICATE OF SERVICE:               I certify that I served on July 31, 2023, a complete and exact
            copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
            delivering a true copy to the following address, as follows:


            Thomas A Bittner
            Schulte Anderson
            811 SW Naito Pkwy Ste 500
            Portland OR 97204


                    DATED this     u       day of July, 2023.



       9

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            Page 3 - ORDER                                                               Buckley Law PC
                                                                                 5300 SW Meadows Rd., Ste. 200
                                                                                     Lake Oswego, OR 97035
                                                                                    503-620-89001Fax:
                                                                               Tel: EXHIBIT           503-620-4878
                                                                                                  - PAGE    22
                                                                                       tlm@buckley-law.com


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     00                 1              IN THE CIRCUIT COURT OF THE STATE OF OREGON
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                        2                           FOR THE COUNTY OF JACKSON
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      Q.
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                        4   In the Matter of:


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      Cl)

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                            HEIDI MARIE BROWN,

                                              Petitioner,
     (.)
     "'C
      Cl)
     .;::::             7       and                               Case No. 22DR17285
     ·;:

     ~I                 8   ARNAUD PARIS,                         Case No. 23DR08269

                        9                     Respondent.

                       10

                       11

                       12                             EXCERPT OF PROCEEDINGS

                       13                                      Pages 1 to 9

                       14

                       15

                       16              BE IT REMEMBERED THAT on June 21, 2023, the

                       17   above-entitled case ca~e on regularly for hearing before

                       18   The HO~ORABLE DAVID J. ORR, a Circuit Court Judge.

                       19

                       20   APPEARANCES:

                       21        Taylor LM Murdoch, Appearing via Webex
                                 Attorney at Law
                       22        Representing the Petitioner

                       23        Thomas A. Bittner, Appearing via Webex
                                 Attorney at Law
                       24        Representing the Respondent

                       25

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                                                       Certified Court Reporters
                                                            (503) 747-5706


                                                                                   EXHIBIT 1 - PA


                                                                                                  EXHIBIT 6
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     C
    "c,                3                     THE COURT:       Do either -- Mr. Bittner, you
    ·;:

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     a.
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                       5
                           were trying to address this issue?

                                             MR. BITTNER:          Yeah, Your Honor.     Look,
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    -......
    (.)
     u
     Cl)

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                       6   these -- they've exchanged the kids successfully for
    (.)
    "'C                7   you know, since last October.                I think we should let
     Cl)
    .;::::
    ·;:
                       8   them be.       And I want to object to you modifying your
    ~I
                       9   status quo order.           I've explained to you that any effort

                      10   you make to alter what's going on is in contravention to

                      11   the judgment in France, and you don't have modification

                      12   jurisdiction.         So I'm just making a record.            I'm

                      13   pointing it out.           You're going to do what you want to

                      14   do.     I get it.       So, you know --

                      15                     THE COURT:       You've made the record multiple

                      16   times.      That's not what I was asking.            I was asking for

                      17   your proposal in terms of how to address the problem

                      18   that is, that is at hand here.                Yeah, I understand that

                      19   you believe Oregon doesn't have jurisdiction.                   That may

                      20   well be the case.           As of now, that has not been

                      21   determined.         I will make such orders as are necessary

                      22   that are in the best interests of the children.

                      23              Let's talk about what we're going to do here with

                      24   regards to the parents talking to the children,

                      25   Mr. Bittner.

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                                                                                       EXHIBIT 1 - PAGE 24


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                                                                                          Page 3
              I
    (")
    N
    0                  1                    MR. BITTNER:       I guess my point is, what have
     ~
     00
     ~                                                                       It seems to have
    ....
    N                   2   they historically done this past year?
     iii
      C
    "c,                 3   been fine.      So I don't know that the Court needs to
    ·;:

    -0
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      >,
      Q.
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                        4

                        5
                            intervene.      They may be going through a rough patch,

                            but, you know, this wa3 not the form, the time, the

     -......
     (.)
      u
      Cl)

      0
                        6   place.    You know, I do~•t know that there is a problem.
    (.)
     "'C
                        7   They've never complained to me -- or my clients never
      Cl)
     .;::::
     ·;:
                        8   complained to me that the kids haven't been able to
     ~I
                        9   communicate with him or the kids with their mother.

                       10            There have been a lot of complaints from my

                       11   client about things that the girls repeat to him that

                       12   mom says that are really, really bad, and so, you know,

                       13   there is some concern of that.           But the Court has

                       14   chastised both parties and grandparents and whatnot to

                       15   shield the kids, and that's, you know, standard and

                       16   appropriate advice, and I told my client to follow it,

                       17   and I'm sure that Mr. Murdoch has done the same.              So

                       18   they've been told what to do.           They need to make the

                       19   kids available if the kids want to communicate.              And,

                       20   you know, if there needs to be a midweek check in, they

                       21      whatever.       I understand.

                       22            But, but I discourage you from making orders that

                       23   are in modification .           That's a whole different issue

                       24   than what I said before about this Court not having

                       25   jurisdiction to make an initial determinatio n.            Now

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                                                                                EXHIBIT 1 - PAGE 25


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                                                                                          Page 4


                     1     you're making a modificat ion.

                     2               So I'd say let them be and, you know, if
     iii
      C
                     3     somebody' s got a problem, they can file a motion.             But
     "c,
     ·;:

     -
     0
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      >,
      Q.
                     4     jumping in and trying to --

                                             THE COURT:      Well, as long
      0              5

     -...
     (.)
      u
      f
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                     6                       MR. BITTNER:      -- do it on the fly --
     (.)
     "'C             7                       THE COURT:      -- we're in court here, we
      (I)
     .;::::
                     8     might, we might as well get these issues settled to the
     ~I
                     9     extent that it's possible to settle them.             I'm going to

                    10     hear from Mr. Murdoch.

                    11                But, Mr. Paris, what were you trying to say?

                    12                       MR. PARIS:      Actually, I'm the one who

                    13     offered the kids yesterday to call their mother.

                    14                       THE COURT:      You were, you were the one who

                    15     what?

                    16                       MR. PARIS:      I am the one who offered the

                    17      kids to call their --

                    18                       THE COURT:      To what the kids?

                    19                       MR. PARIS:      Sorry.   I am the person who told

                    20      the kids, "Do you want to speak to your mom?" yesterday .

                    21      That phone call was me suggesting to the kids to cal~

                    22      their mom.        They don't necessari ly want to call their

                    23      mom every day, nor do they want to talk to her every

                     24     day.     You know, they're doing lots of fun things.           I am

                     25     the one that was saying to the kids, Do you want to call

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    (")
    N
    0                  1   your mom?        You haven't talked to her for three days.
    ~
    00
    ~
    ....
    N                  2   And I asked, Why do you not want to talk to her every
    iii
     C
    "c,                3   day?     They said, When we're with you, we don't really
    ·;:

    -
    0
     0
     >,
     Q.
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                       5
                           want to talk to mom, and when we're, when we're with

                           morn, we don't really want to talk to you.              Because last
     0

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    (.)
     u
     Cl)

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                       6   week they called me once.             One of them called me once.
    (.)
    "'C
                       7   That's it.        I don't get to speak to them every day.              And
     Cl)
    .;::::
    ·;:
                       8   frankly,      I don't want to fault them.         If they don't want
    ~I
                       9   to talk to me when they're with morn, that's fine.                 I

                      10   suggested that they call their morn yesterday, and they

                      11   said okay.        Sometimes I suggest and they say no.         I

                      12   don't ~hink we should fault these kids.              That's what I'm

                      13   saying.       Even if morn wants to talk to them every day, if

                      14   they don't want to talk to their mom, I don't think we

                      15   should fault them, fault them.

                      16                     THE COURT:       What is the exchange day?       What

                      17   day of the week?

                      18                     MR. PARIS:       It's, it's Sunday.

                      19                     THE COURT:       All right.   Mr. Murdoch,

                      20   anything on all this before I do something?

                      21                     MR. MURDOCH:       Thank you, Your Honor.

                      22              Let's just make sure these kids talk to their

                      23   parents and make sure this is not something where a

                      24   parent is suggesting one way or the other or is somehow

                      25   leading -- leaving it to an eight-year-old's

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                                                                                   EXHIBIT 1 - PAGE 27


                                                                                                      EXHIBIT 6
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                                                                                                Page 6
             I
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    0                  1   determination.          Let's get an order in place saying these
    ~
    00
    ~                  2   kids have to talk to, talk to mom during dad's time and
    ....
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     C                 3   they have to talk to dad during mom's time.                Let's set a
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                           date -- or rather, let's set a time when this happens.

                           It can be every other jay.              But let's make sure -- and

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                       6   an order also directing the parties not to discuss these
    (.)
                       7   matters with -- this case with the children.                    I think
    "'C
     Cl)
    .;::::
    ·;:                8   that's a straightforward thing that protects these kids
    ~I
                       9   and gets them through to the next hearing.

                      10                     THE COURT:        It does sound like we need to

                      11   make some kind of an order.              So here's what it'll be.

                      12             First of all, and I think both mother and father

                      13   are agreeable to this, that the children, whenever they

                      14   desire, are permitted to call the parent that they are

                      15   not with, meaning if they're with dad, if they --

                      16   whenever they want to 8all mom, they get to call mom; if

                      17   they're with mom, whenever they want to call dad, they

                      18   get to call dad, and further, that the parent will

                      19   facilitate that.           Since they're eight and they don't

                      20   have phones, the parent will facilitate that.

                      21              In addition, there will two points during the

                      22   week w~ere either parent can call and do a check-in and

                      23   talk to the kids.           My recommendation is that be, that be

                      24   somewhere around 7:30 in the evening.                I don't know

                      25   you want to do that?              Let's see.    So you exchange

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                                                                                            Page 7


                     1     Tuesday -- excuse me, you exchange Sunday.                Do you want

                     2     to do that Tuesday and Thursday or Tuesday and Friday?
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     "c,             3     What are you requesting, Mr. Murdoch?
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                                             MR. MURDOCH:      Your Honor, I think what the

                           Court is suggesting, on Tuesday and Friday, makes sense.
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                     6     Friday may actually be problematic just because
     (.)
     "'C
                     7     oftentimes families ha7e plans on Friday evening
      (I)
     .;::::
                     8                       THE COURT:      All right.
     ~I
                     9                       MR. MURDOCH:      -- for the upcoming weekend.

                    10     So let's make it Tuesdays and Thursdays.

                    11                       THE COURT:      Tuesday and Thursday.      So you

                    12     can call at 7:30 Tuesday and Thursday.             Heidi will make

                    13     the kids available.

                    14               You can call th~ kids when he has them Tuesdays

                    15     and Thursdays at 7:30.            Mr. Paris will make the kids

                    16     available.

                    17                If they tell yoJ they don't want to talk, you

                    18     tell them, Okay, you don't have to talk.             Just tell your

                    19     dad, or tell your mom, you don't want to talk because

                    20     the other parent needs to hear it from them.                All right.

                    21                       MR. PARIS:      So I would agree with you on

                    22     this.      It's very good 3dvice.         I just can't accept that

                    23     order.      You don't have jurisdiction, Judge.

                    24                       THE COURT:      Okay.   You refuse --

                    25                       MR. PARIS:      And I will (unintelligible)

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    0                  1                     THE COURT:       -- the Court's orders at your
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    ....
    N                  2   peril.
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    "c,                3                     MR. PARIS:       No.
    ·;:

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     >,
     Q.
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                       5
                                             THE COURT:

                                             MR. PARIS:
                                                              So I'm going

                                                              I'm just saying that I will, I

    -......
    (.)
     u
     Cl)

     0
                       6   will challenge that order in Supreme Court.
    (.)
    "'C
                       7                      THE COURT:      Okay.     Well, go ahead and do
     Cl)
    .;::::
    ·;:
                       8   that.      I'm saying it would be not a good idea, and I
    ~I
                       9   think even your attorney would not recommend that you

                      10   disobey the Court's orders at this point until --

                      11                     MR. BITTNER:       Yeah.

                      12                      THE COURT:      -- you have your Supreme Court

                      13   order telling you otherwise.

                      14              Also, Mr. Murdoch, as you were suggesting the

                      15   language about neither parent discussing the case with

                      16   the children is very appropriate and apparently

                      17    necessary here.          So that's where we are.

                      18              Anything else that we have to put on the record

                      19    before we adjourn?

                      20               [END OF EXCERPT:        3:10 PM]

                      21

                      22

                      23

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                                                                                                    EXHIBIT 6
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     "c,                3                     I, Terri Forsyth, a transcrip tionist in the


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                        4   state of Oregon, do he~eby certify that I reported in
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      Cl)               6   upon the hearing of this matter previously captioned
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     "'C                7   herein; that I thereafte r reduced my said stenotype
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                        8   notes to typewritin g; ~nd that the foregoing transcrip t,
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                        9   Pages 1 to 9, both inclusive , constitute s a full, true

                       10   and accurate record of said audio recorded proceedin gs

                       11   to the best of my knowledge , ability, belief, and

                       12   quality of the recording .

                       13              Witness my hand as transcrip tionist at Portla~d,

                       14   Oregon, this 24th day of June, 2023.

                       15

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                       23                                      ':jg.A-,~.,.jt;i,".~j~
                                                               Terri Forsyt-t-1
                       24                                      Transcrip tionist

                       25

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                                                                                        EXHIBIT 1 - PAGE 31


                                                                                                       EXHIBIT 6
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                             IN THE CIRCUIT COURT FOR THE STATE OF OREGON

                                            FOR THE COUNTY OF JACKSON

     IN THE MATTER OF:                                       )
                                                             )                     22DR17285
     HEIDI MARIE BROWN,                                           CASE NO.
                                                             )
                             PETITION ER,                    )    TEMPORARY PROTECTIVE ORDER OF
                                                             )    RESTRAINT
           and                                               )    (Pre-Judgment Status Quo - ORS 107.097)
                                                             )
10   ARNAUD PARIS,
                                                             )
11                           RESPONDENT.                     }

12          This matter came before the court on Petitioner's ex parte motion for a temporary pro-

13   tective order of restraint. Based upon Petitioner's declaration and the other documents on file

14   herein, the court hereby finds the following:

15
16
            1.        The parties' minor children are B           lJ      P   (7) and.
                                                                                          -~    M     ,p   (7).

            2.        Their childr en 's usual place of residence is with Petitioner at 665 Leonard St., in

17   Ash land, Oregon.

18          3.        Their children are currently enrolled and attend school at Bellview Elementary

19   School in Ashland, Oregon .

20          4.        Both parties exercise parenting time with their chi ldren on a roughly equal basis.

21          THEREFORE, IT IS HEREBY ORDERED that Petitioner and Respondent are restrain ed from

22   the following:

23          1.        Changing their children's usual place of residence at 665 Leonard St., in Ashland,

24   Oregon;

25          2.        Interfering with the present placement and daily schedule of their children, which

26   includes attending school at Bellview Elementary School in Ash land, Oregon;

     TEMPORARY PROTECTIVE ORDER OF RESTRAINT {Pre-Judgment Status Quo- ORS 107.097)
     Page 1 of 3

                                                       CARTY I.Aw, P.C.
                                              P.O. Box 4628, Salem, Oregon 97302
                                off1ce@cartylawpc com I (503) 991-5142 I WWW cartylawpc   Th-rrsrr 1 - PAGE 32

                                                                                                          EXHIBIT 6
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r.,,..                ,   I(.




                                       3.      Hiding or secreting their children from the other party;

                                       4.      Interfering with the other party's usual contact and parenting time with their

                                children which is on a roughly equal basis.:

                                       5.      Leaving the state with their children without the written permission of the other

                                party or the permission of the court; and


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                                       6.      In any manner disturbing the current schedule and daily routine of the child until

                                custody or parenting time has been determined or the parties otherwise agree in writing.
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                  12                                                                          ,d)OLA                 ~l?f~A.
                  13                                                                                     Circuit Court Judge David J. Orr

                  14
                  15
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                  17

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              25

                  26

                                TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
                                Page 2 of 3

                                                                               CARTY LAW, P.C.
                                                                        P.O. Box 4628, Salem, Oregon 97302
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                                                                                                                     EXHIBIT 1 - PAGE 33


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                                                                                                                                Page 47 of 118
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                                              UTCR 5.100 Certificate of Readiness
                      This proposed order is ready for judicial signature because service is not required by stat-
              ure, rule, or otherwise.

                     DATED: 10/07/2022
                                                                           CARTY LAW, P.C.




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                                                                           Sarah Bain, OSB No. 202594
(.)                                                                        Email: sarah@cartylawpc.com
-g 8                                                                       Attorney for Petitioner
.;::::

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                                       * * * * * * * * * * * * * * * * * * * * *
         10
                                                                NOTICE
         11   You may request a hearing on this order as long as it remains in effect by filing with the court a
              request for a hearing. In the request you must tell the court and the other party that you object
         12   to the order and specifically why you disagree with the representation of the status quo de-
              scribed in the order. In the request you must also inform the court of your telephone number or
         13
              contact number and your current residence, mailing, or contact address.
         14

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              TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
              Page 3 of 3

                                                             CARTY LAW, P.C.
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                          IN THE SUPREME COURT OF THE STATE OF OREGON

                                              HEIDI MARIE BROWN,
                                              Petitioner-Adverse Party,

                                                         V.


                                                 ARNAUD PARIS,
                                                Respondent-Relator.
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                                         Jackson County Circuit Court
(.)                                             22DR17285
"C
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                                                     S070246
~I
              ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
                               DENYING MOTION TO VACATE

           Upon consideration by the court.

           The petition for peremptory writ of mandamus is denied without prejudice.

           The emergency motion to vacate the trial court's October 11, 2022, status quo order
                                                                                               is
           denied as moot.




                                                                                MEAGAN A. FLYNN
                                                                          CHIEF JUSTICE, SUPREME COURT
                                                                               7 11 2023 4:28 PM




                        DESIGNATION OF PREVAILING PARTY AND AWARD OF COSTS
           Prevailing party. Adverse Party.                                      [ X] No costs allowed.


           c: George W Kelly
              Arnuad Paris
              Hon David J Orr
          w




          ORDER DENYING PETITION FOR PEREMPTORY WRIT OF MANDAMUS AND
          DENYING MOTION TO VACATE
                   REPLIES SHOULD BE DIRECTED TO: State Court Administrator, Records Section,
                         Supreme Court Building, 1163 State Street, Salem, OR 97301-2563
                                                    Page 1 of 1
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                                               Authorization l o travel to France w ith two minor:,




              The Consulate General of France in San Francisco hereby certifies that Mr Arnaud PJ.P::. '. -: -:;~
            1978) is ailowed lo travel to France w1t'1 his two daughters E             L   P          and J             i;
       bot~ born on                        2015.


              A French court granted Mr. PARIS fu 'I custody over his daughters. The judgement has besn re;-.; a· /
       registered in Oregon under No. 23DR08269 and thus it became an Oregon Judgment on the ciay : •:::;s
       registered. May 9. 2023. Therefore ii is an official, registered j udgment entitled to full recogr:1'.:o~                        ,n::
       enforcement by local authorilles


              The Consulate General of France in San Francisco kindly asks CBP for their assistance in letting Mr.
       PARIS and his daughters board their flight to Paris. France.




                                                                                   San Francisco, July 22••CJ 2023




                                           44 Monlgomery Stree t. Suite 3400. San Francisco. CA 941BXHIBIT 1 - PAGE 36
                                       (415) 616-4906 - admin-franca1s.san-franosco-fslt@d1plomatie.gouv fr

                                                                                                                          EXHIBIT 6
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.r




          Heidi Brown
          2256 Abbott Avenue
          Ashland, OR 97520
          Telephone: (541) 944-2066
          Email: beidjmpans@vmaiI com

          Plaintiff, pro se




                                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                                  FOR THE COUNTY OF JACKSON


                 In the Matter of:
     II

     12

     13

     14
          HEIDI BROWN,                                          Case No.: 22DR17285
     15
                              Petitioner,
     16

     17   vs.

     18   ARNAUD PARIS,
                                                                AMENDED PETITION FOR DISSOLUTION
     19                       Respondent                        OF DOMESTIC PARTNERSHIP AND TO
     20                                                         ESTABLISH CUSTODY,
                                                                PARENTING TIME, AND CHILD SUPPORT
     21

     22

     23                       Petitioner, who at the November 14, 2023 hearing was given leave by the court to
     24
          amend her pleadings, hereby alleges the following:
     25
                                                   1. Domestic Partnership
     26

     27

     28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - I



                                                                                   EXHIBIT 1 - PAGE 37


                                                                                                      EXHIBIT 6
                                                                                                  Page 51 of 118
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     Petitioner (hereafter Mother) and Respondent (hereafter Father) have been in an unregistered

     domestic partnership for the past nine years.

                                                     2. Grounds

     Irreconcilable differences between the parties have caused the irremediable breakdown of their

     domestic partnership.

                                                    3. Jurisdiction

     At the time of filing, neither party had resided in the United States for a period of (6) months

     immediately prior to filing the original Petition for Dissolution. Therefore, there was no home

     state for the children under ORS 109.741(1)(a). However, jurisdiction is proper under ORS
11

12   109. 741 (b) because:

13                   ( 1) there is no home state,
14
                     (2) the child and the child's parents, or the child and at least one parent or a
15
                    person acting as a parent, has a significant connection with this state other than
16
                    mere physical presence, and
17

18                  (3) substantial evidence is available in this state concerning the child's care,

19                  protection, training and personal relationships.
20
                    (4) The court has personal jurisdiction over Father and Mother because the
21
                    petition on file herein was filed in the state of Oregon and at the time of filing
22

23
                    both parties resided in Jackson County, Oregon.

24                                                   4. Venue
25   At least one party resided in Jackson County at the time of the filing of this Petition for
26
     Dissolution.
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 2



                                                                               EXHIBIT 1 - PAGE 38


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                                               5. Other Proceedings.

     At the time of the original filing of this petition, Mother was not aware of any other domestic

     relations suits or petitions for support pursuant to ORS 108.110 involving the parties pending in

     any other court in the state of Oregon or in any other jurisdiction.



                                                 6. Statutory Data.

     Mother's current residential address is 2256 Abbott Ave., Ashland, OR 97520. Father's current

     residential address is 13 rue Ferdinand Duval, Paris, France. Additional information regarding
11

12   Mother and Father is provided on the parties' UTCR 2.130 Confidential Information Forms.

13

14
                                                     7. Children.
15

16
     The minor children born of this domestic partnership are   EJ L■ F        (age 8) and
                                                                                             --
17
     M      I[J (age 8). Additional information regarding the children is provided on the parties'
18   UTCR 2.130 Confidential Information Forms.

19

20
                                                    8. UCCJEA.
21
     The information required by the Uniform Child Custody Jurisdiction and Enforcement Act
22

23
     (UCCJEA), under ORS 109.767, is as follows:

24          (a) 1{J and _ _ have lived at the following places with the following persons during
25          the last five years:
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 3



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      DATE                             PLACE                             PERSON

      January 2015 - March 2015        Jackson County, OR                Both Parents


      March 2015-August 2019           Los Angeles County, CA            Both Parents


      August 2019 - July 2022          Paris, France                     Both Parents


      July 2022 - July 2023            Jackson County, OR                Both Parents


      July 2023 - Present              Paris, France                     Father

11

12

13
            (b) Mother has not participated as a party, witness, or in any other capacity in any
14

15          litigation concerning the custody of or parenting time or visitation with the parties' joint

16          minor children in this state or any other jurisdiction.
17
            (c) Jurisdiction has been determined to be proper in Jackson County, Oregon pursuant to
18
            the attached ORDER RE· DISMISSAL OF RESPONDENT'S MOTION TO DISMISS,
19
            and the LIMITED JUDGMENT RE REGISTRATION (Case No.: 23DR08269).
20

21          (d) Mother does not know of any person not a party to these proceedings who has

22         physical custody of the parties' joint minor children or claims rights of legal custody or
23
            physical custody of, or parenting time or visitation with their children.
24
            (e) Jurisdiction is proper under the Uniform Child Custody Jurisdiction and Enforcement
25

26         Act (UCCJEA), ORS 109.741(b), because (1) there is no home state, (2) the child and the

27         child's parents, or the child and at least one parent or a person acting as a parent, had a
28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 4



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          significant connection with this state other than mere physical presence, and (3) Father

          cannot claim extended home state jurisdiction because he had abandoned France and

          moved to Jackson County when the dissolution proceedings commenced.

          (4) substantial evidence is available in this state concerning the child's care, protection,

          training and personal relationships. The relevant significant connections and evidence

          concerning the children's care, protection, and training are as follows:



          (1) Mother, Father,   EJ, and ·.____, moved to Ashland, with the intent to make Ashland,
          Oregon their permanent home. Mother, 1[], and .,.________, Arrived on July 29, 2022. Fathe
II

12        arrived shortly thereafter on August 19, 2022.

13        (2)   C and ......____. were born in Ashland in -       2015.
14
          (3) The family moved to Los Angeles, CA, and lived there from March 2015 to August
IS
          2019.
16

17
          (4) The family moved to Paris, France, in August 2019 for what was supposed to be a

18        temporary, one-year relocation.

19        (5) In March 2020, the parties started collecting United States unemployment insurance
20
          benefits with plans to move back to the United States. However, due to the Covid-19
21
          pandemic, the family stayed in France longer than anticipated.
22

23        (6) In December of 2020, Mother acquired a vacant lot with the intent to build a home fo

24        the family in Ashland. The deed was recorded in Mother's name on January 4, 2021.
25
          Additionally, Father considered purchasing vacation property on the Oregon coast for the
26

27

28
     AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 5



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     .I




               anticipated move back to Oregon. The parties extensively discussed an anticipated

               relocation of their home to Oregon.

               (7) In March 2022, the parties agreed to move back to Ashland.

               (8) Preparations for the family's move included: terminating the lease on the parties'

               Paris apartment, securing a four-bedroom rental house in Ashland, researching schools in

               Ashland, registering the children for summer camps in Ashland, hiring an au pair to care

               for the children, and submitting applications to transfer their places of employment to the

               United States.

               (9) In May 2022, the parties mutually hired an au pair who signed a contract to help
II

12             provide childcare for 1{J and J -      for twelve months (through September 9, 2023) in

13             exchange for a weekly stipend, room and board, and the opportunity to become part of an
14
               American family living in Ashland.
15
               (10) Father has lived in Ashland in the past and has agreed verbally and in writing to
16
               Mother that his relocation in 2022 was intended to be a permanent relocation to Jackson
17

18             County, Oregon.

19             ( 11) Mother was born in Ashland and has parents, siblings, extended family, and lifelong
20
               friends in Jackson County. Mother works in marketing and prior to the move permanent!
21
               transferred her European contract to a U.S. contract. Mother owns real property in
22

23             Jackson County, owns a vehicle that is registered in Oregon, pays taxes in Oregon and th

24             United States, and is registered to vote in Oregon.

25             (1 2) E[] and._ _ were enrolled in and attended school at Belleview Elementary
26
               School in Ashland until their unlawful removal in July of 2023.
27

28        AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 6



                                                                              EXHIBIT 1 - PAGE 42


                                                                                                EXHIBIT 6
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             (13) E    and.
                              ---   have health insurance in Ashland and see a pediatrician in Ashland

             (i.e., the same doctor they have been seeing since 2017), an orthodontist in Medford, and

             a local dentist.

             (14) B    and .
                              ---   have attended summer camp, made friends, attended play dates, and

             were enrolled in extracurricular activities in Ashland.

             (15) On August 18, 2023, the court dismissed Father's Motion to Dismiss and can

             proceed with the dissolution of the domestic partnership, and to establish custody,

            parenting time, and child support

             (16) On August 18, 2023, the court entered a Limited Judgment Re Registration (Case
II

12           No.: 23DR08269), which determined that France has no jurisdiction in this matter and

13           declined to confirm father's attempt to register a French custody order. No other
14
            judgment is pending that can be registered.
15

16
                                           9. Child Support Information.
17

18   The child support information, required by ORS 107.085(2)(c), is as follows:

19   At the time of filing:
20
             (a) Mother was not aware of any other child support proceedings, involving the parties'
21
            joint minor children, pending in this state or any other jurisdiction.
22

23
             (b) Mother is not aware of any child support orders or judgments, involving the parties'

24          joint minor children, existing in this state or any other jurisdiction.

25

26
                                                     10. Custody.
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 7



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        1. On or about July 22, 2023 Father violated the October 11, 2022 TEMPORARY

           PROTECTIVE ORDER OF RESTRAINT (Status Quo) and removed the children from

           the State of Oregon and brought them to France. This order is still active and as of the

           date of this filing Father remains in violation of this Order.

        2. Father has deprived Petitioner Mother of virtually all parenting time since July 23, 2023.

        3. Additionally, Father is in violation of August 3, 2023 ORDER RE CONTACT which

           stated:

                     "A Temporary Protective Order of Restraint was signed on October 7, 2022. The

           Temporary Protective Order of Restraint remains in full force and effect. The parties
11

12         exchange the children on Sundays."

13                   As an exhibit, the ORDER RE CONTACT included a partial transcription of the
14
           June 21, 2023 hearing, wherein the court orally noted that "you exchange [the Children]
15
           Sunday."
16
        4. When Father took the children to France, he secreted them away and would not share the
17

18         location of the children for several weeks.

19      5. Since Father's return to France, he has had a full-time au pair who's tasks include
20
           preparing the children for school and bringing them to school, as well as picking them up
21
           from school, spending the rest of the day with them and preparing them dinner and
22
           getting them ready for bed. Because of this schedule he is not regularly involved in the
23

24         children's day-to-day care.

25      6. Prior to the separation of Mother and Father, Mother was the primary caregiver to the
26
           children, preparing them for school and extracurricular activities, organizing social
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 8



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            engagements and family functions, scheduling doctors appointments, maintaining

            insurance and was available and present in their lives on a consistent basis.

        7. Prior to the separation of Mother and Father, Father would often leave for extended

            periods for business purposes. Even when he was not traveling, Father was not involved

            in the day-to-day organization, care and upkeep of the children.

        8. It is in the children's best interest that Mother should have sole legal custody of the

            parties' children.



                                            11. Parenting Plan.
11

12                                            (a) The Schedule

13   The court should adopt a parenting plan, as required by ORS 107.102, that serves the children's
14
     best interests. Mother's Parenting plan is outlined below:
15
        1. Both children will live with Mother at her home in Ashland, Oregon
16
        2. Until Father has met the criteria detailed in the attached "ADDITIONAL TERMS AND
17

18          CONDITIONS", Father will only be allowed supervised parenting time as detailed in the

19          attached supervised parenting plan titled "PARENTING PLAN EXHIBIT l ".
20
        3. Once Father has met the conditions outlined in the attached ADDITIONAL TERMS
21
            AND CONDITIONS, Father will have parenting time according to the below schedule.
22
            All other parenting time will be exercised by Mother.
23

24              •   The first weekend of each month from 6:00 p.m. Friday until 6:00 p.m. Sunday

25              •   Winter Break: Father shall have parenting time for one week of school Winter
26
                    Break every year with the week including Christmas Day in Odd-numbered years
27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 9



                                                                            EXHIBIT 1 - PAGE 45


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             •   Spring Break: Father shall have parenting time for Spring Break in

                 Even-numbered years

             •   Thanksgiving Break: Father shall have parenting time for Thanksgiving Break in

                 Even-numbered years

             •   Holiday Weekends: There will be no planned holiday weekend parenting time

                 unless both parties agree to it in writing. Holiday weekends include: Martin

                 Luther King, Jr. Birthday, President's Day, Memorial Day, and Labor Day.

             •   Child's Birthday: Father shall have the option to have parenting time for the

                 children's birthday in Even-numbered years
11

12           •   Summer Vacations: Father shall have parenting time with the children for Four

13               Weeks, exercised in Two 2-week blocks, separated by at least one week with
14
                 Mother.
15
             •   Phone Calls:
16

17
                    o Father will have phone calls twice per week with the children for up to 30

18                      minutes between the hours of 4pm and 8pm PST when the children are

19                      with Mother. Regular times and days will be determined by Mother to
20
                        allow for extracurricular activities.
21
                    o Mother will have phone calls twice per week with the children for up to 3
22

23                      minutes when Father is exercising his parenting time.

24
                                  Notice for Summer Scheduling
25

26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 10



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     Before April 1 of each year, Father shall notify Mother, in writing, of the dates chosen for

     summer parenting time. Mother has the right to choose the dates for Father's summer parenting

     time if Father does not give notice before April 1. Father's summer parenting time shall end at

     least seven days before the children's first day of school.



                                    (b) Safety and Emotional Wellbeing

     Father will observe the following rules when he is exercising his parenting time with the

     children:

         1. Father will not consume drugs or alcohol while he is exercising his parenting time
11

12      2. Father will not have a member of the opposite sex who is not related to them by blood or

13          marriage stay overnight.
14
        3. Father must have Children home by 8pm on school nights and by 9pm on weekend night
15
            unless specifically agreed upon by both parents in writing via email prior to the extended
16
            time outside the home.
17

18

19                                       (c) Contact Information.
20
            Pursuant to ORS 107.164, each party should have a continuing responsibility to:
21
            (1) Provide his or her home (not just mailing) address; home, work, and mobile telephon
22

23
            numbers; and email address to the other party; and

24          (2) Notify the other party of any emergency circumstances or substantial changes in the

25          children's health.
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 11



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                                         (d) Notice of Relocation.

     Pursuant to ORS 107.159, neither parent should move to a residence that is more than 60 miles

     further distant from the other parent without giving the other parent reasonable notice of the

     change of residence and providing a copy of such notice to the court.



                                               12. Child Support.

     The court should set child support in conformance with Oregon's Uniform Child Support

     Guidelines with the additional provisions included below.

                    (a) Place of Payment. Support should be paid in accordance with a wage
11

12   withholding order as required by ORS Chapter 25. The Department of Justice should provide

13   collecting, accounting, distribution, and enforcement services in accordance with the provisions
14
     of ORS 25.020. All support payments due prior to the Department of Justice providing these
15
     services should be made directly to the parent entitled to receive the support. All support
16
     payments due after the Department of Justice begins providing these services should be paid
17

18   through the Division of Child Support, Department of Justice, P.O. Box 14506, Salem, Oregon

19   97309.
20
                                      (b) Notification Requirement.
21
                    Each party should notify the Department of Justice, Child Support Program, P.O.
22

23
     Box 14506, Salem, Oregon 97309, of any changes in that party's home or business address

24   within ten (10) days after such change.

25                                     (c) Dependency Exemption.
26

27

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 12



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(')
    _11    Unless otherwise agreed on between the parties, the dependency exemption on account of the
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           parties' children should be claimed in accordance with federal and state tax regulations.
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;§                                              d) Additional Provisions.
05
~6            1. Father should immediately pay for past travel expenses, lodging and meals to and from
(.)

~7                France for Mother to see children in the amount of $2,945.00.
0
t.>g
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 GI
              2. Father should continue to pay for travel, lodging and meals until Father is no longer in
!§9
~,                violation of this court's orders.
  10

      11

      12         13. Additional Child Support Provisions. As a form of additional child support:

      13                                          (a) Health Insurance.
      14
           Father should provide and pay for health insurance for the children. The obligation to provide
      15
           health insurance for                   should be set in conformance with Oregon's Uniform Child
      16
           Support Guidelines.
      17

      18          (1) Plan Information. The parent providing health insurance should provide the other

      19          parent with the name and address of the insurer, the policy number, and claim forms, and
      20
                  should fully cooperate in making claims on said policy. This includes an affirmative duty
      21
                  to promptly advise the other parent whenever there is a change in provider or coverage.
      22

      23
                  copy of the policy and any explanation of benefits paid by the insurer should be provided

      24          upon request.

      25

      26

      27

      28   AMENDED PETITION FOR DJSSOLUTIO OF DOMESTIC PAR1NERSHIP AND TO
           ESTABLISH CUSTODY, PARENTfNG TIME, AND CHILD SUPPORT - 13



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          (2) Benefit Payments. All insurance claim forms should be marked to instruct the insurer

          to pay benefits directly to the care provider rather than to either parent. Any

          reimbursement checks issued by the insurance company should be the property of the

          party who actually paid money out-of-pocket for the charge for which the reimbursemen

          is being paid. The non-paying parent should tum over any reimbursement checks that

          party may receive to the paying parent within five (5) days of receipt.



          (3) Utilization of Coverage. The terms of the actual policy of insurance should be

          controlling on any issues that may arise as to the eligibility of a child for coverage under
II

12        the terms of the insurance. The terms of the available health insurance may require that a

13        child sees medical care providers other than those the child currently sees. Each party
14
          should utilize available health insurance to the fullest extent possible. Any expense that
15
          could have been covered by available health insurance but was not because a party did
16
          not properly utilize available health insurance should not be considered a reasonable
17

18        expense that the other parent would need to pay a part of.

19
          (b) Uninsured Health Care Costs. Each parent should pay one-half of all of E        and
20

21

22
           --    's reasonably incurred medical, optical, hospital, dental, prescription, counseling,

          and orthodontic expenses that are not covered by insurance so long as the child for whom
23
          the expense is incurred qualifies to receive child support. This does not include ordinary
24
          expenses such as bandages, non-prescription medication, and co-pays for doctor's well
25
          visits. It is the responsibility of the parent who incurs an uninsured expense to promptly
26

27        request payment from the other parent of any such expenses. The obligated parent should

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 14



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                  make reimbursement to the other parent within thirty (30) days of receipt of the payment

                  request and proof that the claim has been submitted to insurance and the insurance

                  company has paid or rejected the claim.


                                                  14. Property Division.


-...
u
 ~
                          The court should make an equitable division of the parties' property, including th

0          real property located on Medley Ln., in Topanga, CA 90290. If Father does not personally appea
~
(I)
.;::::     at the applicable court hearing(s), the court should adopt the terms and division of property and
-~
~I
      10   debts that Mother proposes at the time of the hearing(s).

      11                                        15. Distribution of Debts.
      12
           The court should make an equitable distribution of the parties' debts. If Father does not contest
      13
           this proceeding, the court should adopt the terms and distribution of debts Mother proposes at th
      14

      15   time of the final hearing.

      16

      17
                             16. Protection of Mother and Children, Restraint by Father
      18
           Father has repeatedly harassed Mother's place of work, private businesses, court staff, family
      19
           members and friends. Father should be restrained from contacting via email, telephone, letter or
    20

    21     in person Mother's place of work, insurance or utility companies, banking or financial entities

    22     unless through a lawyer competent to practice law in this state. Father is restricted from
    23
           contacting mother by phone, email or other written communication, or in person unless through
    24
           lawyer of this state unless it is in direct relation to parenting time, or medical, dental orthodontic
    25
           insurance, treatment or appointments. Except to exchange the children as set out by the parentin
    26

    27     plan, Father is not allowed to appear without the consent of Mother at Mother's home, place of

    28     AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
           ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 15



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     work or any other location where Father is aware Mother will be present unless previously

     arranged in writing via email with both Father and Mother agreeing.



                                        17. Certificate of Support.

     Mother is currently providing 1000 Euros to father per month to support the children while they

     are being held in France against this court's orders. Father should immediately repay all past

     child support funds provided by Mother starting in September 2023 and immediately reimburse

     any future child support fund transfers made by Mother until Father complies with court orders

     and returns the children to Mother. There are no other pending child support proceedings in this
11

12   state or any other state.

13

14
                                      18. Attorney Fees and Costs.
15
     Father should pay Mother's attorney fees and costs, as authorized by ORS 107.105(l)G).
16

17
                         19. Notice Regarding Continuation of Health Coverage.
18
     As required by ORS 107.092, notice regarding continuation of health coverage is attached as
19
     Exhibit 1.
20

21

22                         20. Notice Regarding Mandatory Parent Education.
23
     Notice regarding mandatory parent education is attached as Exhibit 2.
24

25
     WHEREFORE, Mother respectfully requests a General Judgment:
26

27      1. Dissolving the parties' unregistered domestic partnership;

28   AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
     ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 16



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             2. Granting the relief requested in this petition; and

             3. Granting any other equitable relief, as appropriate.




                                                  DECLARATION

                         I, Heidi Brown, hereby declare that I am the Petitioner in this matter and that the

      facts set forth by me in this Petition for Dissolution of Domestic Partnership and to Establish

          Custody, Parenting Time, and Child Support are true and correct to the best of my knowledge. I

          have read and understand the notice regarding continuation of health care coverage attached to

11    this petition. By filing this petition, I acknowledge that I am bound by the terms of the
12
      restraining order, issued under ORS 107.093, prohibiting either party from disposing of
13
      partnership assets.
14

15

16        I hereby declare that the above statements are true to the best of my knowledge and belief, and I
17
          understand they are made for use as evidence in court and are subject to penalty for perjury.
18

19

20

21               DATED:

22

23

24
                                                        Heidi Brown, Petitioner
25

26

27

28        AMENDED PETITION FOR DISSOLUTION OF DOMESTIC PARTNERSHIP AND TO
          ESTABLISH CUSTODY, PARENTING TIME, AND CHILD SUPPORT - 17



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                                                22DR17285




                         IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                   FOR THE COUNTY OF JACKSON

                                           Family Law Department

     In the Matter of:
                                                  )
     Heidi Brown,                                 )   Case No.: 22DR17285
                                                  )   Related Case No.: 23DR08269
 9                          Petitioner,           )
                 and                              )   ORDER RE: DISMISSAL OF
10                                                )   RESPONDENT'S MOTION TO DISMISS
     Arnaud Paris,                                )
11
                                                  )
12                          Respondent.           )

13

14          THIS MATTER came before the Court for hearing on June 21, July 12-13 and 18, and

15   August 3, 2023. Petitioner Heidi Brown appeared in person and with her attorney, Taylor L. M.
16   Murdoch, of her attorneys Buckley Law, PC. Respondent Arnaud Paris appeared in person on
17
     June 21, July 12-13 and 18, and failed to appear on August 3, 2023. His attorney Thomas Bittner,
18
     of his attorneys Schulte Anderson, appeared remotely.
19
            The Court, having received argument and evidence from counsel and the parties, and Mr.
20
     Paris having received notice of the hearing continuation on August 3rd , and having failed to
21
     appear, and his request to appear remotely for the continuation of the hearing from France on
22
     August 3rd having been denied on the record, and Mr. Paris and his counsel having been permitted
23

24   to attend the hearing but not being permitted to present further argument or evidence, and the

25   Court being fully advised in the premises, and good cause appearing, makes the following
     Page 1 - ORDER RE DISMISSAL OF RESPONDENT'S                              Buckley Law PC
     MOTION TO DISMISS                                                  5300 sw Meadows Rd., Ste. 200
                                                                              Lake Oswego, OR 97035
                                                                        Tel: 503-620-8900 Fax: 503-620-4878
                                                                              EXHIBIT 1 - PAGE 54
                                                                                tlm@buckley-law.com


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~1                                                   FINDINGS OF FACT
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~
~2              1. Father filed two motions to dismiss for lack of subject matter jurisdiction, dated April
iii
C
·ct3
·;:                18, 2023 and May 24, 2023. The motions have been consolidated.
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>,
Q.
               2. Mother timely filed a response to the motions on June 13, 2023.
8s
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~6
               3. Father failed to appear in person at the continuation of the evidentiary hearing on

(.)
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                   August 3, 2023, and his request for remote appearance was denied on the same date on
~7
·;:
Cl)                the record for the reasons stated therein. Mother through counsel moved to dismiss the
>s
                   motions on the same date.
      9
          NOW THEREFORE, IT IS HEREBY ORDERED:
10

11              1. Mother's oral motion to dismiss Father's motions to dismiss for lack of subject matter

12                 jurisdiction filed herein is GRANTED. Father's motions to dismiss are DISMISSED.

13             2. The award of attorney fees and costs shall be subject to ORCP 68.

14
                                                                   8/18/2023 4.02:44 PM
15

16

17                                                                          Circuit Court Judge David J. Orr


18

19
          UTCR 5.100 CERTIFICATE OF READINESS: This proposed~rd:ts ready for judicial
20        signature because bbjt.c~ h ~-                -ft~ ~ ~,.../Jt_ f .•
                                                            h<-e
21

22
               DATED this    If_ of August, 2023.
                                                       BU      l


23
                                               By:
24
                                                       t                    .
25                                                                        Mother
          Page 2 - ORDER RE DISMISSAL OF RES PO                                           Buckley Law PC
                                                                                   5300 SW Meadows R<l., Ste. 200
          MOTION TO DISMISS                                                            Lake Oswego, OR 97035
                                                                                 Tcl: 503-620-8900
                                                                                       EXHIBIT 1Fax:   503-620-4878
                                                                                                    - PAGE    55
                                                                                         tlm@buckley-law.com


                                                                                                             EXHIBIT 6
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~1          APPROVED AS TO FORM:
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·.:::       Thomas A. Bittner, OSB No. 901785    date
0
            tbittner@schulte-law.com
04
 ~          Of Attorneys for Respondent
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            Page 3 - ORDER RE DISMISSAL OF RESPONDENT'S                    Buckley Law PC
                                                                   5300 SW Meadows Rd., Ste. 200
            MOTION TO DISMISS                                          Lake Oswego, OR 97035
                                                                      503-620-89001Fax:
                                                                 Tel: EXHIBIT           503-620-4878
                                                                                    - PAGE    56
                                                                        tlm@buckley-law.com


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          CERTIFICATE OF SERVICE:               I certify that I served on August 7, 2023, a complete and
          exact copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
          delivering a true copy to the following address, as follows:
iii
 C
-~
·;:

~         Thomas A Bittner
      4
>,
a.        Schulte Anderson
0
          811 SW Naito Pkwy Ste 500
-
us
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Cl)

~6
          Portland OR 97204
(.)
"'C
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·;:
Cl)
                 DATED this    1      day of August, 2023.
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                                                                                       Buckley Law PC
          Page 4 - ORDER RE DISMISSAL OF RESPONDENT'S
                                                                               5300 SW Meadows Rd., Ste. 200
          MOTION TO DISMISS                                                        Lake Oswego, OR 97035
                                                                             Tel: 503-620-8900 Fax: 503-620-4878
                                                                                   EXHIBIT    1 - PAGE 57
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                                              23DR08269




                      IN THE CIRCUIT COURT OF THE STATE OF OREGON

                                FOR THE COUNTY OF JACKSON

                                          Family Law Department

     In the Matter of:
                                                )
     Arnaud Paris,                              ) Case No.: 23DR08269
                                                ) Related Case No.: 22DR17285
 9
                          Petitioner,           )
10              and                             ) LIMITED JUDGMENT RE:
                                                ) REGISTRATION
11   Heidi Brown,                               )
                                                )
12                        Respondent.           )


14
            THIS MATTER came before the Court for heating on July 12, 13, and 18, and
15
     August 3 and 4, 2023. Respondent Heidi Brown, hereinafter Mother, appeared in person
16

17   with Taylor L. M. Murdoch, of her attorneys Buckley Law P.C. Petitioner Arnaud Paris,

18   hereinafter Father, appeared in person on July 12, 13 and 18, and failed to appear on August

19   3 and 4, 2023.      By the stipulation of the parties, the evidentiary heating occurred
20   simultaneously with the evidentiary hearing on Father's Motion to Dismiss for Lack of Suiject
21
     Matter Jurfrdiction in Jackson County Circuit Court case no. 22DR17285, until said motion was
22
     granted by the Court on August 3, 2023. Father was represented by counsel, Thomas A.
23
     Bittner, of his attorneys, Schulte Anderson, in that matter, and had his French counsel
24

25   Terrence Richoux, available by phone during these proceedings on July 12, 13 and 18.
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           The Court, having received argument and evidence from counsel and the parties, and

     Mr. Paris having received specific notice of the hearing continuation on August 3rd, and

     having failed to appear, and his request to appear remotely from France at the continuation

     of the hearing on August 3ld having been denied on the record, and Mr. Paris and his counsel

     having been permitted to attend the hearing, but not having been permitted to present further

     argument or evidence after his failure to appear on August 3 rd , and the Court being fully

     advfaed in the premises, makes the following

 9                                        FINDINGS OF FACT
10
            1.    Mother and Father are the unmarried parents of two minor children,           JO and
11
                  J llll ,age8.
12
           2.     The children were born in Ashland, Oregon, at Ashland Community Hospital.
13
                  They are United States citizens. During the first months of their lives, the
14

15                children lived in Oregon. They later acquired citizenship of France during the

16                 time they were living in California when they were two years old.

17         3.     The Court received evidence about the children's extensive contacts and
18
                  connections with Oregon. Significant evidence exists concerning the children's
19
                  contacts with Oregon, including evidence concerning the children's care,
20
                  protection, training and personal relationships.
21

22                The maximum contacts and evidence about the children ate in one state:

23                Oregon.

24

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                The children have a large network of extended family, including young cousins

                ranging from age 2-15, in the Rogue Valley, Oregon area with whom they are

                closely bonded and with whom they have spent significant time throughout

                their lives. Multiple witnesses, including Mother's stepbrother Shaun Olson,

                testified about the extensive family connections with the children that have

                been fostered over the years. Mr. Olson also testified about a sleep-over at his

                house with the children on October 4, 2022.

 9.             a. The children were still enrolled in school in early October, 2022 at Bellevue

10                  E lementary School in Ashland. ..____, 's teacher Ellen Gayton testified that
11
                           fit in right away in the class. Mother testified that the children had
12
                    many friends when they began school there in August, 2022 because of
13
                    their relationships with friends in the Rogue Valley. The children
14
                    participated in the school run fund raiser. Ms. Gayton testified that she had
15

16                  regular interactions with Father at drop-offs, and that she had further

17                  observations of Mother, Father and the children that she could share at a
18                  subsequent custody procced1ng in Oregon.
·19
                 b. The Court received into evidence copies of the children's medical records
20
                    v.:ith Dr. Jani Rollins, where they have been cared for since birth. Mother
21
                    testified that Dr. Rollins would be available to testify in a further custody
22
                    hearing in Oregon.

24

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               c. The Court received into evidence copies of the children's orthodontia

                     records from their orthodontist in Ashland, where they had been treated

                     since 2021, when they were six years old.

               d. The Court received into evidence testimony from the children's dance

                     teacher Cassandra Preskenis, who has taught them at numerous times

                     throughout their lives. She had observations about the parents and children

                     that she could share at a later custody hearing in Oregon.

 9             e. The Court received testimony from the children's maternal grandmother

10                   Margaret Olson, who lives in Ashland, about her involvement with the
11
                     children throughout their lives. This involvement included being present
12
                     for their birth, for annual time in Ashland during holidays, staying with the
13
                     children and the parties in California, traveling to France with the family,
14
                     and other information about the children.             She indicated she had
15

16                   observations about the parents and children that she could share at a later

17                   custody hearing in Oregon.
l8
                f.   The Court received testimony from the children's maternal grandfather,
19
                     Mother's stepfather, who lives in Ashland, about his involvement in the
20
                     children's lives throughout their lives.    This involvement included being
21
                     present at their birth, for annual time in Ashland during holidays, traveling
22

23                   to France with the family, teaching them how to fish in the summer of

24                   2021, teaching them rudimentary wood-working, and other information

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                     about the children. He indicated he had further observations about the

                     parents and children that he could share at a later custody hearing in

                     Oregon.

                g. The Court received testimony from other friends, namely Mary Chapman,

                     Noah Treiger, and Jay Treiger, all of whom are located in the Rogue Valley,

                     who testified about contact with the children over the years since their

                     birth. Ms. Chapman and Messrs. Treiger testified that they had additional

 9                   observations of Mother, Father, and of the children that they could share at

10                   a later custody hearing in Oregon.
11
                h. In the summer of 2022, Mother testified that Father placed an air tag in her
12
                     vehicle which she used to drive the children, and Mother reported the
13
                     incident to the Ashland Police. Mother testified that the Ashland Police
14

15                   officer who took her report would be available to testify later in a custody

16                   proceeding in Oregon.

17              i.   Mother testified that in the summer of 2022, Father accessed her computer
18
                     in Ashland without her consent to read her private communications with
19
                     her French lawyer, and when Mother discovered this she reported it to the
20
                     police. There is a criminal case pending in Jackson County Circuit Court
21
                     case no. 22CR59524. The officer and any witnesses who appear in that
22

23                   proceeding could appear in a later custody proceeding in Oregon.

24

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                j.   Mother testified that the parties hired an au pair to live with the family in

                     Ashland, who then lived in the household with the children from August,

                     2022 until November 2022. Mother testified that the au pair would be

                     available to testify in a later custody proceeding in Oregon about her

                     observations of the parties and the children.

                k. Mother and Father and the children were all living in Ashland, Oregon in

                     October 2022.

 9              l.   All parenting time from the date of the girls' move to Oregon in July 2022
10                   through October, 2022 was exercised in Oregon.
1'l
                m. On October 6 and 7, 2022, Father lived in Oregon and did not remain in
12
                     France.
13
           4.   Significant evidence does not exist for the children's connections with any
14

15               other jurisdiction.

16               a. Father's presentation of evidence in his declarations filed with the court

17                   focused on him, and not the children, living in France. Father's testimony
18
                     was stricken when he refused to appear in person for his cross-examination.
19
                     Father's statements in his declaration were not credible.
20
                 b. Father's apartment in France is not a family home. He did not live there on
2'1
                     October 6 or 7, 2022. The family only stayed there briefly when they went
22

23                   to France as it is not suitable for a family.        Mother testified that the



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                   apartment is not legally possible to use as a family home because it is too

                   small for the four of them to reside there for Paris residency requirements.

                c. Mother testified that the parties not only intended to be in France for a

                   short period of time for pre-school in 2019-20, they lived like it. They lived

                   in a furnished apartment. They focused their efforts on developing a family

                   home first in California and then, beginning in 2021, in Ashland. Mother

                   testified that for much of the time during their stay in Paris from August

 9                 2019-July 2022, French rules, uncertainty over the COVID-19 pandemic,
10                 and the parties' own concern for their and the children's health limited their
11
                   interactions with the world around them. When the part1es moved back to
12
                   the United States in 2022, they sold all their ltmited furnishings, said
13
                   goodbyes, and unenrolled the children from school in France.
14

15              d. Although the parties through counsel signed an agreement on July 19, 2022

16                 (Exhibit 18) for the family to alternate years between France and Oregon,

17                 this agreement was bm:h 1) based on the assumption that the parties would
18
                   stay together as a couple and family, and 2) included language that the
19
                   agreed alternation was dependent on the children's best interests.             The
20
                   parents are no longer a. couple. Mother made clear that she did not believe
21
                   it was in the children's best interests to leave Oregon.
22

23              e. At a hearing in US District Court in December, 2022, the Honorable Judge

24                 Michael McShane found that the parties had stipulated to the children's

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                       move to Oregon in 2022, and that there was no wrongful removal or

                       wrongful retention of the children.

                  f.   The only information about the children's lives in France besides from

                       Mother was presented by Sebastian Natal, who had little information about

                       the children and testified he had not talked to them since Father and

                       Mother moved to Oregon in 2022. Mr. Natal was able to testify remotely

                       from France in this hearing, and likely could appear remotely at a later

  9                    hearing if called to testify.
'IO              g. Mother testified that there is limited family in France, and the children arc
l1
                       not as bonded to paternal cousins as they arc to the maternal cousins
12
                       because of a significant age gap between paternal relatives and the children.
13
                 h. To the extent that there is evidence in France, subject to the court's

15                     discretion, under Oregon law a party such as Mother or Father can call the

16                     witnesses remotely to testify in a custody proceeding in Oregon.

17               1.    Mother testified that the French court did not allow witnesses to be called
18
                       remotely, or for witnesses to testify meaningfully at all in that proceeding.
'19
           5.    In late August, 2022, until at least October 7, 2022, Father, Mother, and the
20
                 children were living together in the marital residence on Leonard Street in
21
                 Ashland, Oregon.
22

23         6.    Father did not live in France- or anywhere else besides Ashland - in early

24               October 2022. He had moved to Ashland to be with Mother and the children
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               in August, 2022.     He had moved his permanent belongings from storage in

               California to Ashland in late August, 2022.           His credit card and bank

               statements for September-Octobe r 2022 (Exhibits 79 & 80) show him buying

               groceries for the family in Ashland and Medford, going out to cat in Ashland,

               and living in Oregon with his children.

          7.   The children were born in Ashland, Oregon and are United States citizens.

               They later acquired citizenship of France while living in Topanga, California.

 9        8.   The proceedings in this matter have demonstrated that a Court of the State of
10
                Oregon may and can take extensive testimony and evidence via remote means
11
                from witnesses located abroad. All of the witnesses necessary to resolve the
12
                parties' custody dispute can likely participate in this proceeding, even remotely
13

14              if necessary.

15        9,    Substantial evidence does not exist in France.

16
                a. The children were in France from mid-2019 to mid-2022 on a temporary
17
                   basis.
18
                b. They had been to visit France before, but only stayed briefly to visit family.
19

20              c. The parties moved to France from Los Angeles in 2019 to take advantage

21                  of free pre-kindergarten for the twins. They intended to return to California

22                  initially, and then to Oregon.
23
                d. While in France, the family stayed in a furnished apartment.
24

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(")
N
~ 1                        e. The family's stay was extended against their wishes due to the unforeseen
00
~
~         2
iii                             effects of the COVID-19 pandemic.
C
"c, 3
·;:
0                          f.   During the parties' stay in France, they returned with the children to see
o4
>,
Q.
                                family in Oregon for over three months, to build the family home in
8s
                                Ashland, and attended orthodontia appointments in Oregon.

                           g. The children had been uncnrolled in French schooling by their parents

                                consent in the summer of 2022.
          9
                           h. Father apparently filed taxes claiming he was a resident of California during
    10
                                the years the parties were in France.
    11

    12                    1.    On October 5, 2022 Father acknowledged the children lived in Oregon and

    13                          promised that he would never kidnap them to France.

    14
                          )·    The parties had said their goodbyes and departed from France to Oregon as
    15
                                family in July and August, 2022.
    16
                          k. There is no evidence that the French court would consider extensive
    17

    18                          evidence from outside France about the children.

    19              10. Under the totality of the circumstances, the parties' move from France to Oregon
 20                    was not a temporary absence from France.
 21
                          a. The children lived in Oregon on October 7, 2022.
 22
                          b. Father lived in Oregon on October 7, 2022. He loves hi.s children and
 23
                                would not live in France away from them.
 24
 25
                                                                                          Buckley L.1w PC
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                c. Mother lived in Oregon on October 7, 2022. She loves her children and

                     would not live anywhere else away from them.

                d. The parties sold their temporary furniture in moving from France. They

                     did not maintain a family residence in France after leaving in the summer of

                     2022. When Father returned to France with the minor children in violation

                     of this c~urt's orders in July, 2023, he did not take them to live in his small

                     apartment in Paris. He took them to his parent's home in the suburbs of
 9                   Paris.
10
                e. While Father told the court in his declaration that he went to France in
11
                     September, 2022, Mother testified that he in fact went primarily to
12
                     Germany.
13

14              f.   Father told Mother several times that he would agree to live in Oregon, and

15                   his actions corresponded to his statements.
16
                g. Father drove the family vehicle from California to Oregon to register it and
17
                     have it insured in Oregon in 2021.
18
                h. Mother testified that Father claimed residency in California for tax
19
                     purposes the entire time the parties were in France, until at least October
20

21                   2022.

22              1.   The parties' mediated agreement from July 2022 (Exhibit 18) was an

23                   agreement for the family to live together, and did not contemplate the
24
                     parties separating. It also made clear that the agreement was conditioned
25
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                   on both parties agreeing that it was in the children's best interests to

                   continue to follow the terms beyond getting to Oregon in the summer of

                   2022.

          11.   Mother prevailed at the Hague proceeding in December 2022. The children

                were not wrongfully removed from France. Father intended for the children to

                come to live in Oregon.

          12.   In March 2023, at a hearing in France in which Mother was not present, Father
 9
                obtained a favorable custody determination.
10
                a. The French court is not a court of record such as an Oregon court of
11
                   record. There is no independent record of proceedings for a party such as
12

13                 Mother to refer to in litigation. Notice is provided only through counsel.

14              b. Mother is not a citizen of Prance.

15
                c. Mother's initial French counsel, Noemie Hodara, had to withdraw because
16
                   of a complaint filed by Father after the initial appearance in January 2022.
17
                d. Mother had no reason to believe that anything other than jurisdiction
18

19                 would be addressed at the proceeding in March, 2023. Her lawyer made

20                 clear to her that the March, 2023 hearing applied only to jurisdiction.

21                 Accordingly, Mother presented only evidence on the habitual residence
22
                    standard.
23

24

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               c. Mother did not have an opportunity to call witnesses, cross examine

                    witnesses, or meaningfully rebut Father's evidence at the March 2023

                    French hearing. She could not appear remotely.

               f.   At the March 2023 hearing, Father represented himself as living in France

                     as a resident of Paris in early October, 2022 and at the time of the hearing.

                    Neither representation was true.     He lived in Oregon in early October,

                     2022. He was exercising week-on, week-off time with the children subject

 9                   to the TPOR Status Quo at the time of the hearing, and was receiving

10                   health benefits and wages from his employer in Texas in March, 2023.
11
               g. If Mother believed the French court would have decided anything on
12
                    . exercising jurisdiction, Mother would have done anything possible to be in
13
                     France. She testified she would have swam to France if necessary, and her
14

15                   desire to be there was credible. She testified she has spent over $300,000

16                   on legal fees in this matter, and it docs not make sense that a person such as

17                   Mother would not appear if she thought her rights as the children's mother
18
                     would be substantially affected.
19
                h. Mother received a summons in the French proceeding, but had to rely only
20
                     on her French counsel for understanding the proceedings in the French
21

22                   court.

23

24
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                                                                             Buckley Law PC
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               i.   Mother did not receive a hearing notice for the French hearing such as a

                    hearing notice generated by the State Courts of Oregon.               Her counsel

                    indicated to her that the hearing would be on jurisdiction only

               l·   Mother presented no evidence at the hearing on the issue of custody and

                    parenting time because of her lack of understandi ng of the court's

                    procedures.

               k. Mother is a citizen of the United States. Mother's due process rights and
 9
                    constitutional right to open court proceedings were implicated by the
10
                    French court's ruling on her custodial rights.
11
               L Given the stakes involved, the relief requested, and the position taken by
12

13                  Father to limit Mother's parenting time to time in France, including

14                  presently seeking an order stopping the children from leaving France for

15                  the next five years, the hearing in France was akin in substantive way to a
16
                    termination of parental rights proceedmg in Oregon.
17
                m. A parent's right to parent their child is a fundamenta l right protected by US
18
                    Constitutio n and the Oregon Constitution.
19

20              n. Through no fault of her own, Mother did not appear at the French hearing

21                  wherein Father was granted "shared custody" of the children.                In later

22
                    documents, Father represented to authorities that he was awarded sole
23
                    custody.
24

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N
~1               13.   The French court's jurisdictional ruling is on pages 3 and 4 of the Judi:,rment
Cl)
~
~2                     rendered on April 21, 2023 by the Family Cow:t Judge Karima Brahimi.
iv
C
:213
 ...
0                      a. The language in the jurisdictional ruling of the French judgment 1s as
04
>-
a.                        follows: "In this case, in light ef the documents in the file and the debates, it appears
8s
u
QI                        that since the birth of the two daughters, the couple and the children have resided
 ~6
(.)
i:,
                          alternatefy in F ranee in the United Stales; that since the start ef the 2019 schoolyear,
~7
ai
>,s                       the couple an the children have .reJt.!t'!dJJill:tilur. and the two daughter have been schooled

        9                 in France, that during April 20221 relationship difficulties have arisen bet,peen the
    10                    couple and that the two parents no longer agree on the fami/y's place ef residence, with
    11
                          M,: [>,,jR/.\' 11,iJ.!liJ,g lo felllflill in i'imtr(. and Ms. BROW'N wishing to return to the
    ·12
                           United State.r; that nevertheless the parents agreed on ]u!J 19, 2022 for the fami/y to
    13
                          leave for the United States jnr the 2022-2021 J.l.li.!29.LJ•cm~ the couple's two daughters
    14

    15                    having           arrived          on        American          territory        on        ju!J          29,      2022.

    16                     'Thus, at the time ef the refemil to the French court, on October 6, 2022, )

    17                    ..(] had been resit/ii{~ in the United States for on!J ttvo months; before that, they had
    1'8
                           been re.riding and attending school in France for three years, a country in ivhich thry were
      19
                           social!} integrated; f[ the prmmt.r..1Jfj.·eed IQ l'f//lfl!_ lp 1h,1:. Unit._p1.l.,~!!1tcs this f{~1ft:(J7eJlt
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                                                                                                           Buckley Law PC
            Page 15 - LIMITED JUDGMENT RE: REGISTRATION                                             5300 SW Meadows Rd., Ste. 200
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                      "Consequent!y.,_tal?J!J.£: intt1 arct>mtl lbr,m cffl]ill., it appears that on the day of the

                   referral to the French court, i.e. October 6, 2022, j -          and B     had their habitual

                      re.rirlence in France.

                       '"Cherefare1 the French judge u competent to rule on claims relating to parental

                      responsibiliry (emphasis added)."

                 i.       The French court's ruling on jurisdiction primarily focused on the intent

                           of the parties and [heir consent in establishing a habitual residence for

 9                         the children and assuming jurisdiction.
lO
                ii.       The French court's ruling on jurisdiction focused on the children's
11
                           habitual residence, and where they were integrated socially.
12
                iii.       The French court did not address anything about the home state of the
13
14                         minor children, or the extended home state of the minor children.

15              iv.        The French court did not weigh the relative maximum contacts between
16
                           the children and France, or between the children and Oregon, or any
17
                           other juri::;diction, in making its determination to exercise jurisdiction.
18
                 v.        The French court did not consider whether Father and the children
19

20                         were located in France and whether Father was exercising parenting

21                         time in France in October 2022.

22                    vi. T he French court was factually wrong to the extent that it determined
23
                           Father was Jiving in France for the purposes of the UCCJEA. Father
24
                           was living in Oreg-::in, not France in early October 2022.
25
                                                                                      Buckley Law PC
     Page 16- LIMITED JUDGMENT RE: REGISTRATION                                5300 S\Y/ Meadows Rd., Ste. 200
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                b. The French court was aware of this proceeding before it made its

                   jurisdictional determination.    Mother testified that it made no effort to

                   contact this court before awarding Father custody and the French judgment

                   does not reflect any effort or consideration of Oregon's jurisdiction besides

                   which court was "seized" first.       The French court. did not attempt to

                   communicate with this court.

          14.   It is the French judgment, and the applicable UCCJEA standards that are the
 9
                focus of the proceedings before this Court.
10
          15.   Before resolving any substantive matters, this Court must determine whether
11
                or not this Court has subject matter jurisdiction over the minor children under
12

13              the Uniform Child Custody Jurisdiction and Enforcement Act ("UCCJEA").

14        16.   The hearing on the issue of whether or not this Court has UCCJEA Jurisdiction

15              took place over the course of multiple days, wherein the Court heard testimony
16
                from multiple witnesses a:.1d received evidence from witnesses in France and in
17
                the courtroom.     Both parties were given extensive opportunity to produce
18
                witnesses. Both parties were, or had the opportunity to be, represented by
19

20              counsel. Father was able to present his case prose as he saw fit, subject to the

21              rules of evidence, during the first three days of heating.

22        17.   After the first three days of hearing, Father wrongfully misrepresented the
23
                registration of the French judgment to lawful authorities, and, contrary to this
24

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                                                                         removed
                 court's prior, explicit, written, and repeated orders, L    Jed ts L              120   aitl


                 the minor children from this state and took them to France.

          18.    A TPOR was entered on October 7, 2022 and remains in effect. Neither party

                 is allowed to leave the state of Oregon with the minor children without the

                 agreement of the other parent.

          19.    Father and the minor children are located in Prance at present, in violation of

                 this court's orders.         As the Court told Father on June 21, he violates this

 9               court's orders at his peril.
10
          20.    Father was aware of the TPOR and was told repeatedly by the Court that the
11
                 judgment had not yet been confirmed or validated.
12

13         21.   Mother testified that Father requested that the August 3, 2023 hearing be set so

14               he could personally appear.
15         22.   Father filed belated motions for remote appearance for the August 3,·d, 2023
16
                 continuation of hearing. His motions were not timely, were not in good faith,
17
                 and were prejudicial to Mother, who was about to resume her cross-
18
                 examination of Father. Father should not violate court orders and expect to
19

20                        1p 1 • l 11    tt   11 t 11   1   h thereby gain any advantage.

21         23.   The children have a highly desirable pediatrician, dentist, and orthodontist in
22
                 Oregon.
23

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      Page 18-LIMITE D JUDGMENT RE: REGISTRATION
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          24.    Taking into account the above facts, the children did not have a home state on

                 October 6 or October 7, 2022 for the purposes of the UCCJEA, ORS

                 109.741(1)(a).

                 a. The children did not have an extended home state at the time either,

                    because Father did not continue to live in France in early October 2022.

                    He lived in Oregon.

                 b. The children and the children's parents, or the children and at least one

 9                  person acting as a parent, did not have a significant connection with France

10                  in early October 2022, because substantial evidence concerning the
11
                    children's care, protection, training and personal relationships was only in
12
                    Oregon, and not France, ORS 109.741 (1)(b)(A)-(B).
13
                 c. The children and the children's parents, or the children and at least one
14

15                  person acting as a parent, did not have a significant connection with France

16                  in early October, 2022, because Father did not reside in France at the time,

17                  and although he maintained a meaningful relationship with the children, in
18
                    doing so, he exercised parenting time in Oregon, ORS 109.741(1)(b)(A)-(B).
19
                 d. No other state than Oregon would have jurisdiction under ORS
20
                     109.741 (1)(a),(b) and (c) to make an initial custody determination.
21
           25.   Oregon has jurisdiction to make an initial custody determination. The issuing
22

23               court of the French judgment did not have jurisdiction under ORS 109.741 to

24               ORS 109.771. ORS 109.787(5)(a).

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;;a 1               26.   Mother is contesting registration, and was entitled to notice of the French
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.... 2                    judgment for the purposes of Oregon law. Notice was not given in accordance
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0                         with ORS 109.724 and the Oregon Constitution, Article 1, Section 10, of the
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a.
0                         initial custody determination in the proceedings before the French court that
~u 5
 f                        issued the order for which registration was sought.
~ 6
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.! 7                27.   It is appropriate that this court assume jurisdiction.
~1g            NQW', THERFORE IT IS HEREBY ORDERED AND ADJU11GED:

          9
                    1.    This court is authorized by the UCCJEA, ORS 109.701 et. seq., to take
      10
                          jurisdiction over the minor children of the parties and this matter.
      11
                    2.    France does not have jurisdiction over the minor children of the parties and
      12
                          this matter pursuant to ORS 109.701 et. seq.
      13
                    3.    Mother has established by clear and convincing evidence that the issuing court
      14
                          in France did not have jurisdiction to make an initial custody determination
      15
                          under ORS 109.741 to ORS 109.771.
      16
                          a. This Court declines to confirm Father's registration of the French custody
      17
                              order, as France did not have home state or significant connection
      18
                              jurisdiction under factual circumstances in substantial conformity with the
      19
                              UCCJEA at the time it made the custody order.
      20
                          b. For the foregoing reasons, pursuant to ORS 109.787(5)(a), the request to
      21
                              register the child custody determination in the judgment of the French
      22
                              court is DENIED.
          23
                    4.    Mother has established by clear and conv1nc1ng evidence that Mother was
          24
                          entitled to notice, but notice was not given in accordance with the standards of
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                                                                                        Buckley Law PC
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               ORS 109.724 and the Oregon Constitution in the proceedings before the

               French court.

               a. The French court's processes and procedures in the application of these

                   facts do not substantially conform with the UCCJEA standards or Oregon

                   constitution. As such, the French court's custody determination is not

                   lawful in this country and in this Court.

               b. Mother did not have actual notice of the French proceeding and an

                   opportunity to be heard for the purposes of Oregon law.                To register,

 9                 confirm, and validate the French judgment in this circumstance would be a

10                 violation of ORS 109.787(5)(c) and of Mother's constitutional rights under

11                 the Article 1, Section 10 of the Oregon Constitution.

12              c. Father had notice of this proceeding and an opportunity to be heard.

13             d. For the foregoing reasons, pursuant to ORS 109.787(5)(c), the request to

14                 register the child custody determination in the judgment of the French

15                 court is DENIED.

16        5.    In making an inittal custody determination, France did not have subject matter

17              jurisdiction as required under the UCCJEA.

18        6.    A court's analysis under the habitual residence standard and the UCCJEA

19              home state standard may come to different conclusions given certain facts

20              presented in a matter. This Court makes no ruling on the applicability of the

21              habitLial residence standard by the French court.

22        7.    France did not have home state jurisdiction, as the children had lived in

23              Oregon for approximately two months at the time Father filed for custody in

24              France.

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~            1              a. Father did not live in France at the time Father filed for custody in France.
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....N 2                        In considering the totality of the circumstances, Father's argument that his
iii
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                               absence from France was temporary fails.             Father's absence from France
 ... 3
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                               was not temporary.
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                            b. Father's argument that France had extended home state jurisdiction is

                               without merit. He did not live in France on October 7, 2022. He lived
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.;::::       7                 with his children and Mother in Oregon.
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~I           8              c. The French judgment is not in substantial factual conformity with the

             9                 UCCJEA pursuant to ORS 109.781.

         10                     i.         The French court impermissibly gave significant weight to its

         11                                determination of the intention of the parties in establishing a habitual

         12                                residence of the children. That is an error of law for the purposes of

         13                                the UCCJEA.       Subject matter jurisdiction cannot be conferred.

         14                                Jurisdiction cannot be conferred by the parties by consent, nor can the

         15                                want of jurisdiction be remedied by waiver, or by estoppel. Matter ef

         16                                Marriage ef Schwartz and Battini, 289 Or App 332, 338 (2017), citing

         17                                Shepard v. Lopez-Barcenas, 200 Or App 692, 697, 254, rev. den., 339 Or

         18                                475, 124 P.3d 1248 (2005) ("[A] party 1s consent to the trial court1s

         19                                jurisdiction over the initial determination of custody under the

         20                                UCCJEA has no effect if, indeed, the court lacked jurisdiction to

         21                                make that determination."); see also Medill and Medill, 179 Or App 630,

         22                                645, 40 P.3d 1087 (2002) (same).

         23                          ii.    The French court did not weigh the maximum contacts.

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                    iii.   The maximum contacts for evidence concerning the children are

                           present in Oregon.

                    iv.    To the extent that any necessary evidence is present in France, the

                           witnesses in France can testify in the custody proceeding remotely.

          8.    The French court does not have significant connection jurisdiction.

                a. The Prcnch court did not determine whether it had home state jurisdiction

                   or anything similar to it, a necessary step before determining significant

                   connection jurisdiction.

 9              b. The French court was aware of this proceeding and should have

10                 communicated with this Court before making a custody determination, but

11                 the French court did not do so. See ORS 109.751(4).

12              c. Father was not exercising his parenting time in France at the time the

13                 custody matter was filed in France, and was not residing in France at the

14                 time either. Under the JvftfJ.ifield test for significant connection jurisdiction,

15                 306 Or App 386, 392 (2020), citing White v. Harrison-White, 280 Mich. App.

16                 383, 394 (2018), France did not have significant connection jurisdiction.

17        9.    Oregon has subject matter jurisdiction over the minor children under the

18              UCCJEA based on significant connection jurisdiction, as there is substantial

19              evidence of the children's care, protection, training, and personal relationships

20              in Oregon. As such, this Court will proceed in presiding over the parties'

21              dissolution and custody matter, and all related matters.

22        10.   The French judgment has never been registered in Oregon. It is not a valid

23              order of Oregon and has no legal effect here. It had no legal effect in Oregon

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                at the time that Father fled with the minor children to France on or about July

                22, 2023.

          11.   Additionally, in making its custody order, France failed to provide Mother with

                notice as is required by the UCCJEA and Oregon Constitution before a child

                custody determination is made.

          12.   The French judgment fails the UCCJENs jurisdictional and procedural

                requirements. As such, the French custody determination is unlawful.

          13.   Father failed to appear at the continuation of this hearing on August 3, 2023.

 9              He had actual notice of the proceeding. He had an opportunity to be heard.

10              He was not present because he was in willful violation of the court's orders not

11              to leave the state with the minor children.

12        14.   Father knew or should have known that the French judgment had no legal

13              effect in Oregon until this hearing was adjudicated.

14        15.   Father has acted in bad faith in this proceeding.

15        16.   The award of attorney fees and costs, if any, should be determined pursuant to

16              ORCP68.

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                                                                   Circuit Court Judge David J. Orr
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23                [UTCR CERTIFICA TE FOLLOWS ON NEXT PAGE]

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          DATED this/£. day of August, 2023.

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     APPROVED AS TO FORM:



     Thomas Bittner, Attorney for Father    date




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~ 1           ,CERTIFICATE OF SERVlCE: I certify that I served on August 10, 2023, a complete and
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~             exact copy (true copy) of this on the parties or their representative(s) by causing to be hand
~2            delivered a true copy, as follows:
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·;:                  Thomas A Bittner
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                     Schulte Anderson
a.                   811 SW Naito Pkwy Ste 500

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          5          Portland OR 97204

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                     DATED this    _f_{ day of August, 2023.
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                                    IN THE CIRCUIT COURT FOR THE STATE OF OREGON

oS                                                FOR THE COU NTY OF JACKSON
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a.
8       6   IN THE MATTER OF:
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~7          HEIDI M ARIE BROWN,                                          CASE NO. 22DR17285
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(.)
'g 8                                PETITIONER,                          TEMPORARY PROTECTIVE ORDER OF
~                                                                        RESTRAINT
j 9               and
                                                                         (Pre-Judgment Status Quo - ORS 107.097)
    I
      10    ARNAUD PARIS,

      11                            RESPONDENT.

      12           This matter came before the court on Petit ioner's ex parte motion for a temporary pro-

      13    tective order of restraint. Based upon Petitioner's declaration and the other documents on file

      14    herein, the court hereby finds the following:

      15           1.        The parties' mi nor children are Rr l           o--a (7) and.          11~--,, P    (7).
                                                                'i...J       I   a.....l   - - ''L.....J
      16           2.        Their children's usual place of residence is with Petitioner at 665 Leonard St., in

      17    Ashland, Oregon.

      18           3.        Their children are currently enrolled and attend school at Bellview Elementary

      19    School in Ashland, Oregon.

      20           4.        Both parties exercise parenting time w ith their children on a roughly equal basis.

      21           THEREFORE, IT IS HEREBY ORDERED that Petit ioner and Respondent are restrained from

      22    the following:

      23           1.        Changing their children's usual place of residence at 665 Leonard St., in Ashland,

      24    Oregon;

      25           2.        Interfering with the present placement and daily schedule of their children, which

      26    includes attending school at Bellview Elementary School in Ashland, Oregon;

            TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo - ORS 107.097)
            Page 1 of 3

                                                           CARTY LAW, P.C.
                                                     P O Box 4628, Salem, Oregon 97302
                                       offlce@cartylawpc com I (503) 991-5142 I www.cartylawpc . c ~I T   l _PAGE 85


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                     3.      Hiding or secreting their children from the other party;

                     4.      Interfering with the other party's usual contact and parenting time with their

              children which is on a roughly equal basis;

                     5.      Leaving the state with their children without the written permission of the other

              party or the permission of the court; and


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                     6.      In any manner disturbing the current schedule and daily routine of the child until

              custody or parenting time has been determined or the parties otherwise agree in writing.
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         13                                                                           Circuit Court Judge David J. Orr

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              TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo-ORS 107.097)
              Page 2 of 3

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                                    UTCR 5.100 Certificate of Readiness
             This proposed order is ready for judicial signature because service is not required by stat-
     ure, rule, or otherwise.

            DATED: 10/07/2022
                                                                 CARTY LAW, P.C.




                                                                 Sarah Bain, OSB No. 202594
                                                                 Email: sarah@cartylawpc.com
                                                                 Attorney for Petitioner


                             * * * * * * * * * * * * * * * * * * * * *
10
                                                 NOTICE
11   You may request a hearing on this order as long as it remains in effect by filing with the court a
     request for a hearing. In the request you must tell the court and the other party that you object
12   to the order and specifically why you disagree with the representation of the status quo de-
     scribed in the order. In the request you must also inform the court of your telephone number or
13
     contact number and your current residence, mailing, or contact address.
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     TEMPORARY PROTECTIVE ORDER OF RESTRAINT (Pre-Judgment Status Quo -ORS 107.097)
     Page 3 of 3

                                                   CARTY LAW, P.C.
                                            P 0. Box 4628, Salem, Oregon 97302
                              office@cartylawpc.com I (S03) 991-5142 I www.cartylawpc com
                                                                                      EXHIBIT 1 - PAGE 87


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    o>- 4                           IN THE CIRCUIT COURT OF THE STATE OF OREGON
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    (.) 5                                      FOR THE COUNTY OF JACKSON
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     ~ 6                                                Family Law Department
    (.)
    'O
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            7   In the Matter of:
    ai                                                        )
    >, 8        Heidi Brown,                                  ) Case No.: 22DR17285
                                                              ) Related Case No.: 23DR08269
            9                           Petitioner,           )
                            and                               ) ORDER RE: CONTACT
           10                                                 )
                Arnaud Paris,                                 )
          11
                                                              )
          12                            Respondent.           )

          13

          14           THIS MATTER came before the Court for hearing on June 21 , 2023. Petitioner Heidi
           15   Brown appeared in person and her attorney, Taylor L. M. Murdoch, of her attorneys Buckley Law,
        16 PC, appeared remotely. Respondent Arnaud Paris appeared in person, and his attorney Thomas
          17
                Bittner, of his attorneys Schulte Anderson, appeared remotely.
          18
                       The Court, having received argument from counsel and the parties, and fully advised in
          19
                the premises, makes the following
        20
                       FINDINGS OF FACT
        21
                       1. Mother and Father are the unmarried parents of two minor children, l{J and _ _
        22
                           P      , age 8.
        23

        24

        25
                Page 1 - ORDER                                                            Buckley Law PC
                                                                                   5300 SW Meadows Rd., See. 200
                                                                                       Lake Oswego, OR 97035
                                                                                 Tel: ~fflIWPO}FiUp]Qe~~878
                                                                                        tlm@buckley-law.com


                                                                                                       EXHIBIT 6
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                    2. A Temporary Protective Order of Restraint was signed on October 7, 2022. The

                         Temporary Protective Order ofRestraint remains in full force and effect. The parties

                         exchange the children on Sundays.

                    3. The Court's findings on the record of June 21, 2023 as reflected in Exhibit 1 are

                         incorporated herein as if fully set forth.

            NOW THEREFORE, IT IS HEREBY ORDERED:

                     1. Calls. Whenever the children desire to call the parent with whom they are not having

                         parenting time, the parent with whom they are with will facilitate such a call. In
       9
                         addition, there will be two points during the week where either parent can call and do a
      10

      11                 check-in and speak with the children, at 7:30 pm Pacific Standard Time, on Tuesdays

      12                 and Thursdays.

      13            2. Discussing the Case. Neither parent will discuss the pending litigation with the

      14                 children.                                    8/3/2023 2:03:14 PM


      15

      16                                                              0~a._.-<.
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                                                                                                  r
                                                                                 Circuit Court Judge David J. Orr

      18

      19
            UTCR 5.100 CERTIFICATE OF READINESS: This proposed order is ready for judicial
      20    signature because opposing counsel agreed to file objections independently.

      21
                    DATED this __ of June, 2023.
      22
                                 8/3/2023
      23
                                                       By:
      24                                                      Taylor L. M. Murdoch, OSB No. 111307
                                                              tlm@buckley-law.com
      25                                                      of Attorneys for Mother
            Page 2 - ORDER                                                                            Buckley Law PC
                                                                                              5300 SW Meadows Rd., Ste. 200
                                                                                                  Lake Oswego, OR 97035
                                                                                            Tel: 503-620-8900
                                                                                                 EXHIBIT 1Fax:    503-620-4878
                                                                                                               - PAGE   89
                                                                                                    tlm@buckley-law.com


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            CERTIFICATE OF SERVICE:               I certify that I served on July 31, 2023, a complete and exact
            copy (true copy) of this Order Re: Contact on the parties or their representative(s) by hand
            delivering a true copy to the following address, as follows:


            Thomas A Bittner
            Schulte Anderson
            811 SW Naito Pkwy Ste 500
            Portland OR 97204


                     DATED this      u       day of July, 2023.



        9

      10
                                                                                    com'
      11
                                                                                    other
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             Page 3 - ORDER                                                              Buckley Law PC
                                                                                 5300 SW Meadows Rd., Ste. 200
                                                                                     Lake Oswego, OR 97035
                                                                               Tel: 503-620-8900 Fax: 503-620-4878
                                                                                   EXHIBIT 1 - PAGE 90
                                                                                       tlm@buckley-law.com


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                        4   In the Matter of:


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                            HEIDI MARIE BROWN,

                                             Petitioner,
     (.)
     "'C
      Cl)
     .;::::             7      and                              Case No. 22DR17285
     ·;:

     ~I                 8   ARNAUD PARIS,                       Case No. 23DR08269

                        9                    Respondent.

                       10

                       11

                       12                           EXCERPT OF PROCEEDINGS

                       13                                    Pages 1 to 9

                       14

                       15

                       16            BE IT REMEMBERED THAT on June 21, 2023, the

                       17   above-entitled case came on regularly for hearing before

                       18   The HONORABLE DAVID J. ORR, a Circuit Court Judge.

                       19

                       20   APPEA~NCES:

                       21       Taylor LM Murdoch, Appearing via Webex
                                Attorney at Law
                       22       Representing the Petitioner

                       23       Thomas A. Bittner, Appearing via Webex
                                Attorney at Law
                       24       Representing the Respondent

                       25

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                                                                                 EXHIBIT 1 - PA


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     "c,                3                    THE COURT:       Do either -- Mr. Bittner, you
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                            were trying to address this issue?

                                             MR. BITTNER:          Yeah, Your Honor.     Look,

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                        6   these -- they've exchanged the kids successfully for
     (.)
     "'C
                        7   you know, since last October.               I think we should let
      Cl)
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                        8   them be.      And I want to object to you modifying your
     ~I
                        9   status quo order.          I've explained to you that any effort

                       10   you make to alter what's going on is in contravention to

                       11   the judgment in France, and you don't have modification

                       12   jurisdiction.        So I'm just making a record.            I'm

                       13   pointing it out.          You're going to do what you want to

                       14   do.    I get it.       So, you know --

                       15                    THE COURT:       You've made the record multiple

                       16   times.     That's not what I was asking.            I was asking for

                       17   your proposal in terms of how to address the problem

                       18   that is, that is at h3nd here.               Yeah, I understand that

                       19   you believe Oregon doesn't have jurisdiction.                  That may

                       20   well be the case.          As of now, that has not been

                       21   determined.        I will make such orders as are necessary

                       22   that are in the best interests of the children.

                       23             Let's talk about what we're going to do here with

                       24   regards to the parents talking to the children,

                       25   Mr. Bittner.

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    (")
    N
    0                  1                     MR. BITTNER:        I guess my point is, what have
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    .....              2   they r.istorically done this past year?             It seems to have
    iii
     C
    "c,                3   been fine.        So I don't know that the Court needs to
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                           intervene.        They may be going through a rough patch,

                           but, you know, this was not the form, the time, the
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                       6   place.      You know, I don't know that there is a problem.
    (.)
    "'C                7   They've never complained to me -- or my clients never
     Cl)
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    ·;:
                       8   complained to me that the kids haven't been able to
    ~I
                       9   communicate with him or the kids with their mother.

                      10              There have been a lot of complaints from my

                      11   client about things tnat the girls repeat to him that

                      12   mom says that are really, really bad, and so, you know,

                      13   there is some concern of that.              But the Court has

                      14   chastised both parties and grandparents and whatnot to

                      15   shield the kids, and that's, you know, standard and

                      16   appropriate advice, and I told my client to follow it,

                      17   and I'm sure that Mr. Murdoch has done the same.                 So

                      18   they've been told what to do.              They need to make the

                      19    kids available if the kids want to communicate.                And,

                      20   you know, if there needs to be a midweek check in, they

                      21        whatever.        I understand.

                      22              But, but I discourage you from making orders that

                      23    are in modification.              That's a whole different issue

                      24    than what I said before about this Court not having

                      25    jurisdiction to make an initial determination.               Now

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                                                                                           Page 4


                     1     you're making a modificat ion.

                     2               So I'd say let them be and, you know, if
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      C
                     3     somebody' s got a problem, they can file a motion.              But
     "c,
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                           jumping in and trying to --

                                             THE COURT:       Well, as long

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                     6                       MR. BITTNER:       -- do it on the fly --
     (.)
     "'C             7                       THE COURT:       -- we're in court here, we
      (I)
     .;::::
                     8     might, we might as well get these issues settled to the
     ~I
                     9     extent that it's possible to settle them.                I'm going to

                    10     hear from Mr. Murdoch.

                    11                But, Mr. Paris, what were you trying to say?

                    12                       MR. PARIS:       Actually, I'm the one who

                    13     offered the kids yesterday to call their mother.

                    14                       THE COURT:       You were, you were the one who

                    15     what?

                    16                       MR. PARIS:       I am the one who offered the

                    17      kids to call their --

                    18                       THE COURT:       To what the kids?

                    19                       MR. PARIS:       Sorry.    I am the person who told

                    20      the kids, "Do you want to speak to your mom?" yesterday .

                    21      That phone call was me suggesting to the kids to call

                    22      their mom.        They don't necessari ly want to call their

                    23      mom every day, nor do they want to talk to her every

                     24     day.     You know, they're doing lots of fun things.            I am

                     25     the one that was saying to the kids, Do you want to call

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                                                                                              Page 5
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     0                 1    your mom?       You haven't talked to her for three days.
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     .....              2   And I asked, Why do you not want to talk to her every
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     "c,                3   day?    They said, When we're with you, we don't really
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                            want to talk to mom, and when we're, when we're with

                            morn, we don't really want to talk to you.             Because last
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                        6   week they called me once.            One of them called me once.
     (.)
                        7   That's it.        I don't get to speak to them every day.             And
     "'C
      Cl)
     .;::::
     ·;:                                                                     If they don't want
                        8   frank:y,     I don't want to fault them.
     ~I
                        9   to ta:k to me when they're with mom, that's fine.                 I

                       10   suggested that they call their morn yesterday, and they

                       11   said okay.       Sometimes I suggest and they say no.         I

                       12   don't think we should fault these kids.             That's what I'm

                       13   saying.      Even if mom wants to talk to them every day, if

                       14   they don't want to talk to their mom, I don't think we

                       15   should fault them, fault them.

                       16                     THE COURT:      What is the exchange day?       What

                       17   day of the week?

                       18                    MR. PARIS:       It's, it's Sunday.

                       19                     THE COURT:      All right.   Mr. Murdoch,

                       20   anything on all this before I do something?

                       21                    MR. MURDOCH:       Thank you, Your Honor.

                       22             Let's just make sure these kids talk to their

                       23   parents and make sure this is not something where a

                       24   parent is suggesting one way or the other or is somehow

                       25   leading -- leaving it to an eight-year-old's

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     0                  1   determination.         Let's get an order in place saying these
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     N                  2   kids have to talk to, talk to mom during dad's time and
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     "c,                3   they have to talk to dad during mom's time.               Let's set a
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                            date -- or rather, let's set a time when this happens.

                            It can be every other day.             But let's make sure -- and
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                        6   an order also directing the parties not to discuss these
     (.)
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                        7   matters with -- this case with the children.               I think
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                        8   that's a straightforward thing that protects these kids
     ~I
                        9   and gets them through to the next hearing.

                       10                    THE COURT:        It does sound like we need to

                       11   make some kind of an 8rder.             So here's what it'll be.

                       12             First of all, and I think both mother and father

                       13   are agreeable to this, that the children, whenever they

                       14   desire, are permitted to call the parent that they are

                       15   not with, meaning if they're with dad, if they --

                       16   whenever they want to call mom, they get to call mom; if

                       17   they're with mom, whenever they want to call dad, they

                       18   get to call dad, and further, that the parent will

                       19   facilitate that.          Since they're eight and they don't

                       20   have phones, the parent will facilitate that.

                       21             In addition, there will two points during the

                       22   week where either parent can call and do a check-in and

                       23   talk to the kids.          My recommendation is that be, that be

                       24   somewhere around 7:30 in the evening.               I don't know

                       25   you want to do that?             Let's see.    So you exchange

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                                                                                           Page 7


                     1    Tuesday -- excuse me, you exchange Sunday.                Do you want

                     2    to do that Tuesday and Thursday or Tuesday and Friday?
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    "c,              3    What are you requesting, Mr. Murdoch?
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                                            MR. MURDOCH:      Your Honor, I think what the

                          Court is suggesting, on Tuesday and Friday, makes sense.

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                     6     Friday may actually be problematic just because
    (.)
    "'C
                     7    oftentimes families have plans on Friday evening
     (I)
    .;::::
                     8                      THE COURT:      All right.
    ~I
                     9                      MR. MURDOCH:      -- for the upcoming weekend.

                   10      So let's make it Tuesdays and Thursdays.

                   11                       THE COURT:      Tuesday and Thursday.      So you

                   12      can call at 7:30 Tuesday and Thursday.            Heidi will make

                   13      the kids available.

                   14                You can call tje kids when he has them Tuesdays

                   15      and Thursdays at 7:30.           Mr. Paris will make the kids

                   16      available.

                   17                If they tell you they don't want to talk, you

                   18      tell them, Okay, you don't have to talk.            Just tell your

                   19      dad, or tell your mom, you don't want to talk because

                   20      the other parent needs to hear it from them.              All right.

                   21                       MR. PARIS:      So I would agree with you on

                   22      this.     It's very good advice.         I just can't accept that

                    23     order.     You don't have jurisdiction, Judge.

                   24                       THE COURT:      Okay.   You refuse --

                   25                       MR. PARIS:      And I will (unintelligible)

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     0                  1                     THE COURT:      -- the Court's orders at your
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                        2   peril.
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     iii
      C                 3                    MR. PARIS:       No.
     "c,
     ·;:

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                                              THE COURT:

                                             MR. PARIS:
                                                              So I'm going

                                                              I'm just saying that I will, I

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                        6   will challenge that order in Supreme Court.
     (.)
                        7                     THE COURT:      Okay.     Well, go ahead and do
     "'C
      Cl)
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     ·;:
                        8   that.     I'm saying it would be not a good idea, and I
     ~I
                        9   think even your attorney would not recommend that you

                       10   disobey the Court's orders at this point until --

                       11                     MR. BITTNER:      Yeah.

                       12                     THE COURT:      -- you have your Supreme Court

                       13   order telling you otherwise.

                       14             Also, Mr. Murdoch, as you were suggesting the

                       15   language about neither parent discussing the case with

                       16   the children is very appropriate and apparently

                       17   necessary here.           So that's where we are.

                       18             Anything else that we have to put on the record

                       19   before we adjourn?

                       20              [END OF EXCERP~:        3:10 PM]

                       21

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    "c,                3                       I, Terri Forsyth, a transcriptio nist in the
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                            state of Oregon, do hereby certify that I reported in

                            stenotype the foregoir.g audio recorded proceedings had
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                       6    upon the hearing of ttis matter previously captioned
    (.)
    "'C                7    herein; that I thereafter reduced my said stenotype
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                       8    notes to typewriting; and that the foregoing transcript,
    ~I
                       9    Pages 1 to 9, both inclusive, constitutes a full,                 true

                      10    and accurate record of said audio recorded proceedings

                      11    to the best of my knowledge, ability, belief, and

                      12    quality of the recording.

                      13               Witness my hand as transcriptio nist at Portland,

                      14    Oregor., this 24th day of June, 2023.

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                      23                                        ~».~,:f}a.~ 4~-;JJJ.
                                                                Terri Forsyt-11
                      24                                        Transcriptio nist

                      25

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                              NOTICE:REGARDING MANDATORY PARENT EDUCATION PROGRAM
      I
~ 1. Mandatory Parent Education Program - A parent education program of the type authorized by ORS
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00
      3.425 is established. The program shall provide information on the impact of family restructuring on
~     children to each person named as a party in the following types of proceedings, when such proceedings
....N
      involve minor children:

                 (a) Annulment or dissolution of marriage,

                 (b) Legal separation,

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                 (c) Petition to establish custody or parenting plans (including paternity), and

(.)              (d) Post-judgment litigation involving custody or p_arenting plans.
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!E 2.        Each party who files an appearance in a proceeding of the types described above shall complete the
j1           program unless exempted by the Court. A final judgment shall not be entered in the proceeding until
             each party not otherwise exempted by the Court who has filed an appearance has completed the
             program.

          3. The party initiating the proceeding shall register for the program within 15 days after filing the initiating
             pleadings with the Court. A copy of this local rule and instructions on how to register for the program
             shall be served by the initiating party on all parties against whom relief is sought. Service shall be
             completed in the manner provided in ORCP 7 at the time the initiating documents are served. All other
             parties shall have 30 days after service of the notice upon them to register for the program.

          4. The Court shall provide a copy of this rule to the initiating party for service upon all parties against
             whom relief is sought, together with a statement describing the program including contact telephone
             numbers, addresses and statement of costs.

          5. The_program provider shall issue a certificate of completion when the participant has completed the
             program. The certificate must be filed with the Court.

          6. The Court may exempt one or both parties from the program if, after reviewing the requested party's
             motion and supporting affidavit, the Court determines that participation is unnecessary or
             inappropriate.

          7. Sanctions - Failure or refusal to complete the program in a timely manner shall be considered by the
             Court in making its ruling on issues which are in dispute.

          8. A party who has completed the program shall have the right to:

                  (a) Request that the pleadings of a party who has appeared be stricken if that party has not
                      completed the program in a timely manner without good reason.

                  {b) Request entry of an order from the Court to compel the non-complying party's completion of
                      the program should the non-complying party not have completed the prpgram in a timely
                      manner without good reason. The Court may enter an award of attorney fees in favor of the
                      complying party who utilizes this option to force the non-complying party's compliance with this
                      rule.

                  (c) Apply for entry of a default judgment against a non-appearing party notwithstanding the non-
                      appearing party's failure to participate in the program. EXHIBIT 1 - PAGE 100


                                                                                                        EXHIBIT 6
                                                                                                   Page 114 of 118
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         9. Fees

               (a) Each party shall pay the required fee to the program provider upon registering for the program.
               {b) The program registration fee may be waived or deferred by the Court. The procedure for
                   requesting a fee waiver or deferral shall be the same as used to request a waiver or deferral of
iii                the fee when filing a petition for dissolution.
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 a.
               (c} Application for fee waiver or deferral, if any, must be made prior to registering for the program.
                   When registering, either the fee must be paid or the order waiving or deferring the fee must be
 0                 provided to the program provider.
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                                                                                EXHIBIT 1 - PAGE 101


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                     NOTICE OF STATUTORY RESTRAINING ORDER PREVENTING THE
                      DISSIPATION OF ASSETS IN DOMESTIC RELATIONS ACTIONS

       REVIEW THIS NOTICE CAREFULLY. BOTH PARTIES MUST OBEY EACH PROVISION OF THIS ORDER
       TO AVOID VIOLATION OF THE LAW. SEE INFORMATION ON YOUR RIGHTS TO HEARING BELOW
iii
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·;:   TO PETITIONER AND RESPONDENT:
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Q.
      PURSUANT TO ORS 107.093 and UTCR 8.080, Petitioner and Respondent are restrained from:
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(.)
         1. Canceli11g, modifying, terminating, or allowing to lapse for nonpayment of premiums any
            policy of health insurance, homeowner or renter insurance, or automobile insurance that
            one party maintains to provide coverage for the other party or a minor child of the parties,
            or any life insurance policy that names either of the parties or a minor child of the parties
            as a beneficiary.

         2. Changing beneficiaries or covered parties under any policy of health insurance,
            homeowner or renter insurance, or automobile insurance that one party maintains to
            provide coverage for the other party or minor child of the parties, or any life insurance
            policy.
         3. Transferring, encumbering, concealing, or disposing of property in which the other party
            has an interest in any manner, without written consent of the other party or an order of
            the court, except in the usual course of business or for necessities of life. Paragraph (3)
            does not apply to payment by either party of:
                {a) Attorney fees in this action;
                {b) Real estate and income taxes;
                (c) Mental health therapy expenses for either party or a minor child of the parties; or
                (d) Expenses necessary to provide for the safety and welfare of a party or a minor
                    child of the parties.
         4. Making extraordinary expenditures without providing written notice and accounting of
            the extraordinary expenditures to the other party. Paragraph (4) does not apply to
            payment by either party of expenses necessary to provide the safety and welfare of a
            party or a minor child of the parties.
      AFTER FILING OF THE PETITION, THE ABOVE PROVISIONS ARE IN EFFECT IMMEDIATELY UPON
      SERVICE OF THE SUMMONS AND PETITION UPON THE RESPONDENT. IT REMAINS IN EFFECT
      UNTIL A FINAL DECREE OR JUDGMENT IS ISSUED, UNTIL THE PETITION IS DISMISSED, OR UNTIL
      FURTHER ORDER OF THE COURT.
                      PETITIONER'S/RESPONDENT'S RIGHT TO REQUEST A HEARING
      Either petitioner or respondent may request a hearing to apply for further temporary orders, or
      to modify or revoke one or more terms of the automatic mutual restraining order, by filing with
      the court the Request for Hearing form specified in Form 8.080.2 in the UTCR Appendix of Forms.




                                                                           EXHIBIT 1 - PAGE 102


                                                                                              EXHIBIT 6
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\
                                           Department of Consumer and Business Services
                                                        Insurance Division
                                                 P.O. Box 14480, Salem, OR 97309-0405
                                                Phone: 503-947-7891, Fax: 503-378-4351
                                                350 Winter St. NE, Salem, OR 97301-3883
                                                     Email: dcbs.insmail@state.or.us
iii                                                    www.insurance.oregon.gov
    C



~otice to parties in a suit for marriage dissolution or legal separation
    >,
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(.)
                              regarding continuation of health coverage
tjyou or your spouse have filed for divorce or legal separation and currently hold group health insurance coverage
twough your spouse, your coverage may end when the court grants your divorce or separation. Oregon law offers options
tlmt may enable you to continue your coverage. This notice outlines continued  coverage options available under Oregon
 ~                                                                           .
1!-v- Federal law commonly known as COBRA may also enable you to continue coverage. Note: You must act promptly
{j continue coverage.
>
Applying for individual coverage may also be an option. Insurers can no longer deny enrollment to individuals because of
health or pre-existing conditions. You may be eligible to enroll in a plan through healthcare.gov or directly from an
insurer. If you apply for coverage through healthcare.gov, you may qualify for financial assistance.
For more infom1ation about Oregon and federal law, consult your health insurer, the plan administrator for your insurance
coverage, the employer through whom your insurance is provided, or your attorney.
The following is a summary of options under Oregon law:
1. Continuation of existing coverage for a divorced or legally separated spouse who is 55 years of
   age or older (ORS 743.600 to 743.602). If you are a divorced or legally separated spouse and if you are 55 years of
   age or older when the dissolution or legal separation occurs, you may continue your existing group coverage until you
   obtain other group coverage or become eligible for Medicare. In order to continue coverage, you must do both of the
   following:
         A. You must notify the group health insurance plan administrator in writing of the dissolution or legal
            separation within 60 days of the entry of the decree of divorce or legal separation.

         B. You must elect to continue and pay for the group coverage. You must make the election on a form provided by
            the plan administrator.
Note: This provision applies only ifyour coverage is provided through an employer who employs 20 or more employees
or if your coverage is provided by a group health insurance plan that covers 20 or more employees.
2. Continuation of existing coverage for a divorced spouse when federal law does not provide for
         continued coverage (ORS 743.610). If you are not able to continue your group health coverage under federal law
         (COBRA), you may continue your existing group coverage upon dissolution of your marriage for a period not
         exceeding nine months. The following requirements apply:
         A. You must have been continuously covered by the group policy for at least three months prior to your divorce.
         B. You must ask the insurer or the group policyholder, in writing, to continue your coverage. You must also pay
            the required premiums.
         C. You must make your request by the latter of the following dates:
            (1) Ten days after the date that your coverage under the group policy as a qualified
                family member ends;

                 or
             (2) Ten days after the date on which the employer or group policyholder gives notice of the right to
                 continue coverage.

                                                                                       EXHIBIT 1 - PAGE 103


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    1. Apply for individual coverage. If you were covered by a group health plan and you lost that coverage because
         1
             of a legal separation or divorce, you may qualify for a special enrollment and be eligible to purchase an individual
~            plan through healthcare.gov or from an insurer. To qualify for this special enrollment:
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~
00
~                (1) Apply through healthcare.gov and pay your premium within 60 days of the date you lost your group
....N                coverage; or
iii              (2) Apply for individual coverage from an insurer within 60 days of the date you lost your group coverage.
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iemember: The longer you wait to apply, the later your coverage will start. Financial help is available only if you
 jpply for insurance through healthcare.gov. Your insurance agent can also he1p you apply through healthcare.gov.
 Q.



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                   Prepared by Insurance Division, Department of Consumer and Business Services, under ORS 107 .092.
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 f                       Revised January 9, 2015. Distributed by the Office of the State Court Administrator
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                                                                                          EXHIBIT 1 - PAGE 104


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             d.~an~ne~
                                                                                                         ...
                                                                                                         CONSULAT
                                                                                                         Gt~iRAL
                                                                                                         DEFRANCE
                                                                                                         ASAN FRANCISCO
                                                                                                         "'"''
                                                                                                         lflllJI
                                                                                                         /Ntt1'/tl




                               Authorization to travel to France wttf1 two minors




          The Consulate General of France in. San Francisco hereby c:ertifiea lhat Mr. Arnaud PARIS (DOB: ■
  -      1978) is allowed to travel to France with his two daughters                     F        and                   R
  both born on
                 - - - -, 2015.

          A French court granted Mr. PARIS fuli custody over hi_s daughters. The ju·dgement has been regularly
  registered in Oregon under No. 23DR06269 and thus it became an Oregon Judgment on the day it was
  registered, May 9, 2023. Therefore it is an official, register.ed Judgment entitled to full ·recognition and
  enforc:emert by bca authorities.


          The Consulate General of France in San Francisco kindly asks CBP for their assistance in letting Mr.
  PARIS. end liis dauglthn board_their flight to Paris, France.




                                                                              San Francisco, July 22nd 2023




                                44 lbitgomeiy su.t. Suite 3400. San F.JWICisco. CA 94104
                           (<415) G1 M906 . admin-fTancals.san-frlri:i:SCO.fsltGl(fiplblWstle.gouv.fr
                                                                                                                                   I
---------- - - ---- ------ - - - -- - - - - -- ___.
                                                                                                                      EXH IBIT 7
                                                                                                                     Page 1 of 1
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                                        RE: URGENT:~ ~ I                 ct J


                                             www.consulfnlnce-sanfrandsco,011




       De : Arnaud Paris [maiJto:aparisCPsysmk:fllms.com)
       Erwuv': lunl 24 Julllet 2023 12:10
       l: SAMSON Otrlsb!lle <christl!lle.samson@ldiplomatie.8C)UV.fr>
       Cc: terence.rlc:houxOtrx-lepl.com; 'BEDOUSSAC Anthony' <anthony.becloussac@ldlplomatie.gow.fr>; 'KEYNES
       Olivier-Antoine' <offvier-antolne.reynes@diplomatie.gouv.fr>; 'SEILER Alexandre'
       <alexandre.sellerOdlplomatjqouv.fr>
       Objet : URGENn Contaxta llltour       et

       ·••[BMB1TEUR BXTERNB] : Ne cliquc:z sur IUCUll lien et n'ouvn::z aucunc pm jointc amoms qu'ils
       ne proviennmt d'wl ~ fiable. ou que vous ayez l'assurance que le contenu provient d'une somce
       ··••.
       Madame SIIDIC>D, lea avoc:ata de Madame Brown essayent de faire croiro aux services de polices fran9ais
                                                                    a
       ct alajustigc 1iam;aiac ainsi qu'a l'ambusado am6ricaioo Paris que lo conaulat de SF a ete complico d'un
       eolevement.
       Pourricz vous Jdpm'OI uno lettro en Fran~ cxpliqwmt comment l e ~ a valid6 lo1 WAClr'pu.,or en
       tout conn.aissance du 'JFOR ct le fait que le consul s'm lui meme ~lac6 pour confirmer avec le CBP que
       le TPOR n'avait plus de valeur filce au jugemcnt ftan98is et que nous avions la preuve ec:rite quo Madame
       Brown s'copgcait a" quc lcs enfam ce'Vicnnent en France Al'issuc de l'aonee scolaire 2022-2023.
       Ce serait important de reprendre ce qu'a dit Monsieur le consul dam la discllssion avec le CBP l
       l'embarquement (ct qu'il pouma vous confirmer) jc cite: "Vous penscz quc le conaul general de Franco 8C
       dcplacerait m pemmnc afcmbarquement pour cautionner un enlhement d'enfants apres avoir fait valider'
       ce depart par 1'vnbes•tide ~ i Washington, le mmistere des affaires 6tnngeres fi:aa9ais et avcir
       communiqu6 avce le CBP aWashington en amont de" depart.

       Pour info Madame Brown est en route pour essayer de ramener lea enfanta ven les USA. 11 faut
       absolument quc Jes ICl'Yices diplomatiques se mettent en relation avec le State Department et le FBI po1r
       indiquer que Madame Brown 1'apprete ans dou1e l kidnapper lea cnfan1s i Paris w ses antkedmts.
       Merci encore pour voptre aide mr ce doaier.

       Cordialcment,
       Arnaud Paris
       On 21/0711111.3 09:12, SAMSON Chris1elle Wl'Ote:
             Bonjcur Monsieur Part,,

             Oui,J'•i blenw ce J)l$$11e, En revanthe, c:e queJe ne trouve pH, c'est le texte qui praclse qu'une
             « objecticm • ne suspend pas la force mcutolre du Jugement enreglstre le temps que le Juge local
             rende une <Mcislon.


2of4                                                                                                              2S/fY111/.Y13 01:47




                                                                                                               EXHIBIT 8
                                                                                                              Page 1 of 2
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     µNOFFICIAL AUTOMATIC TRANSLATION VIA GOOGLE TRANSLATE
                            RE: URGENT: Context return ~7 and ~~ P,~
                                    www,cgnsylfyrjlll(lfrancisco.ora




By : Arnaud Peria [malto:aparia@a~mlcfflms.com]
Sent Monday July 24, 202312:10
To: SAMSON Christalle <chrlstelle.samson@dlplomaHe~ouv.fr>
Cc : terence.rlchoux@tn<-legal.com; 'BEDOUSSAC Anthony'
<anthony.bedouaaac@diplomaHe.gouv.fr>; 'REYNES Olvler-Antoine'
<ollvler-antolne.reynes@dlplomaHe.gouv.fr>; 'SEILER Alexandra'
<alexandre.seller@dlplomaHe.gouv.fr:>
Subject: URGENT? Context retum        and        F

•-[EXTERNAL SENDER]: Do not click on any links or open any attachments unless they
come from a reliable sender, or that you are assured that the content comes from a souroe
safe....


Mrs. Samson, Mrs. Brown's lawyers are 1rylng to make the French police services and the
French Justice system, as well as the American embassy In Paris, believe that the SF consulate
was complicit in a kidnapping,

Could you prepare a letter in French explaining how the aJ11Sulate validated letting them pass
with full knowledge of the TPOR and the fact that the consul himself went to conflnn with the
CBP that the TPOR no longer had value In the face of the judgment French and that we had
written proof that Mrs. Brown agreed that the children would retum to France at the end of the
2022-2023 school year.

It would be Important to repeat what Mr. Consul said in the discussion with the CBP upon
boarding (and which he will be able to confirm to you) I quota: "You think that the Consul
General of France would travel in person to the boardiig to support the kidnapping of children
after having this departure validated by the French Embassy In Wastington, the French Ministry
of Foreign Affairs and haVing com~nicated with the CBP in Washington before this departure.

FYI Mrs. Brown Is on her way to try to bring the children back to the USA. It is absolutely
necessary for the diplomatic services 1o contact the S1Bte Department and the FBI to Indicate
that Mrs. Brown is undoubtedly prepamg to kidnap the children ii Paris given her background.

Thank you again for your help on this matter.

Sincerely,

Arnaud Paris

On 07/21/2023 09:12, SAMSON Christene wrote:
      Hello Mr Parts,

     Yes, I saw this passage clearly. On the other hand, what I cannot find Is the text which specifies that a
     "objecHon" does not suspend the enforceability of the recorded Judgment until the local
     Judge renders a decision.


                                                                                                  EXHIBIT 8
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1            IN THE CIRCUIT COURT OF THE STATE OF OREGON
                      FOR THE COUNTY OF JACKSON
2
     Heidi Marie Brown,                  Docket No. 22DR17285
3
                 Petitioner,
4
           v.                            Medford, Oregon
5
     Arnaud Paris,                       November 14, 2023
6
                 Respondent.
7

8                                VOLUME 1

9               PARTIAL TRANSCRIPT OF MOTION HEARING
                   BEFORE THE HONORABLE DAVID ORR
10                      CIRCUIT COURT JUDGE.

11

12   APPEARANCES:

13   For the Petitioner:       Buckley Law, PC
                               By: Taylor Murdoch
14                             Lake Oswego, OR 97035

15   For the Respondent:       Arnaud Paris, pro se

16

17

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19

20

21   Transcription Service:          CourtScripts, LLC
                                     Jennifer Muir, CET-1149
22                                   PO Box 123
                                     Philomath OR 97370
23                                   (541)207-7412
                                     jmuirtranscriber@gmail.com
24
     Proceedings recorded by electronic sound recording;
25   transcript produced by transcription service.




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1                      G E N E R A L    I N D E X

2
     November 14, 2023 Motion Hearing                              1
3    Motion to continue                                            3
     Motion to continue denied                                     9
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                                                                      3


   1                        November 14, 2023

   2             (Requested portion begins at 10:13 a.m.)

   3                    MR. PARIS:   And again, I don't

   4   understand why we are proceeding with trial while you

   5   don't have jurisdiction in this matter, Your Honor.

   6                    THE COURT:   So that's not before me

   7   today.    That is -- I've already decided.    I understand

   8   that you disagree with my decision, and there's more

   9   we can talk about there, but I'm just looking at the

  10   timing of this motion to continue.     You're saying you

  11   need a lawyer, but you knew we had this set; you knew

  12   we had trial set for the 29th.    Was there anything

  13   that triggered this just of late?     What's going on?

  14                    MR. PARIS:   The fact -- yes.     I was

  15   very surprised that Your Honor and the courts decided

  16   to ignore about 15 of my -- of my emails where I've

  17   been asking repeatedly, why are we not hearing the

  18   motions to dismiss that have been filed since the

  19   beginning of September?    It's been more than two

  20   months.

  21                    THE COURT:   All right.   So -- yeah.     A

  22   few things to note here, comments to you and just for

  23   the record in general.

  24                    So you probably recall that, at the

  25   time that we were litigating the motion to dismiss,




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                                                                  4


   1   there was a status quo order that prohibited you from

   2   removing the children in question from this state.

   3   You disagreed with that, and you brought it before the

   4   court, and you and your attorney argued that the

   5   status quo should not be ordered and that you should

   6   be allowed to remove the children from the state.

   7   That motion was heard, the arguments were heard, and

   8   the court said, "No.   That status quo order remains in

   9   place at least while this hearing on the motion to

  10   dismiss is pending."

  11                    During the course of that motion to

  12   dismiss that went over several nonconsecutive days,

  13   you, at one point, suddenly disappeared.      You took the

  14   children in violation of the court's order out of the

  15   state and out of the United States and are still

  16   holding them right now as we speak.

  17                    So I told you as we continued the

  18   hearing, after you had removed these children contrary

  19   to the court's order, I told you you would be allowed

  20   to sit in and listen -- just like if you were local

  21   here, you could come in and sit in the audience -- but

  22   you were not to participate.     And that is because it

  23   would make no sense to me or to any court, I don't

  24   believe, when you are in flagrant violation of

  25   basically the most fundamental order that's in place




                                                                  EXHIBIT 9
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                                                                         5


   1   right now, and that is, where are these children going

   2   to be?

   3                      When you are in flagrant violation of

   4   that order, you are not going to come back in to court

   5   and continue to litigate about where these kids should

   6   be or where they shouldn't be or what's going to

   7   happen with these children, absolutely not.

   8                      The court is not -- this is

   9   basically -- you're asking --

  10                      MR. PARIS:   So it was a section --

  11                      THE COURT:   Be quiet right now.       This

  12   is as though you are asking the Court to negotiate

  13   with hostage-takers.      This is what this looks like.

  14   You are now holding these children criminally.           It

  15   doesn't matter to me whether you were charged

  16   criminally or not.      You have violated a criminal

  17   statute --

  18                      MR. PARIS:   Sir, I am in France --

  19                      THE COURT:   Be quiet, sir.

  20                      MR. PARIS:   I'm in France, Your Honor.

  21                      THE COURT:   Be quiet, sir.       You have

  22   violated a criminal statute, and it's a felony.

  23   You're holding these children contrary to the court's

  24   order, and you want to continue to litigate?           I don't

  25   understand.      So in your motions, your subsequent




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                                                                    6


   1   motions to dismiss, which you filed -- 13,

   2   14 -- you're asking -- if you think about the lack of

   3   logic here, you're asking -- a motion is asking for an

   4   order.   That's what a motion is.      A motion is asking

   5   for a court order.

   6                      I don't know what court orders mean to

   7   you or why you would be asking for them since you seem

   8   to just do whatever you want, and you flagrantly

   9   disobey court orders.     This is extremely unacceptable.

  10                      And, you know, I've seen different

  11   people violate different court orders at different

  12   times but when it comes to children and unlawful

  13   taking of children, removing them from a country

  14   against a court order, and then you want to continue

  15   to hold them over there, and now you have them

  16   overseas, and you want to litigate this case?

  17                      So understand this, all your motions

  18   that you filed subsequent to removing the

  19   children -- and "removing" is a kind word; the more

  20   accurate word is "abducting."      All the motions that

  21   you filed --

  22                      MR. PARIS:   Objection.

  23                      THE COURT:   -- are not going to be

  24   considered.      You do not -- there's no objecting right

  25   now.   You can object at the end, and you can record




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                                                                     7


   1   whatever objections you want.    You are not to

   2   interrupt me.

   3                    So all the motions you filed are simply

   4   senseless to me.   They are not going to be considered.

   5   All you can do at this point with regards to any kind

   6   of ligation involving what's going to happen with

   7   these children is listen in.

   8                    Today, I am allowing you to participate

   9   in this hearing because it's not about what's going to

  10   happen with the children; it's about if and how much

  11   attorney fees you are going to have to pay.        That it

  12   seemed to me appropriate that you should be allowed to

  13   participate in and give your input, make your legal

  14   arguments, present evidence if you have any.         That's

  15   appropriate.

  16                    As to anything regarding these

  17   children, no.    The Court is not going to be -- you're

  18   not going to make a mockery of the Court.         Abducting

  19   the children and then continuing to litigate the case

  20   about your children while you've taken them against a

  21   court order that you were fully aware of because you

  22   were arguing against it.    And you heard me tell you,

  23   "You can't remove these children from Oregon," and you

  24   did so, and you're still holding them.

  25                    Ms. Brown's attorney did not ask for an




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                                                                       8


   1   arrest warrant for contempt.     I'm not sure why.       Had

   2   he asked for one, it certainly would have been

   3   granted, and I would have issued a warrant for your

   4   arrest.

   5                    So I'm not going to play these games

   6   with you, Mr. Paris.   So you can be here today.         You

   7   can be heard about attorney's fees, that's

   8   appropriate, but not about anything relating to where

   9   these children are going to be.

  10                    Continuing on, when we were trying to

  11   set this hearing for the attorney fees, my assistant

  12   contacted you.   This is what she told me.         And

  13   she -- well, she contacted both you and Mr. Murdoch.

  14   And she provided three dates and said to each of you,

  15   "Please advise which of these dates are available."

  16   She tells me that you, Mr. Paris, said you're not

  17   going to give her any dates or agree to any hearing

  18   dates until you get hearings set on your motions, the

  19   motions regarding the children regarding jurisdiction

  20   and so forth, which I had already told you I am not

  21   prepared to entertain.

  22                    So she asked me, "Well, what do I do?

  23   He won't respond.   He won't give me any date."          This

  24   is what my assistant, Ms. Allen (phonetic), was

  25   saying; that you wouldn't agree to any date until I




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                                                                     9


   1   set a hearing on your motions.      I said, "Well, if he's

   2   not willing to respond, just set it on one of those

   3   three dates."      And that's how we came up with this

   4   date.

   5                      So now for you to move to continue

   6   seems disingenuous to me.     So for that reason, I am

   7   going to deny the motion to continue.

   8                      In addition, I should tell you that my

   9   assistant was telling me that you keep on writing her

  10   email after email with lots and lots of texts, long

  11   narratives.      This is not appropriate.   The contact

  12   with my assistant is just for the purpose of

  13   scheduling.      She's not going to hear the merits of

  14   your case, nor is she going to communicate them to me.

  15   I don't let her.      So all that was just -- I don't know

  16   what you wrote in there, but it was just a waste of

  17   your time because I'm not going to consider those

  18   things.

  19                      Anyway, at a certain point -- and I

  20   don't know.      I didn't read your emails but maybe

  21   because of the volume or the tone or the

  22   inappropriateness, I don't really know.       It wouldn't

  23   seem to me that you acted directly inappropriate

  24   because you haven't been inappropriate in court.        I

  25   grant you that.     You have been appropriate.




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                                                                       10


   1                    But she complained to the trial court

   2   administrator and then later told me that the trial

   3   court administrator sent you an email saying that "You

   4   need to knock this off or else you are going to be

   5   blocked."   I don't know what's happened, if anything,

   6   since then.

   7                    Mr. Murdoch, where did we leave this?

   8                    MR. PARIS:   I'm sorry, Your Honor.          Can

   9   I speak?

  10                    THE COURT:   Go ahead.

  11                    MR. PARIS:   So did you read my motions,

  12   Your Honor?

  13                    THE COURT:   You can speak.       I'm not

  14   having a discussion with you.    If there's something

  15   you want to say about the attorney fees here

  16   that -- I'm going to give you a chance to speak after

  17   Mr. Murdoch speaks, but Mr. Murdoch is the one

  18   requesting attorney fees.     So I am listening to him

  19   first, and then I'll listen to you fully.          Is there

  20   something I need to hear before we hear the merits?

  21                    MR. PARIS:   Yes, yes.   I think you need

  22   to hear this before the merits, Your Honor.

  23                    THE COURT:   Go ahead.

  24                    MR. PARIS:   I think it's important

  25   that --




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                                                                   11


   1                    THE COURT:   Go ahead.

   2                    MR. PARIS:   So these motions that I

   3   filed that you say that you are not going to consider,

   4   on what ground are you not going to consider them,

   5   Your Honor, please?

   6                    THE COURT:   Were you listening to me

   7   talking the last 10 minutes?

   8                    MR. PARIS:   Yes, but it looks like you

   9   are denying me due process again.      I have a right to

  10   file these motions.    You have an obligation to read

  11   them.   And if you're not going to entertain them, you

  12   have to tell me why.

  13                    THE COURT:   Okay.   Thank you.

  14                    Mr. Murdoch, please continue.

  15                    MR. MURDOCH:    Thank you, Your Honor.

  16   So the timeline is as follows:

  17                    Mother filed her petition for custody,

  18   parenting time, and child support on October 7th,

  19   2022.   She claimed an award of attorney

  20   (indiscernible) cost.    A TPOR was granted by this

  21   court on October 11th, 2022.

  22                    MR. PARIS:   Objection.

  23                    MR. MURDOCH:    And it remains in --

  24                    THE COURT:   So, Mr. Paris --

  25                    MR. PARIS:   -- the relevance --




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                                                                     12


   1                      THE COURT:    Mr. Paris, the objections

   2   would be to evidence.     If you don't want evidence

   3   coming in, then you have to make a contemporaneous

   4   objection.    If you're objecting to argument --

   5                      MR. PARIS:    I want --

   6                      THE COURT:    -- you can't do it while

   7   he's talking.      You can -- when he's finished

   8   talking --

   9                      MR. PARIS:    I would like to --

  10                      THE COURT:    -- then you just respond.

  11   So I need you to stop talking right now, sir.

  12                      MR. PARIS:    I would like to --

  13                      THE COURT:    I need you to stop talking,

  14   Mr. Paris.    I'll hear from you fully after I hear from

  15   Mr. Murdoch, okay, but right now, we need to be able

  16   to conduct this hearing.        So you need to stop talking.

  17                      Mr. Murdoch, go ahead.

  18                      MR. MURDOCH:    A temporary protective

  19   order of restraint was granted by this court on

  20   October 11th, 2022.     It would be equal parenting time

  21   and the children in Oregon.        Father has acknowledged

  22   the temporary protective order of restraint

  23   repeatedly.      Father filed his first motion to dismiss

  24   on the subject --

  25                      MR. PARIS:    Objection.




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                                                                     13


   1                    MR. MURDOCH:    -- matter jurisdiction --

   2                    THE COURT:   Mr. Paris, I just told you

   3   to stop talking.    You can -- at the end of Mr.

   4   Murdoch's comments --

   5                    MR. PARIS:   I have an objection.

   6                    THE COURT:   -- you can tell me

   7   everything you objected to, okay, but now you need to

   8   stop.    I don't want to have to turn off your mic or

   9   mute you, but we need to be able to get through this

  10   hearing.   And if you keep on objecting while --

  11                    MR. PARIS:   I am sorry, Your Honor.

  12                    THE COURT:   -- he's making his

  13   arguments, we're not going to get anywhere.

  14                    MR. PARIS:   This was a mistake.

  15                    THE COURT:   So please just stop --

  16                    MR. PARIS:   We're not supposed --

  17                    THE COURT:   -- talking.

  18                    MR. PARIS:   We're not supposed to --

  19                    THE COURT:   If you don't stop, I am

  20   going to have to mute you.      So please let him finish

  21   his argument, and then you will be heard.           That's all.

  22                    All right.   Mr. Murdoch, let's try

  23   again.

  24                    MR. PARIS:   This is a legal error.

  25                    THE COURT:   We --




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                                                                       14


   1                     MR. MURDOCH:    Father filed his --

   2                     THE COURT:   Go ahead, Mr. Murdoch.

   3                     MR. PARIS:   This is a legal error.

   4                     THE COURT:   Mr. Paris, how many times

   5   can I warn you?    Stop interjecting.     You will get a

   6   full opportunity to be heard if he's making legal

   7   errors or whatever it is.      I mean, surely you

   8   understand that I can't just have you talk whenever

   9   you want and at the same time conduct a hearing.

  10   Surely you can understand that.       There is no prejudice

  11   to you if you wait and make your comments after Mr.

  12   Murdoch has spoken.    Please, I am asking you, stop

  13   interrupting.

  14                     MR. PARIS:   Yes, Your Honor, because --

  15                     THE COURT:   Please be quiet.      And I am

  16   not going to caution you anymore.        Next time I am just

  17   going to have to mute you.       Okay?

  18                     So go ahead, Mr. Murdoch.

  19                     MR. MURDOCH:    Father filed his first

  20   motion to dismiss for lack of subject matter

  21   jurisdiction on January 5th, 2023.       He claimed an

  22   award of fees and costs, the prevailing party on that

  23   motion citing Dornbusch and Dornbusch, 195 Or. App.

  24   61 -- 71, a 2004 case, on page 9 of his motion.

  25                     He then filed his second motion to




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                                                                  15


   1   dismiss on April 18th, 2023, again asking for award of

   2   fees to the prevailing party.    That's at page 21 of

   3   his second motion to dismiss.

   4                    Father filed his third motion to

   5   dismiss on May 24th, 2023.   He again asked for an

   6   award of fees to the prevailing party.      That's on page

   7   14 of his motion.

   8                    When a party consistently takes a

   9   position before the court that fees are at issue, the

  10   court clearly has "authority to award fees and cost."

  11   I'm citing Barnes and Brennan.     It's a 2021 case, 315

  12   Or. App. 494 at pages 495 to 96.

  13                    Mother filed a response to the motion

  14   to dismiss on June 13th, 2023.    The contested hearing

  15   on the motions to dismiss came before the court on

  16   July 12th, 13th, and 18th.   During May and June,

  17   Father objected to Mother obtaining any evidence in

  18   the form of depositions about significant connection

  19   jurisdiction.

  20                    Father later claimed at court

  21   significant connection jurisdiction despite his

  22   voluminous and repeated protest in order to stop

  23   Mother from gathering evidence.     Mother incurred

  24   extraordinary costs in litigating this matter.       She

  25   testified at court on August 3rd or August 4th that




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                                                                  16


   1   she had spent approximately $300,000 in litigation

   2   with Father.     There were multiple hearings over

   3   numerous contested matters.

   4                     Father appeared in person, as the court

   5   knows well, for the first three days of the contested

   6   hearing.    Then he wrongfully misrepresented the

   7   foreign judgment as registered to the authorities.       He

   8   took the children out of state, which alone

   9   be -- leaving alone the fact that he departed the

  10   United States.     Just going out of state was a

  11   violation of the temporary protective order of

  12   restraint that was before the resumption of the

  13   hearing on August 3rd.     He absconded with the

  14   children.   He went to France with them.     They remain

  15   in France in violation of this court's orders.

  16                     The court granted dismissal of Father's

  17   motion to dismiss on August 3rd, 2023.      There was an

  18   order re:   dismissal of respondent's motion to dismiss

  19   that the court signed on August 18th, 2023.        The court

  20   specifically ordered that the award of attorney fees

  21   and costs was subject to ORCP 68 on page 2 of the

  22   court's order.     That order was entered on August 22nd,

  23   2023.

  24                     Mother timely filed her statement of

  25   attorney fees and costs 14 days later after entry of




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                                                                  17


   1   the order on September 5, 2023.     She noted numerous

   2   bases for fees and costs included in ORS 107.105,

   3   107.445, as incorporated by 109.103, ORS 109.155, and,

   4   as I've cited to the Court, the statute that provides

   5   for extensive recouping of costs incurred by a

   6   prevailing party in UCCJA litigation, ORS 109.811.       It

   7   provides that as follows (as read):

   8                    "The court shall award the prevailing

   9              party," Mother, in a UCCJA action,

  10              "reasonable expenses incurred by the

  11              prevailing party," again, Mother,

  12              "including costs, communication expenses,

  13              attorney fees, investigative fees, expenses

  14              for witnesses, travel expenses and

  15              childcare expenses during the course of the

  16              proceeding, unless the party from whom the

  17              fees and expenses are sought establishes

  18              that the award would be clearly

  19              inappropriate."

  20                    Mother also cited an additional basis,

  21   as I noted, which was the response to the petition,

  22   which sought fees, and his request for prevailing

  23   party fees on the motions to dismiss.      Mother provided

  24   all the grounds for fees in her statement and her

  25   declaration to counsel.   She provided statements for




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                                                                    18


   1   three attorneys' offices' worth of a year of complex

   2   litigation.      That's my office; that's Mr. Carty's

   3   office; that's Ms. Root's (phonetic) office, as well

   4   as the witness fees that the court identified in its

   5   review of the statement.

   6                      Father filed a response on September

   7   16th.   That response, I want to note for the Court,

   8   did not request a postponement due to the fact that

   9   Father was pro -- pro se.      I've reviewed the -- the

  10   response that he filed, and it made no mention of the

  11   issue that Father is raising here today, months after

  12   the statement was filed.

  13                      I want to note for the Court, as I

  14   noted in my objection -- or response to the objection,

  15   it's not a true copy.     It included handwritten copies,

  16   and what was filed was not served on Mother.

  17   Accordingly, it should be considered untimely.

  18                      To the extent that it's considered, it

  19   makes spurious allegation, and it doesn't engage with

  20   the substantive basis for the award of fees that

  21   Mother provided.     It accrudes (sic) -- includes a

  22   criminal complaint that Father filed in France that I

  23   understand has already been adjudicated in Mother's

  24   favor with a significant penalty to Father.         Father

  25   filed -- Mother filed her response to the objections




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                                                                    19


   1   timely on September 26th.

   2                    The Court already recited about some of

   3   the issues that we've had in Father merely to get him

   4   to appear at this hearing.    He provided his

   5   availability to the court in a competing litigation in

   6   California regarding the parties' real property down

   7   there, which indicated he was available for the court

   8   on certain dates and then objected when that was

   9   provided to the court.   He still refuses to abide by

  10   this court's orders.

  11                    I want to submit to the Court, Your

  12   Honor, with trial set for November 29th, 2023, the

  13   protestations and the extreme lack of respect for this

  14   proceeding and this Court is simply unheard of.        Mr.

  15   Paris makes it -- as the Court indicated -- is

  16   attempting to make a mockery of these proceedings.

  17   Every step that he takes is specifically taken to

  18   undermine and -- and minimize this Court's authority

  19   to adjudicate what it determined on August 18th that

  20   it could -- that it has subject matter jurisdiction of

  21   the -- over these minor children.

  22                    Mother requested award of attorney fees

  23   and costs in her statement.      She requested attorney

  24   fees and costs of $200,904.85.      She also requested an

  25   initial $3,000 in fees if we had to go forward in this




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                                                                   20


   1   hearing.    We are now at this hearing.   So accordingly,

   2   Mother requests $203,904.85 for the extraordinary

   3   costs that she's incurred to have to deal with Father

   4   and his extreme disregard for this Court's -- this

   5   Court's authority and its ability to make orders

   6   consistent with its jurisdiction.

   7                    This Court has jurisdiction.     This

   8   Court assumed jurisdiction as a result of Mother

   9   prevailing in this proceeding.    It is lawful that the

  10   Court award fees, and, accordingly, pursuant to

  11   109.811, Father would have to demonstrate that it is

  12   clearly inappropriate to award fees.      He cannot

  13   because it is not.

  14                    The request for fees that Mother makes

  15   is consistent with Oregon law, and it's consistent

  16   with -- with Father's extraordinary behavior in this

  17   matter.    Thank you.

  18              (End of requested portion at 10:32 a.m.)

  19

  20

  21

  22

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                                                                 21


   1                           CERTIFICATE

   2

   3              I, Jennifer L. Muir, CET-1149, a court-

   4   approved transcriber, do hereby certify that the

   5   foregoing is a correct transcript from the official

   6   electronic sound recording of the proceedings in the

   7   above-entitled matter, to the best of my professional

   8   skills and abilities.

   9

  10

  11              ________________      ___

  12              JENNIFER L. MUIR, CET-1149 November 28, 2023

  13              Certified Electronic Transcriber

  14

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                                                  22DR17285




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 2

 3

 4                        I   THE CIR UIT COURT OF THE STATE OF OREGON

 5                                    FOR THE CO           TY OF JACKSO

 6                                           Family Law Department

 7    In the Matter of:
                                                    )
 8    Heidi Brown,                                  ) Case No.: 22DR17285
                                                    ) Related Case o.: 23DR08269
 9                             Petitioner,          )
                   and                              ) ORDER RE: RETURN OF CHILDRE
10                                                  )
      Arnaud Paris,                                 )
11
                                                     )
12                             Respondent.          )

13
14           THIS M TTER came before tbe Court for hearing on ovember 14, 2023. Petitioner

lS    Heidi Brown appeared in person and with her attorney, Taylor L. M. Murdoch, of her attorneys
16    Buckley Law, P , who appeared remotely via WebEx with court permission. Respondent
17
      Arnaud Paris appeared via W ebEx.
18
             The Court having received argument from Mother through counsel and Father on
19
        other s tatement ofAttorney Fee • and Costs and Request for pecific Findings of Fact and
20
      Conclusions of Law; Declaration of Counsel, ("Statement") and having received testimony from
21
      Mother and Father, and good cause appearing, make the following
22
                                                 FINDI               T
23

24            l.    he minor children of the parties are     and J    :P       age 8. Th minor children

25                 had no home state at the time that this matter wa filed on October 7 2022. Oregon
      Page 1 - ORDER RE: R TURN OF CHJLDREN                                         Buckley Law PC
                                                                           5300 W Meadows Rd., Ste. 200
                                                                               Lake Oswego, OR 97035
                                                                         Tel: 503-620-8900 Pax: 503-620-487
                                                                                 tlrn@buckJ y-law.com


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 1            has significant connection jurisdiction pursuant to the Unifonn Child Custody

2             Jurisdiction Enforcement Act (UCCJEA). This Court previously assumed UCCJEA
 3            jurisdiction. No other state has jurisdiction over the minor children and Father's
 4
              previous request to register a foreign judgment from France was denied. It is
 5
              appropriate that this court continue UCCJEA jurisdiction of the minor children.
6
           2. A Temporary Protective Order of Restraint was entered on October 12, 2022. It
7
              remains in full force and effect and provides, among other things for the minor
 8
              children to remain in Oregon with shared parenting time with both parents.
 9
           3. Father testified that he remains in France with the minor children in flagrant, willful,
10
11            contemptuous violation of the Court's orders.

12    NOW THEREFORE, IT IS HEREBY ORDERED:

13         1. Father shall return the minor children to Oregon no later than December 14, 2023.

14         2. The Court's ruling on Mother's Statement shall be deferred. A hearing for status

15            check regarding the children's location shall be set on December 21, 2023 at 9:00 a.m.
16
                                                           12/2112023 10:27:43 All
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                                                           ~Q                   •         -~~
19
                                                                     Circuit Court udge David J . Orr
20
21

22
                      UTCR 5,100 Certificate o[Readine.YS Follows on Nt!XI Pate
23

24

25
      Page 2 - ORDER RE: RETURN OF CHILDREN                                            Buckley Law PC
                                                                                 5300 SW Meadows Rd., Sle. 200
                                                                                    Lake Oswego, OR 97035
                                                                              Tel: SOl-620-8900 Fax: 503-620-4878
                                                                                      dm@bucldey-law.com


                                                                                                   EXHIBIT 10
                                                                                                   Page 2 of 4
        Case 1:24-cv-00648-AA        Document 20-1      Filed 05/28/24       Page 283 of 290




    1    UTCR 5.100 CERTlFICATR OF ltEADINESS: This pro osecJ order is ready for judicial
         signature becaus~ iI h-« b?<r- .~          (),..._                          u    ,
    2      1,-.~ {)a?lll4/ c)bj t:,,hl)    1-.. 'cL                                  ~wd(.
    3           DATED this /'-( of December, 2023.
    4

    5
                                          By:
    6
                                                            aw.com
    7                                           of Attome   r Mother
         APPROVED AS TO FORM:
    8
    9
         Arnaud Paris                           date
1
 O Pro Se Respondent/ Father
11

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         Page 3 - ORDER RE: RETU RN OF CHILDREN                           Buckley Law PC
                                                                   5300 SW Meadows Rd., Ste. 200
                                                                      Lake Oswego, OR 97035
                                                                 Tc~ 503-620-8900 Pax: 503-620-4878
                                                                         tlm@buckley-law.com


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 1    CERTIFICATE OF SERVlCE: I certify that I served on December 11 , 2023, a complete and
      exact copy (Lrue copy) of this Order Re: Contact on the parties or their representative(s) by
 2    emailing a true copy to the below individual:
 3    Arnaud Paris
      Pro Se Respondent
 4
      13 Rue Ferdinand Duval
 5    Paris France 75004

 6
             DATED this   Jj___ day of December, 2023.
 7
                                                  ~                        P.C.
 8

 9                                              By:
                                                                            , SB#lll307
10                                                                       .cm
11                                                                   or Mother

12

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      Page 4 - ORDER RE: RETURN OF CHILDREN                                    B uckley Law PC
                                                                       5300 SW Meado w~ Rd., Ste. 200
                                                                           Lake Oswego, OR 97035
                                                                    T el: 503-620-8900 Fax: 503-620-4878
                                                                             tlm@ buckley- law.com


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s ARNAUD
~
 .11        PARIS
     rue Ferdinand Duval
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  75004, PARIS, FRANCE
      2
~         Telephone: +33688283641
i3        Email: aparis@sysmicntms.com
t         Respondent in Pro Per
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t                          IN THE CIRCUIT COURT OF THE STATE OF OREGON
85
t;                                    FOR THE COUNTY OF JACKSON
~6
0
(.)

i     7    In the Matter ot
::,s HEIDI MARIE BROWN.                                      case No. 23CN05721
                                Petitioner,                  ORDER FOR REMOTE APPEARANCE
      9                                                      AT HEARING TO SHOW CAUSE
                  and
 10
           ARNAUD PARIS.
 11
                                Respondent. Pro Per.
 12

 13
          The aut orders:
 14
           D The request to appear remotely on hearing to show cause is GRANTED.
 15

 16        0 The request to appear remotely on hearing to show cause is DENIED.
              Defendant is ORDERED to appear in person.
 17
           Detailed legal justif.cation for granting or denying the order:
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 23       11------------                                      ~--~~   Circuit C o : .David J. Off
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                                                                                                    EXHIBIT 11
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     Case 1:24-cv-00648-AA        Document 20-1        Filed 05/28/24       Page 286 of 290




                         CERTIFICATE OF READ!NESS- lJTCR 5.100
             This proposed order or judgment is ready for judicial signature because:


          1. D Each party affected by this order or judgment has stipulated to the order or
               judgment, as shown by each party"s signature Off the document being
               submitted.

         2. D Each party affected by this order or judgment has approved the order or
              judgment. as shown by each party"s signature on the document being
              submitted or by written confirmation of approval sent to me.

         3. D I have served a copy of this order or judgment on all parties entitled to servic
              and:

                   E3No objection has been served on me.
                     I received objections that I could not resolve with the objecting party
                     despite reasonable efforts to do so. I have filed with the court a
 9                   copy of the objections r received and-indicated which obJecti-ons
                     remain unresolved.
10               □ After conferring about objections. [role and name of opposing party]
                     agreed to independentty file any remaining objection.
11       4# ~ Service is not required pursuant to subsection (3) of UTCR 5.100, or by statue,
              rule, or otherwise.
12
          5. D This is a proposed judgment that includes an award of punitive damages an
13             notice has been serviced on the Director of the Crime Victims' Assistance
               Section as required by subsection (5) of UTCR 5.100
14
      Prepared on February 22nd 2024 in Paris and sent to the court by FEDEX
15

16

17

18    By:_

19    ARNAUD PARIS. Respondent, Pro-Pei
      13 rue Ferdinand Duval. 75004, PARIS, FRANCE
20    Telephone: +33688283641 - Email: aparis@sysmicfilms.com

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                                                                                  EXHIBIT 11
                                                                                  Page 2 of 3
                 Case 1:24-cv-00648-AA           Document 20-1          Filed 05/28/24        Page 287 of 290




         I   1
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0
                                                  CERTIFICATE OF SERVICE
~ 2
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N
                     I hereby certify ihat I served the foregoing ORDER FOR REMOTE APPEARANCE
iii 3                AT HEARING TO SHOW CAUSE on the following parties:
·=·;::
 C)

                                                          Heidi Marie Brown
~4
 0                                                         2256 Abbott Ave
 >,
 g- 5                                                    Ashland, OR 97520

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(.)

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 ~ 6
                                                       heidimoaris@gmail.com
                                                             Respondent
 0
(.)
                                                      Taylor LM. Murdoch,
a? 7
.;::::                                                 Buckley law P.C.
j                                                5300 Meadows Road. Suite 200
         18                                         lake Oswego, OR 97035
                                                     TLM@bucklev-law.com
             9                                  last Known Attorney for Respondent
                  By the following method or methods:
         10
                  _ _ by mailing full. true, and correct copies thereof in sealed, first class postage
         11       prepand envelopes. addressed to the attomeys(s) as shown above. the last known office addre of
                  the attomey(s), and deposited with the United States Postal Service at Portland, Oregon on the date
         12       set forth below.

         13       ~ by emailing full. true, and correct copies thereof to the attomey(s) at the email address
                   shown above. whuch is ihe last known emaiU address for the attomey{s) office, on the date set fi rth
                   below.
         14
                  _ _ by faxing full, true, and correct copies thereof to the attomey(s) at the fax number(s)
         15       shown above, which is the last known fax number for the attomey{s) office, on the date set fort
                  below. The receiving fax machines were operating at the time of service and the transmission
         16       properly completed.

         17                by selecting the individual(s) listed above as a service contact when preparing this electr ic
                   filing submission, thus causing the individual{s) to be served by means of the court's electroni filing
         18        system.
                  Prepared on February 22nd 2024 in Paris and sent to the court by FEDEX
         19

         20

         21       By:_
                  ARNAUD PARIS, Respondent, Pro-Per
         22       13 rue Ferdinand Duval. 75004, PARIS, FRANCE
                  Telephone: +33688283641 - Email: aparis@svsmicfilms.com
         23
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          Case 1:24-cv-00648-AA          Document 20-1             Filed 05/28/24        Page 288 of 290




     'I
  ARNAUD PARIS
t
0
  13 rue Ferdinand Duval
~ 75004. PARIS. FRANCE
..,       Telephone: +33688283641
~         Email: aoaris@svsmicfilms.com
g         Respondent in Pro Per
'a4
 t:                       IN THE CIRCUIT COURT OF l1iE STAlE OF OREGON
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                                      FOR THE COUNTY OF JACKSON

t,        In 1he MaHer of:
·c
JS HBOI MARIE BROWN,                                          Case No. 23CN05721
                                                              ORDERFORREMOTEAPPEARANC~
     9                                                        AT HEARi.NG TO SHOW CAUSE
                 and
10
          ARNAUD PARIS,
11
                               Respondent. Pro Per.
12

13
          Th&oourtordels:
14
          D The request 1D appear remotely on hearing ID show cause is GRANTED.
15

16        0 The request to appear remotely on hearing lo show cause is DENIED.
             Defendant is ORDERED to appear in person.
17
          Detailed legal justification for granting or denying the order:
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                                                        3/4/2024 3:25:57 PM

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                                                                Circuit~~David J . Orr
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     Case 1:24-cv-00648-AA            Document 20-1          Filed 05/28/24        Page 289 of 290




                            CERTIF~CATE OF REArnNESS - ~JTCR 5.100
              This proposed order or judgment is ready for judicial signature because:


           1. D Each party affected by this order m: juqgment has stipulated to the order or
                judgment as shown by each party's sigrrature on the document being
                submitted.

           2. D Each party affected by this order or judgment has approved the order or
                judgment,, as shown by each party"s signature oo the document being
                submitted or by written confirmation of approval sent to me.

           3. D I have served a copy of this order or judgment on all parties entiUed to servic
                and:

                    B  No objection has been served on me.
                       I received objections irnm ~ could not resolve with tile objecting party
                       despite reasonable effms to do so. I have filed \."fflh the court a
 9                     copy of ifie oojeciions i received and indicated which objedfons
                       remain unresolved.
                   □ Mer conferring about objections. [role and name of opposing party]
10                     agreed to independently file any remaining objection.
11         4. [ x ~ Sen'ice is oot requ5."-'ed pursuant to subsscl!ioo (3} of UTCR 5.100. or by st.atu e,
                    rule, or othemise.
12
           5. D This is a proposed judgment that includes an award of punitive damages an
13              notice has been serviced on me Director of the Crime Victims· Assistance
                Section as required by subseciion (5) of UTCR 5.100
14
     Prepared on February 29th 2024 in Paris and sent to the court by FEDEX
15

16

17

18   By:

19   ARNAUD PARfS. Respondent. Pro Per
     13 rue Ferdinand Duval. 75004. PARIS. FRANCE
20   Telephone: +33688283641 -Email: aparis@sysmicfilms.com

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           Case 1:24-cv-00648-AA                          Document 20-1                                            Filed 05/28/24                             Page 290 of 290




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N
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                                                           CERTIF[CATE OF SERVICE
~2
c:;             I hereby certify that I served tile foregoing ORDER FOR REMOTE APPEARANCE
iii             AT HEARffllG TO SHOW CAUSE oo tiie following parties:
.!: 3
Cl


~4                                                                        Heidi Marie Brown
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>,                                                                         2256 Abbott Ave
0.
                                                                         Ashland, OR 97520
85
-
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(I)

~6
                                                                       heidimoaris@amail.com
                                                                                         Respondent
(.)
"'C                                                           Taylor LM. Murdoch,
~7                                                             Buckley law P.C.
~18                                                      5300 Meadows Road. Suite 200
                                                            la<e Oswego. OR 97035
                                                             TLM@bucklsv-law.com
      9                                                 Last Known Attorney for Respondent
            By the follmving meihod or meihods:
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                     by mailing Mi. true, and oorrect copges 1!!llereof in sealed. first class postage
    11       irmc,n~ri1 9 n , , , . , , ~
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            the attomey(s). and deposited! mti1 the United Srates Postal Service at Portland, Oregon on the date
    12      set forth below.

    13      X    by emamng fulB. true. and cmrect copies fuareof to the attomey(s) at the email address
            shrnm1 above, whiiclh is fue last llmown emm~ addmss for iha attomey{s) office, on the date set fi rth
    14       ooffo\~.

                  by faxing full, true. and correct copies fuereof to the attomey(s) at the fax number{s)
    15       shown above. whk:h is the last i!mo'!u.m fax number for the attomey{s) office. on the date set fort
             belmv. The receiivmg fax madhn111eS were ope;ralling at the time of servnc:e and the transmission
    16       properly completed.

                    by selecting the individual{s) listed above as a service contact when preparing this elecifi ic
    17
             filing submission. thus causing the individual{s) to be served by means of the court's electroni filing
    18       system.
            Prepared on February 29th 2024 in Paris and sent to the court by FEDB<
    19

    20

    21
            9',r.
    22      ARNAUD PARIS. Respondent,, Pro Per
            13 rue Ferdinand Duval. 75004. PARIS. FRANCE
    23      Telephone: +33688283641 -Email: aoaris@sysmicfilms.com
                                                                                                                                                                                   -3
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